                               Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 1 of 168 Page ID #:4



                           1    CARTER L. NORFLEET, SBN 318152
                                BAKER & HOSTETLER LLP
                           2    11601 Wilshire Boulevard, Suite 1400
                                Los Angeles, CA 90025-0509
                           3    Telephone: 310.820.8800
                                Facsimile: 310.820.8859
                           4    Email:     cnorfleet@bakerlaw.com
                           5    Attorneys for Defendant
                                GENESCO INC.
                           6

                           7

                           8                                UNITED STATES DISTRICT
                           9                      CENTRAL DISTRICT OF CALIFORNIA
                          10

                          11    LUIS LICEA, an individual,               Case No.:
B AKER & H OSTETLER LLP




                          12
   A TTORNEYS AT L A W




                                               Plaintiff,
      L OS A NGELES




                                                                         NOTICE OF REMOVAL
                          13           v.
                                                                         [Filed Concurrently with Civil Cover
                          14    GENESCO INC., a Tennessee                Sheet; Certification And Notice of
                                corporation; and DOES 1-10, inclusive,   Interested Parties; and Corporate
                          15                                             Disclosure Statement]
                                               Defendant.
                          16

                          17                                             Date Action Filed: December 30,
                                                                         2019
                          18                                             FAC: August 31, 2020
                          19

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                                                                                                 NOTICE OF REMOVAL
                               Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 2 of 168 Page ID #:5



                           1          Pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, Defendant Genesco, Inc.
                           2    (“Defendant”) hereby provides notice of removal of this action from the Superior
                           3    Court of the State of California for the County of San Bernardino to the United States
                           4    District Court for the Central District of California. In support of this Notice of
                           5    Removal, Defendant states as follows:
                           6       On December 30, 2019, Plaintiff Luis Licea filed a complaint against Defendant
                           7    in the Superior Court of California for the County of San Bernardino, Case No.
                           8    CIVDS1939376 (the “Action”). The Action asserted certain legal claims against
                           9    Defendant under California’s Unruh Civil Rights Act, California Civil Code §§ 51 et
                          10    seq. (“Unruh Act”). On August 31, 2020, Plaintiff filed a First Amended Complaint
                          11    in the Action to include additional allegations and to assert a claim arising under the
B AKER & H OSTETLER LLP




                          12    Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq. (“ADA”).
   A TTORNEYS AT L A W
      L OS A NGELES




                          13    Defendant was served with a copy of the First Amended Complaint in the State Court
                          14    Action on August 31, 2020.
                          15          (a)    This Notice of Removal is timely filed under 28 U.S.C. § 1446(b)(3)
                          16    because it is filed within 30 days after receipt by Defendant, through service or
                          17    otherwise, of a copy of an amended complaint from which it could first be ascertained
                          18    that the case is one which is or has become removable.
                          19          (b)    A copy of the Superior Court of California for the County of San
                          20    Bernardino case docket as of the date of this filing is attached as Exhibit 1. Pursuant
                          21    to 28 U.S.C. §1446(a), all process, pleadings, and orders that have been filed and/or
                          22    served in the State Court Action are attached hereto as Exhibit 2.
                          23          (c)    Pursuant to 28 U.S.C. §§ 1331 and 1441(a), removal is proper because
                          24    Plaintiff’s First Amended Complaint (“Complaint”) includes claims arising under the
                          25    laws of the United States. Specifically, the Complaint includes claims under the
                          26    Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.
                          27

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                                                                                                       NOTICE OF REMOVAL
                               Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 3 of 168 Page ID #:6



                           1          (d)     Venue is also proper in the U.S. District Court for the Central District
                           2    of California, because the State Court Action is pending within the jurisdictional
                           3    confines of this Court. 28 U.S.C. § 1446(a).
                           4          (e)     Defendant will provide written notice of the filing of this Notice of
                           5    Removal to Plaintiff and the Superior Court of California for the County of San
                           6    Bernardino.
                           7          WHEREFORE, Defendant hereby removes this civil action to this Court on
                           8    the basis of federal question jurisdiction.
                           9
                                 Dated: September 8, 2020                       Respectfully submitted,
                          10

                          11                                                    BAKER & HOSTETLER LLP
B AKER & H OSTETLER LLP




                          12
   A TTORNEYS AT L A W
      L OS A NGELES




                          13

                          14                                                    By:
                                                                                      Carter L. Norfleet (318152)
                          15                                                          Email: cnorfleet@bakerlaw.com

                          16                                                    Attorneys for Defendant
                                                                                GENESCO INC.
                          17

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                                                                                                          NOTICE OF REMOVAL
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     EXHIBIT 1
9/8/2020                                  CIVDS1939376
                 Case 2:20-cv-08227 Document 2 FiledActions - San Bernardino
                                                       09/08/20     Page Main5 of 168 Page ID #:8




  Home         Complaints/Parties          Actions       Minutes        Pending Hearings          Case Report     Images
  Case Type:

  Case Number:                                 Search



  Case CIVDS1939376 - LICEA V GENESCO INC.
                                     Move To This Date



   Viewed Date            Action Text                                                                           Disposition Image
            11/06/2020
            9:00 AM    HEARING RE: FURTHER TSC - Minutes
            DEPT. S32
                          ORDER ON STIP TO WITHDRAW DEMURRER/VACATE TSC/ ALLOW PLA                              Not
   N        08/17/2020
                          TO AMEND COMPLAINT FILED                                                              Applicable
            08/07/2020
                                                                                                                Pre-D
            10:00 AM TRIAL SETTING CONFERENCE - Minutes
                                                                                                                Complete
            DEPT. S32
            08/07/2020
                       MOTION RE: DEMURRER TO COMPLAINT FILED BY DEFENDANT                                      Off
            10:00 AM
                       GENESCO INC., A TENNESSEE CORPORATION - Minutes                                          Calendar
            DEPT. S32
                          FILING FEE PAID BY GENESCO INC., A TENNESSEE CORPORATION FOR                          Not
            08/06/2020
                          STIP FEE                                                                              Applicable
                       REPLY TO IN SPPT TO MOTION RE: DEMURRER SET FOR HEARING ON
                                                                                                                Not
   N        07/31/2020 08/07/20 FILED BY GENESCO INC., A TENNESSEE CORPORATION.
                                                                                                                Applicable
                       (IMAGED)
                          NOTICE (SECOND NOTICE) SUPPLEM AUTHORITY RE DEMURRER FILED Not
   N        07/17/2020
                          BY LUIS LICEA.                                             Applicable
            06/30/2020
            8:30 AM    TRIAL SETTING CONFERENCE                                                                 VACATED
            DEPT. S32
                          VACATE L&M HEARING SCHEDULED FOR 06/23/20 AT 08:30 IN                                 Not
            06/23/2020
                          DEPARTMENT S32.                                                                       Applicable
            06/23/2020
                       MOTION RE: DEMURRER TO COMPLAINT FILED BY DEFENDANT
            10:00 AM                                                                                            Continued
                       GENESCO INC., A TENNESSEE CORPORATION - Minutes
            DEPT. S32
                          PLAS NOTICE TO SUPPLEMENTAL AUTHORITYRE: DEFENDANTS                                   Not
   N        06/23/2020
                          DEMURRER TO COMPLAINT FILED.                                                          Applicable
            06/23/2020
                       MOTION RE: DEMURRER TO COMPLAINT FILED BY DEFENDANT
            8:30 AM                                                                                             VACATED
                       GENESCO INC., A TENNESSEE CORPORATION
            DEPT. S32
                          FILING FEE PAID BY LUIS LICEA FOR STIP/ORDER TO CONTINUE TRIAL                        Not
            06/19/2020
                          SETT. CONFERENCE                                                                      Applicable
                          FILING FEE PAID BY LUIS LICEA FOR STIP TO CONTINUE DEMURRER                           Not
            06/19/2020
                          HEARING                                                                               Applicable
                                                                                                                Not
   N        06/17/2020 NOTICE OF RETURN OF DOCUMENT(S)
                                                                                                                Applicable
                       STIP TO CONTINUE 6/23/20 DEMURRER & 6/30/20 TSC IS RETURNED BY
                                                                                      Not
            06/17/2020 COURT FOR THE FOLLOWING REASON(S): MOTION DATE UNAVAILABLE-
                                                                                      Applicable
                       NEED 2 STIPS FOR DIFFERENT H.
openaccess.sb-court.org/OpenAccess/civil/CivilDetails.asp?courtcode=X&casenumber=DS1939376&casetype=CIV&dsn=                        1/3
9/8/2020                                 CIVDS1939376
                Case 2:20-cv-08227 Document 2 FiledActions - San Bernardino
                                                      09/08/20     Page Main6 of 168 Page ID #:9
                                                                                                               Not
   N        06/17/2020 INITIAL TRIAL SETTING CONFERENCE STATEMENT FILED BY
                                                                                                               Applicable
                          FILING FEE PAID BY LUIS LICEA FOR STIP/ORDER TO CONTINUE                             Not
            06/15/2020
                          DEMURRER HEARING                                                                     Applicable
                                                                                                               Not
   N        06/10/2020 POINTS & AUTHORITIES FILED BY LUIS LICEA.
                                                                                                               Applicable
                                                                                                               Not
   N        06/10/2020 EVIDENTIARY OBJECTIONS FILED.
                                                                                                               Applicable
                          FILING FEE PAID BY GENESCO INC., A TENNESSEE CORPORATION FOR                         Not
            05/18/2020
                          FAX FILING                                                                           Applicable
                                                                                                               Not
   N        05/18/2020 NOTICE OF RETURN OF DOCUMENT(S)
                                                                                                               Applicable
                          DEMURRER TO COMPLAINT IS RETURNED BY COURT FOR THE                                   Not
            05/18/2020
                          FOLLOWING REASON(S): FILED ON 3/11/20. DUPLICATE.                                    Applicable
            04/30/2020
                       MOTION RE: DEMURRER TO COMPLAINT FILED BY DEFENDANT
            8:30 AM                                                                                            VACATED
                       GENESCO INC., A TENNESSEE CORPORATION
            DEPT. S32
                          VACATE L&M HEARING SCHEDULED FOR 04/30/20 AT 08:30 IN                                Not
            04/03/2020
                          DEPARTMENT S32.                                                                      Applicable
                                                                                                               Not
   N        04/03/2020 NOTICE IMAGED
                                                                                                               Applicable
                       ON COURT'S MOTION, THE DEMURRER TO COMPLAINT HEARING
                       PRESENTLY SET IN THIS CASE, IS ORDERED RESET FOR 06/23/20 AT                            Not
            04/03/2020
                       08:30 IN DEPARTMENT S32. NOTICE SENT TO ALL COUNSEL OF                                  Applicable
                       RECORD.
                       ON THE COURTS OWN MOTION, THE COURT CONTINUES THIS MATTER
                       PURS. TO GEN. ORDER OF TRHE PRESIDING JUDGE IN RE:                                      Not
            04/03/2020
                       IMPLEMENTATIN OF EMERGENCY RELIEF AUTHORIZED PURS. GC6815                               Applicable
                       BY CHAIR OF JUDICIAL COUNCIL.
                                                                                                               Not
   N        03/12/2020 DECLARATION OF JOEL GRISWOLD IN SUPPORT OF DEMURRER FILED
                                                                                                               Applicable
                          NOTICE OF DEMURRER FILED BY GENESCO INC., A TENNESSEE                                Not
   N        03/11/2020
                          CORPORATION.                                                                         Applicable
                                                                                                               Not
   N        03/11/2020 REQUEST FOR JUDICIAL NOTICE FILED.
                                                                                                               Applicable
                                                                                                               Not
   N        03/11/2020 DECLARATION OF JOHN TIGHE FILED
                                                                                                               Applicable
                                                                                                               Not
   N        03/11/2020 DECLARATION OF GOOD FAITH ATTEMPT TO MEET & CONFER
                                                                                                               Applicable
                          DEMURRER FILED BY GENESCO INC., A TENNESSEE CORPORATION;                             Not
   N        03/11/2020
                          REPRESENTED BY BAKER & HOSTETLER LLP(IMAGED)                                         Applicable
                          ORDER BY STIPULATION EXTENDING TIME TO MARCH 11, 2020 TO                             Not
   N        03/05/2020
                          RESPOND TO THE COMPLAINT FILED                                                       Applicable
                          DEFENDANT GENESCO INC., A TENNESSEE CORPORATION FIRST                                Not
            02/24/2020
                          PAPER FEE PAID IN FULL                                                               Applicable
                          FILING FEE PAID BY GENESCO INC., A TENNESSEE CORPORATION FOR                         Not
            02/24/2020
                          1ST APPEARANCE                                                                       Applicable
                          STIPULATION RE: TO EXTEND TIME TO RESPOND TO COMPLAINT FILED. Not
   N        02/24/2020
                                                                                        Applicable
                                                                                                               Not
   N        02/21/2020 NOTICE OF RETURN OF DOCUMENT(S)
                                                                                                               Applicable
                       STIP/ORDER TO EXTEND TIM TO RESPOND + $20 CK IS RETURNED BY
                                                                                                               Not
            02/21/2020 COURT FOR THE FOLLOWING REASON(S): RE-SUBMIT WITH 1ST
                                                                                                               Applicable
                       APPEARANCE FEE OF $435.
            02/21/2020 ON COMPLAINT (UNLIMITED) FILED 12/30/2019 OF LUIS LICEA FOR                             Not

openaccess.sb-court.org/OpenAccess/civil/CivilDetails.asp?courtcode=X&casenumber=DS1939376&casetype=CIV&dsn=                2/3
9/8/2020                                CIVDS1939376
               Case 2:20-cv-08227 Document 2 Filed Actions - San Bernardino
                                                     09/08/20     Page 7Mainof 168 Page ID #:10
                          GENESCO INC., A TENNESSEE CORPORATION, ATTORNEY BAKER &                              Applicable
                          HOSTETLER LLP ADDED.
                       PROOF OF SERVICE OF SUMMONS AND COMP/PET ON GENESCO INC.,
                                                                                                               Not
   N        01/22/2020 A TENNESSEE CORPORATION; DEFENDANT/RESPONDENT SERVED ON
                                                                                                               Applicable
                       01/08/20 WITH COSTS OF $119.00 FILED.
                                                                                                               Not
            12/30/2019 PLAINTIFF LUIS LICEA FIRST PAPER FEE PREVIOUSLY PAID IN FULL.
                                                                                                               Applicable
                                                                                                               Not
            12/30/2019 FILING FEE PAID BY LUIS LICEA FOR 1ST APPEARANCE
                                                                                                               Applicable
                                                                                                               Not
   N        12/30/2019 CERTIFICATE OF ASSIGNMENT RECEIVED.
                                                                                                               Applicable
                                                                                                               Not
   N        12/30/2019 NOTICE IMAGED
                                                                                                               Applicable
            12/30/2019 CASE ASSIGNED FOR ALL PURPOSES TO DEPARTMENT S32
                                                                                                               Not
   N        12/30/2019 CIVIL CASE COVER SHEET FILED.
                                                                                                               Applicable
                                                                                                               Not
   N        12/30/2019 SUMMONS ISSUED AND FILED
                                                                                                               Applicable
                                                                                                               Not
   N        12/30/2019 COMPLAINT AND PARTY INFORMATION ENTERED
                                                                                                               Applicable




openaccess.sb-court.org/OpenAccess/civil/CivilDetails.asp?courtcode=X&casenumber=DS1939376&casetype=CIV&dsn=                3/3
Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 8 of 168 Page ID #:11




     EXHIBIT 2
      Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 9 of 168 Page ID #:12



 1   PACIFIC TRIAL ATTORNEYS
     A Professional Corporation
 2   Scott J. Ferrell, Bar No. 202091
     sferrell@pacifictrialattorneys.com
 3   Victoria C. Knowles, Bar No. 277231
     vknowles@pacifictrialattorneys.com
 4   4100 Newport Place Drive, Ste. 800
     Newport Beach, CA 92660
 5   Tel: (949) 706-6464
     Fax: (949) 706-6469
 6
     Attorneys for Plaintiff
 7

 8

 9                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                               FOR THE COUNTY OF SAN BERNARDINO
11

12   LUIS LICEA, an individual,                    Case No. CIVDS1939376
13                  Plaintiff,
                                                   FIRST AMENDED COMPLAINT
14                  v.
15   GENESCO INC., a Tennessee corporation; and    Filed: December 30, 2019
     DOES 1-10, inclusive,                         Trial Date: None Set
16
                    Defendants.
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                                       FIRST AMENDED COMPLAINT
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 10 of 168 Page ID #:13



 1          Plaintiff Luis Licea (“Plaintiff”) alleges the following upon information and belief based upon

 2   investigation of counsel, except as to his own acts, which he alleges upon personal knowledge:

 3                                            INTRODUCTION

 4          1.       As recently recognized by the Supreme Court of the United States, “The Internet’s

 5   prevalence and power have changed the dynamics of the national economy.”             South Dakota v.

 6   Wayfair, Inc., 138 S. Ct. 2080, 2097 (2018) (noting that in 1992, less than 2 percent of Americans had

 7   Internet access whereas today that number is about 89 percent). According to 2018 polling data, 89

 8   percent of American adults use the Internet. 1 Indeed, one federal district court has noted that “few

 9   areas are more integral to ‘the economic and social mainstream of American life,’ than the Internet’s

10   websites.” Del-Orden v. Bonobos, Inc., No. 17 Civ. 2744 (PAE), 2017 WL 6547902, at *9 (S.D.N.Y.

11   Dec. 20. 2017); United States v. Peterson, 248 F.3d 79, 83 (2d Cir. 2001) (“Computers and Internet

12   access have become virtually indispensable in the modern world of communications and information

13   gathering.”).

14          2.       According to recent U.S. Census data, approximately 8 million Americans describe

15   themselves as disabled because they are visually-impaired. 2 Thus, depriving blind persons of equal

16   access to commercial websites on the internet would allow American businesses to treat blind persons

17   as second-class citizens who can be segregated from the rest of American society, which is antithetical

18   to the very purpose that motivated Congress to enact the Americans with Disabilities Act of 1990, 42

19   U.S.C. § 12181 et seq. (“ADA”), almost three decades ago, as well as the enactment of California’s

20   Unruh Civil Rights Act.     “‘Congress found that ‘historically, society has tended to isolate and

21   segregate individuals with disabilities, and, despite some improvements, such forms of discrimination

22   against individuals with disabilities continue to be a serious and pervasive social problem.’’” Del-

23   Orden, 2017 WL 6547902, at *9 (quoting PGA Tour, Inc. v. Martin, 532 U.S. 661, 674-75, 121 S. Ct.

24   1 http://www.pewinternet.org/fact-sheet/internet-broadband/ (last visited July 30, 2018). Indeed, 98
25   percent of adults between the ages of 18-29 use the Internet, and 97 percent of adults between the ages
     of 30-49 use the Internet. Id.
     2 In 2016, an estimated 7.7 million Americans reported having a visual disability.
26
     http://www.disabilitystatistics.org/reports/acs.cfm?statistic=1
27   (last visited July 30, 2018). The statistics were calculated by the Cornell University Yang Tan
     Institute using the U.S. Census Bureau’s 2016 American Community Survey (ACS) Public Use
28   Microdata Sample (PUMS) data. The estimate is based on a sample of 3,085,278 persons who
     participated in the 2016 ACS.

                                                     -2-
                                                  COMPLAINT
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 1   1879 (2001) (quoting 42 U.S.C. § 12101(a)(2))). “Congress found that ‘physical or mental disabilities

 2   in no way diminish a person’s right to fully participate in all aspects of society, yet many people with

 3   physical or mental disabilities have been precluded from doing so because of discrimination.’” Del-

 4   Orden, 2017 WL 6547902, at *9 (quoting 42 U.S.C. § 12101(a)(1)) (emphasis added in Del-Orden).

 5   “After thoroughly investigating the problem, Congress concluded that there was a ‘compelling need’

 6   for a ‘clear and comprehensive national mandate’ to eliminate discrimination against disabled

 7   individuals, and to integrate them ‘into the economic and social mainstream of American life.’” PGA

 8   Tour, 532 U.S. at 675 (quoting S. Rep. No. 101-116, p. 20 (1989); H.R. Rep. No. 101-485, pt. 2, p. 50

 9   (1990), U.S.C.C.A.N. 1990, pt. 2, pp. 303, 332). To remedy these ills, “Congress provided [a] broad

10   mandate” in the ADA to effect the statute’s “sweeping purpose.” Id. “In a society in which business

11   is increasingly conducted online, excluding businesses that sell services through the Internet from the

12   ADA would[:] ‘run afoul of the purposes of the ADA and would severely frustrate Congress’s intent

13   that individuals with disabilities fully enjoy the goods, services, privileges, and advantages available

14   indiscriminately to other members of the general public’”. National Ass’n of the Deaf v. Netflix, Inc.,

15   869 F. Supp. 2d 196, 200 (D. Mass. 2012) (emphasis added) (quoting Carparts Distrib. Ctr. v. Auto

16   Wholesaler’s Ass’n, 37 F.3d 12, 20 (1st Cir. 1994)).

17          3.      Section 51(f) of the California Civil Code provides that a violation of the right of any

18   individual under the ADA, shall also constitute a violation of the Unruh Civil Rights Act. A person

19   who visits a business’s website with intent to use its services and encounters terms or conditions that

20   exclude the person from full and equal access to its services has standing under the Unruh Act, with no

21   further requirement that the person enter into an agreement or transaction with the business. White v.

22   Square, Inc., 7 Cal.5th 1019, 2019 WL 3771912, at *7 (Cal. Sup. Ct. Aug. 12, 2019).

23          4.      Plaintiff is a blind individual who requires screen reading software to read website

24   content and access the internet.      Defendant Genesco Inc. (“Defendant”) maintains its website,

25   journeys.com (the “Website”) in such a way that it contains numerous access barriers preventing

26   Plaintiff, and other blind and visually-impaired individuals, from gaining equal access to the Website.

27   Defendant’s denial of full and equal access to its website, and therefore its products and services

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                                                     -3-
                                           FIRST AMENDED COMPLAINT
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 1   offered thereby, is a violation of Plaintiff’s rights under the ADA and California’s Unruh Civil Rights

 2   Act.

 3                                       JURISDICTION AND VENUE

 4          5.      This Court has subject matter jurisdiction over this action. This Court has personal

 5   jurisdiction over Defendant because Defendant has conducted and continues to conduct substantial

 6   business in the State of California, and because Defendant’s offending website is available across

 7   California.

 8          6.      Venue is proper in this Court because Defendant conducts substantial business in this

 9   County, and because a substantial portion of the misconduct alleged herein occurred in the County of

10   San Bernardino.

11                                                  PARTIES

12          7.      Plaintiff Luis Licea resides in San Bernardino County, California.              Plaintiff is

13   permanently blind and uses screen readers in order to access the internet and read website content. At

14   all relevant times, as detailed above, despite several attempts to use and navigate the Website, Plaintiff

15   was denied the full use and enjoyment of the facilities and services of the Website as a result of

16   accessibility barriers on the Website. At all relevant times, the access barriers on the Website caused a

17   denial of Plaintiff’s full and equal access multiple times in the past, and deterred Plaintiff on a regular

18   basis from accessing Defendant’s Website. Similarly, at all relevant times the access barriers on the

19   Website deterred Plaintiff from visiting Defendant’s California retail location.

20          8.      While Plaintiff genuinely wants to avail himself of Defendant’s goods and services as

21   offered on Defendant’s Website, Plaintiff has a dual motivation: he is also a “tester,” which one

22   federal court has defined to be “individuals with disabilities who visit places of public accommodation

23   to determine their compliance with Title III [of the ADA].” Harty v. Burlington Coat Factory of

24   Penn., L.L.C., Civil Action No. 11-01923, 2011 WL 2415169, at *1 n.5 (E.D. Pa. June 16, 2011).

25   Indeed, it is widely accepted that “testers” such as Plaintiff advance important public interests and

26   should be “praised rather than vilified.” Murray v. GMAC Mortgage Corp., 434 F.3d 948, 954 (7th

27   Cir. 2006). Plaintiff has filed multiple lawsuits against various operators of commercial websites

28   under the Unruh Civil Rights Act as part of his advocacy work on behalf of the civil rights of visually-

                                                     -4-
                                           FIRST AMENDED COMPLAINT
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 1   impaired persons. Plaintiff intends to continue to engage in such advocacy work into the foreseeable

 2   future to ensure that Defendant’s commercial Website and others are fully and equally enjoyable to

 3   and usable by visually-impaired persons, including himself.

 4          9.       Plaintiff is informed and believes, and thereon alleges, that Defendant Genesco Inc. is a

 5   Tennessee corporation with its principal place of business located in Nashville, Tennessee. Plaintiff is

 6   informed and believes, and thereon alleges, that Defendant owns and operates a retail location in

 7   California. This location constitutes a place of public accommodation. Defendant’s location provides

 8   to the public important goods and/or services. Defendant also provides to the public the Website. The

 9   Website provides access to Defendant’s array of services, including a store locator for its locations,

10   descriptions of its products, amenities and services, and many other benefits related to these facilities

11   and services. Defendant’s locations are public accommodations within the definition of Title III of the

12   ADA and are likewise “business establishments” within the meaning of the California Civil Code § 51

13   et seq. The Website is a service, privilege, and advantage and accommodation of Defendant’s services

14   and locations. The Website is a service, privilege, advantage, and accommodation that is heavily

15   integrated with Defendant’s store locations.

16          10.      At all relevant times, each and every Defendant was acting as an agent and/or employee

17   of each of the other Defendants and was acting within the course and/or scope of said agency and/or

18   employment with the full knowledge and consent of each of the Defendants. Each of the acts and/or

19   omissions complained of herein were alleged and made known to, and ratified by, each of the other

20   Defendants (Genesco Inc. and DOE Defendants will hereafter collectively be referred to as

21   “Defendant”).

22          11.      The true names and capacities of the Defendants sued herein as DOES 1 through 10,

23   inclusive, are currently unknown to Plaintiffs, who therefore sue such Defendants by fictitious names.

24   Each of the Defendants designated herein as a DOE is legally responsible for the unlawful acts alleged

25   herein. Plaintiff will seek leave of Court to amend this Complaint to reflect the true names and

26   capacities of the DOE Defendants when such identities become known.

27                                                   FACTS

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                                                    -5-
                                          FIRST AMENDED COMPLAINT
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 1             12.   The Internet has become a significant source of information, a portal and tool for

 2   conducting business, and a means for doing everyday activities such as shopping, banking, etc. for

 3   both the sighted and blind, and/or visually-impaired persons.

 4             13.   Blind individuals may access websites by using keyboards in conjunction with screen-

 5   reading software that vocalizes visual information on a computer screen. Screen access software

 6   provides the only method by which a blind person may independently access the internet. Unless

 7   websites are designed to be read by screen reading software, blind persons are unable to fully access

 8   websites and the information, products and services, privileges, advantages, and accommodations

 9   contained thereon.

10             14.   The international website standards organization, W3C, has published version 2.0 of the

11   Web Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established, industry

12   standard guidelines for ensuring websites are accessible to blind and visually-impaired people. These

13   guidelines are successfully followed by numerous large business entities to ensure their websites are

14   accessible. These guidelines recommend several basic components for making websites accessible

15   including, but not limited to, adding invisible alternative text to graphics, ensuring that all functions

16   can be performed using a keyboard and not just a mouse; ensuring that image maps are accessible, and

17   adding headings so that blind people can easily navigate websites. Without these very basic

18   components, a website will be inaccessible to a blind or visually-impaired person using a screen

19   reader.

20             15.   Defendant offers the Website, which provides, as set forth above, a breadth of

21   information concerning its products and other amenities and services, privileges, advantages, and

22   accommodations, and allows users to find a retail location to visit.

23             16.   Based on information and belief, it is Defendant’s policy and practice to deny blind

24   users, including Plaintiff, equal enjoyment of and access to the Website. Due to Defendant’s failure

25   and refusal to remove access barriers on the Website, Plaintiff and other blind and visually impaired

26   individuals were denied equal enjoyment of and access to the retail locations and to Defendant’s other

27   services, advantages, privileges, and accommodations offered to the public through the Website.

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                                                    -6-
                                          FIRST AMENDED COMPLAINT
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 15 of 168 Page ID #:18



 1          17.     Defendant has denied blind individuals equal enjoyment of and access to the products,

 2   services, privileges, advantages, and accommodations and information made available through the

 3   Website by preventing them from freely navigating the Website. The Website contains access barriers

 4   that prevent free and full use by Plaintiff and other blind persons using screen reading software.

 5          18.     The Website’s barriers are pervasive and include, but are not limited to, the following:

 6   (1) Missing alternative text which presents a problem because an image without alternative text results

 7   in an empty link. Alternative Text is invisible code embedded beneath a graphical image on a website.

 8   Web accessibility requires that Alternative Text be coded with each picture so that a screen reader can

 9   speak the Alternative Text where a sighted user sees pictures. Alternative Text does not change the

10   visual presentation, but instead generates a text box that will pop-up when the mouse moves over the

11   picture. The lack of Alternative Text on these graphics prevents screen readers from accurately

12   vocalizing a description of the graphics; (2) Empty headings, which present no information and may

13   introduce confusion; and (3) Empty links that contain no text causing the function or purpose of the

14   link to not be presented to the user. This can introduce confusion for keyboard and screen reader users.

15          19.     Due to the inaccessibility of the Website, blind and otherwise visually impaired

16   customers who use screen readers have been hindered from effectively browsing for Defendant’s

17   products, amenities and services, privileges, advantages, and accommodations that exist online unlike

18   sighted users. If the Website were accessible, Plaintiff would independently and privately investigate

19   Defendant’s products, services, privileges, advantages, accommodations, and amenities, as sighted

20   individuals can and do.

21          20.     Despite several attempts to access the Website in recent months, the numerous access

22   barriers contained on Defendant’s website have denied Plaintiff full and equal access, and deterred

23   Plaintiff on a regular basis from accessing the Website. Similarly, based on the numerous access

24   barriers contained on the Website, Plaintiff has been deterred from purchasing Defendant’s products as

25   Plaintiff would have been able to do by using the Website. Plaintiff continues to attempt to utilize the

26   Website and plans to continue to attempt to utilize such Website in the near future. Plaintiff’s

27   dignitary interests as a disabled person has been harmed by Defendant’s actions.

28   ///

                                                    -7-
                                          FIRST AMENDED COMPLAINT
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 16 of 168 Page ID #:19



 1                                        FIRST CAUSE OF ACTION

 2           Violations of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.

 3                                    (By Plaintiff Against All Defendants)

 4          21.     Plaintiff incorporates by this reference the allegations contained in the preceding

 5   paragraphs above as if fully set forth herein.

 6          22.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No

 7   individual shall be discriminated against on the basis of disability in the full and equal enjoyment of

 8   the goods, services, facilities, privileges, advantages, or accommodations of any place of public

 9   accommodation by any person who owns, leases (or leases to), or operates a place of public

10   accommodation.” 42 U.S.C. § 12182(a).

11          23.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

12   among other things: “a failure to make reasonable modifications in policies, practices, or procedures,

13   when such modifications are necessary to afford such goods, services, facilities, privileges,

14   advantages, or accommodations to individuals with disabilities, unless the entity can demonstrate that

15   making such modifications would fundamentally alter the nature of such goods, services, facilities,

16   privileges, advantages or accommodations”; and “a failure to take such steps as may be necessary to

17   ensure that no individual with a disability is excluded, denied services, segregated or otherwise treated

18   differently than other individuals because of the absence of auxiliary aids and services, unless the

19   entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

20   service, facility, privilege, advantage, or accommodation being offered or would result in an undue

21   burden”. 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public accommodation shall take those steps that

22   may be necessary to ensure that no individual with a disability is excluded, denied services, segregated

23   or otherwise treated differently than other individuals because of the absence of auxiliary aids and

24   services, unless the public accommodation can demonstrate that taking those steps would

25   fundamentally alter the nature of the goods, services, facilities, privileges, advantages, or

26   accommodations being offered or would result in an undue burden, i.e., significant difficulty or

27   expense.” 28 C.F.R. § 36.303(a). In order to be effective, auxiliary aids and services must be

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                                                     -8-
                                           FIRST AMENDED COMPLAINT
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 17 of 168 Page ID #:20



 1   provided in accessible formats, in a timely manner, and in such a way as to protect the privacy and

 2   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).

 3          24.     Defendant’s Website constitutes a “public accommodation” within the meaning of 42

 4   U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from the sale of its products

 5   and services, privileges, advantages, and accommodations.             The Website is a service, privilege,

 6   advantage, and accommodation provided by Defendant that is inaccessible to patrons who are visually-

 7   impaired like Plaintiff. This inaccessibility denies visually-impaired patrons full and equal enjoyment

 8   of and access to the facilities and services, privileges, advantages, and accommodations that Defendant

 9   made available to the non-disabled public. Defendant is violating the Americans with Disabilities Act,

10   42 U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the services,

11   privileges, advantages, and accommodations provided by the Website. These violations are ongoing.

12          25.     Defendant’s actions constitute intentional discrimination against Plaintiff on the basis

13   of a disability in violation of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that:

14   Defendant has constructed a website that is inaccessible to Plaintiff; knowingly maintains the website

15   in this inaccessible form; and has failed to take adequate actions to correct these barriers even after

16   being notified of the discrimination that such barriers cause.

17          26.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

18   incorporated therein, Plaintiff requests relief as set forth below.

19                                       SECOND CAUSE OF ACTION

20                Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.

21                                    (By Plaintiff Against All Defendants)

22          27.     Plaintiff incorporates by this reference the allegations contained in the preceding

23   paragraphs above as if fully set forth herein.

24          28.     California Civil Code § 51 et seq. guarantees equal access for people with disabilities to

25   the accommodations, advantages, facilities, privileges, and services of all business establishments of

26   any kind whatsoever. Defendant is systematically violating the Unruh Civil Rights Act, California

27   Civil Code § 51 et seq.

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                                                     -9-
                                           FIRST AMENDED COMPLAINT
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 1          29.     The Website is a “business establishment” within the meaning of the California Civil

 2   Code § 51 et seq. Defendant generates hundreds of thousands of dollars in revenue from the sale of its

 3   goods and services in California through the Website. The Website is a service provided by Defendant

 4   that is inaccessible to patrons who are visually-impaired like Plaintiff. This inaccessibility has denied

 5   visually-impaired patrons full and equal access to the facilities and services that Defendant makes

 6   available to the non-disabled public. Defendant has violated the Unruh Civil Rights Act by denying

 7   visually-impaired customers the services and products provided by the Website. These violations are

 8   ongoing.

 9          30.     Defendant’s actions constitute intentional discrimination against Plaintiff on the basis

10   of a disability in violation of the Unruh Civil Rights Act because Defendant has constructed a Website

11   that is inaccessible to Plaintiff, knowingly maintains the Website in this inaccessible form, and has

12   failed to take adequate actions to correct these barriers even after being notified of the discrimination

13   that such barriers cause.

14          31.     Defendant is also violating the Unruh Civil Rights Act because the conduct alleged

15   herein likewise constitutes a violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq.

16   Section 51(f) of the California Civil Code provides that a violation of the right of any individual under

17   the ADA shall also constitute a violation of the Unruh Civil Rights Act.

18          32.     The actions of Defendant were and are in violation of the Unruh Civil Rights Act and,

19   therefore, Plaintiff is entitled to injunctive relief remedying the discrimination.

20          33.     Plaintiff is also entitled to a preliminary and permanent injunction enjoining Defendant

21   from violating the Unruh Civil Rights Act and requiring Defendant to take the steps necessary to make

22   the Website readily accessible to and usable by visually-impaired individuals.

23          34.     Plaintiff is also entitled to statutory minimum damages pursuant to California Civil

24   Code § 52 for each and every offense. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

25                                           PRAYER FOR RELIEF

26          WHEREFORE, Plaintiff prays for relief and judgment as follows:

27   1.     For a judgment that Defendant violated Plaintiff’s rights under the Americans with Disabilities

28   Act, 42 U.S.C. § 12181 et seq. and the Unruh Civil Rights Act, California Civil Code § 51 et seq.;

                                                     - 10 -
                                           FIRST AMENDED COMPLAINT
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 19 of 168 Page ID #:22



 1          2.      For a preliminary and permanent injunction requiring Defendant to take the steps

 2   necessary to make the Website, journeys.com, readily accessible to and usable by visually-impaired

 3   individuals;

 4          3.      An award of statutory minimum damages of $4,000 per violation pursuant to section

 5   52(a) of the California Civil Code;

 6          4.      For attorneys’ fees and expenses pursuant to all applicable laws including, without

 7   limitation, California Civil Code § 52(a);

 8          5.      For pre-judgment interest to the extent permitted by law;

 9          6.      For costs of suit; and

10          7.      A judgment for all such other relief as this Court deems just and proper.

11   Dated: August 31, 2020                        PACIFIC TRIAL ATTORNEYS, APC
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13                                                 By:
                                                   Scott. J. Ferrell
14                                                 Attorneys for Plaintiff

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                                             FIRST AMENDED COMPLAINT
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 20 of 168 Page ID #:23



 1                                    DEMAND FOR JURY TRIAL

 2          Plaintiff hereby demands a trial by jury of all claims and causes of action so triable in this

 3   lawsuit.

 4

 5   Dated: August 31, 2020                     PACIFIC TRIAL ATTORNEYS, APC
 6
                                                By:
 7
                                                Scott. J. Ferrell
 8                                              Attorneys for Plaintiff

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                                        FIRST AMENDED COMPLAINT
                 Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 21 of 168 Page ID #:24
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                      1   SCOTT J FERRELL SBN 202091
                          VICTORIA C KNOWLES                  SBN 277231
                      2   PACIFIC TRIAL ATTORNEYS APC
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                                                                                                                                                                 p



                          4100 Newport Place Dnve Suite 800
                      3   Newport Beach CA 92660                                                   SUPERtOR COU12T
                                                                                                    COUNTY pF S N OF  CAUFORNIA
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                          Tel     949    706 6464                                                    SAN BERNARDINO DISTRfCT
                      4   Fax      949   706 6469
                          Email                                                                          Qu      2 7 202
                      5
                          Attorneys for    Plaintiff                                          gy
                      6   L UIS LICEA
                                                                                                                            Vr        y

                      7   CARTER L NORFLEET SBN 280725
                          BAKER           HOSTETLER LLP
                      g   11601 Wilshire Boulevard Suite 1400
                          Los Angeles CA 90025 0509
                      9   Telephone         310 820 8800
                          Facsimile         310 820 8859
                  10      Email             cnorfleet@bakerlaw com



                  11
                          Attorneys for Defendant
                  12      GENESCO INC
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    I    F
             w
     F
                  13
    xz                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
         oa

     Y
                  14                                          COUNTY OF SAN BERNARDINO

                  15      LUIS LICEA        an   individual                             Case No       CNDS1939376
I
                  16                        Plaintiff                                    Honorable Wilfred J          Schneider Jr            Dept
                                                                                        S32
                  17                v

                                                                                        STIPULATION TO WITHDRA V
                  18      GENESCO INC            a   Tennessee   corporation    and     PENDING DEMURRUER VACATE
I                         DOES 1 10 inclusive                                           DEMURRER HEARING AND TRIAL
                  19                                                                    SETTING CONFERENCE AND TO
                                            Defendant                                   ALLOW PLAINTIFF TO FILE AN
                  2                                                                     AMENDED COMPLAINT
                                                                    d                    R              D    ORDER
                  21
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                  22                                                       f
                  23                                                                    Action Filed        December 30 2019

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                                                                        ALLOV   PLAINTIFF TO FILE AN AMENDED COMPLAINT                    i
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            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 22 of 168 Page ID #:25




                 1           Plaintiff LUIS LICEA           Plaintiff   and   Defendant GENESCO INC                               Genesco    and



                 2                                  the   Parties
                     together    with   Plaintiff                   by and through their respective counsel of record
                 3   stipulate subject to approval by the Court as follows

                 4           l          The trial setting conference and hearing on Defendant s Demurrer in this matter
                 5   are set for August 7 2020 pursuant to this Court s order


                 6           2          The Parties have agreed that Plaintiff will have 14 days from the filing of this
                 7   Stipulation to file an amended complaint with this Court

                 g           3          To promote judicial economy and preserve the Parties and this Courts resources
                 9
                     the Parties have agreed subject to the Court s approval that Defendant will withdraw its pending
             10
                     Demurrer without prejudice and the Parties will vacate the hearing scheduled for August 7 2020
             11
                     The Parties have also agreed           subject to the Court s approval                 to vacate the trial setting

    a   w
             12      conference    in the   matter scheduled   for August 7 2020        The Parties further agree subject to the
        W




             13      Court s approval that Plaintiff will file an amended complaint with this Court within 14 days
xZ
    oo

Y            14      from the filing of this Stipulation The Parties agree that this proposed course of action is the best
z




             15      use of resources at this time


             16      IT IS SO STIPULATED

                                                                              PACIFIC TRIAL ATTORNEYS
             17      Dated       August 5 2020


             18


             19                                                               BY
                                                                                       SCOTT J FERRELL

             20                                                                        VICTORIA C KNOWLES


             21                                                               Attorneys for Plaintiff
                                                                              LUIS LICEA
             22
                     Dated       August 5 2020                                BAKER            HOSTETLER LLP
             23


             24                                                               gy
                                                                                       CARTER L NORFLEET
             25


             26
                                                                              Attorneys for Defendant

                                                                              GENESCO INC
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                         STIPUI AI ION TO    1TliDRAW DEMURRFR VACATE DEMURRER HEARING 4ND fR1 11 SF I TING C ONFERI NCF ANU TO
                                                                ALLOW PL   INTIFF TO   1LE   AN AML   NDI   D   OnqPL   iNT   R         p ORDLR
                                                                                                                        CAS   NO     CIVDS1939376
                 Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 23 of 168 Page ID #:26




                   1                                                                   H   ORDER


                   2           Having   considered   the Parties       Sti Pulation    and      ood cause aPP earin g          the Court           rants the


                   3   Stipulation and ORDERS


                   4           l   The heari    set    for Defe         ant s     De           er   to       intiff   s   Co    aint       schedule     for


                   5               Augu    7 2020 is


                   6           2   The trial setting conference scheduled for August 7 2020 is

                   7           3   Plaintiff has 14 days from the date this Stipulation was filed to file an amended


                   8               complaint with this Court


                   9           IT IS SO ORDERED


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                  11   Dated
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                          STIPULAIION TO WITHDRAW D MURRLR V 1C 1TE D1 4URRFR IitARING AND IRIAL SETIING CONFC RENCL AND TO
                                                                   i   LLO   PL   INTIPP   TO FILL AN AMENUED COMPI AIM                I   9 6 i     ORDER
                                                                                                                               CASL NO       CIVDS1939376
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 24 of 168 Page ID #:27
                                   s


              1                                         PROOF OF SERVICE


              2
                         I am employed in Los Angeles County California        I am over the age of eighteen years
                  and not a party to the within entitled action My business address is 11601 Wilshire
              3
                  Boulevard Suite 1400 Los Angeles CA 90025 0509 On August 5 2020 I served a copy of
                  the within document s     STIPULATION TO WITHDRAW PENDING DEMURRUER
              4
                  VACATE DEMURRER HEARING AND TRIAL SETTING CONFERENCE AND TO
                  ALLOW PLAINTIFF TO FILE AN AMENDED COMPLAINT
              5   PROPOSED        ORDER

                            by placing the document s listed above in a sealed envelope with postage thereon
              6
                            fully prepaid in the United States mail at Los Angeles California addressed as set
                            forth below
              7


              8
                            by placing the document s listed above in a sealed envelope and affixing a pre paid
                            air bill and causing the envelope to be delivered to an Overnite agent for delivery
              9
                            by personally delivering the document s listed above to the person s at the
                            address es    set forth below
             10

                            by causing to be personally delivered by an ATTORNEY SERVICE the document s
             11
                            listed above to the address es set forth below

    a        12
    F                       by transmitting via electronic mail the document s listed above to the e mail
             13
                            address es set forth below on this date before 5 00 p m and the transmission was
x   Z                       reported as complete and without error

        O
c       a


Y            14
                  Scott J Ferrell Esq
                  Victoria C Knowles Esq
             15
                  pACIFIC TRIAL ATTORNEYS APC
                  4100 Newport Place Drive Suite 800
             16
                  Newport Beach CA 92660

             17


             1g
                         I am readily familiar with the firm s practice of collection and processing correspondence
                  for mailing Under that practice it would be deposited with the U S Postal Service on that same
                  day with postage thereon fully prepaid in the ordinary course of business I am aware that on
             19
                  motion of the party served service is presumed invalid if postal cancellation date or postage

             20
                  meter date is more than one day after date of deposit for mailing in affidavit
                         I declare under penalty of perjury under the laws of the State of California that the above
             21
                  is true and correct Executed on August 5 2020 at Los Angeles California

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                                                                  Denise Walker

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                                                                                                   CASL NO CIVDS 19 6901
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 25 of 168 Page ID #:28




              1   Carter L Norfleet            318152
                  BAKER                HOSTETLER LLP                                          F           a
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              2   11601 Wilshire Boulevard
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              3   Los Angeles CA 90025 0509
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                  Telephone              310 820 8800                                                              z4 a
              4   Facsimile              310 820 8859
                  Email                  cnorfleet@bakerlaw com                      y    T              ti
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              5
                                                                                                                              Ceeu r
                  Attorneys for Defendant
              6   GENESCOINC


              7


              g                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA


              9                                            COUNTY OF SAN BERNARDINO

             10   LUIS LICEA                  individual
                                         an                                      Case No          CIVDS1939376

             11                                Plaintiff                          Hon Wilfred J Schneider Jr Dept S32

    a        12
                             v                                                   DEFENDANT S REPLY IN SUPPORT
                                                                                 OF IT S DEMURRER TO COMPLAINT
        Z    13
o                 GENESCO INC                 a Tennessee corporation
                  and   DOES 1 10          inclusive                             Date               August 7 2020
             14
w                                                                                Time                10 00 a m
                                               Defendant                         Dept               S32
             15

                                                                                 Date Action Filed                December 30 2019
             16
                                                                                 Trial Date         TBA

             17


             1g              Defendant Genesco Inc           Defendant          Genesco
                                                                           or
                                                                                                  by and through its undersigned
             19   counsel     hereby les its Rely in Support of its Demurrer to PlaintiffLuis Licea s Complaint
             20     Complaint            and respectfully moves this Court to sustain its Demurrer and dismiss the

             21   Complaint without leave to amend for the reasons set forth herein

             22


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                                                                        DEFL NDANT S RI PLY IN SUPPORT OF 1TS DEMURRER TO COMPLAINT
                                                                                                                          CASF NO      CIVDS1939370

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                                                                                                                                                           f
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 26 of 168 Page ID #:29




              1   I                INTRODUCTION


              2                    Plaintiffs Opposition scarcely contains any argument that could help the Court evaluate

              3   Defendant s Demurrer or the sufficiency of Plaintiff s Complaint In the Opposition Plaintiff

              4   discusses at great length topics not broached by the Demurrer he proffers facts not pled in or

              5   attached to the Complaint or the Opposition for that matter                             and he relies on inapposite case law

              6
                  and applies faulty analysis regarding what constitutes relevant binding precedent Upon
              7
                  appropriately setting aside these arguments there is very little Opposition left to consider And
              8
                  that which remains does not refute the firmly established bases for dismissal submitted in
              9   Defendant s Demurrer Accordingly as discussed in more detail below the Court should grant

             10   Defendant s largely unopposed Demurrer and dismiss Plaintiff s Complaint without leave to

             11   amend



    Q        12   II               AGRUMENT
    a




             13                    A             Plaintiff s Opposition is Not Responsive to the Demurrer
o       Z

xZ

        a    14
                                   In his Opposition Plaintiff mainly argues against himsel The majority of the 26 page
2
             IS
                  Opposition is devoted to countering arguments Defendant never raised in its Demurrer See e g
             16                          A              C
                  Op       at                1    and       1 8   Notably Plaintiff fills most of his Opposition pages with discussion
             17
                  of the applicability of the nexus requirement which is neither argued nar implicated by the
             18   arguments in Defendant s Demurrer See Id                              Defendant will not respond to these red herrings

             19
                  here but will instead refocus the briefing on the arguments at hand
             20                    To reiterate Defendant s Demurrer consisted of two arguments One Plaintiff did not

             21
                  adequately plead and cannot prove that Defendant intentionally discriminated against him which
             22   is   a                         element of   Plaintiff s Unruh Civil Rights Act California Civil Code
                           necessary                                                                                                51 et seq
             23        Unruh Act                  claim And two Defendant s website journeys com complies with the Americans

             24   with         Disabilities Act 42 U S C               12181   et             ADA    therefore even if Plaintiff amended the
                                                                                    seq

             25   Complaint to include an ADA claim the Complaint would still fail to state a cause of action

             26
                                   The Court should summarily disregard Plaintiff s voluminous and distracting discourse
            27
                  that has nothing to do with the arguments up for consideration on Defendant s Demurrer
            28
                                                                                          2

                                                                                    DEI I NDANT S R1 PLl IN SUPPOItI OF IT S DEMURRLR TO COMPLAINl

                                                                                                                            CAS1   NO   C1VDS193937U

                  4S I 6   7   S   395   I
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 27 of 168 Page ID #:30




                 1                B             Plaintiff Has Not Adequately Pled Intentional Discrimivation Nor Can He
                                                Prove It
                 2
                                                1              Plaintiff s Newly Alleged Support For Intentional Discrimination Was
                 3                                             Not Pled In the Complaint and Therefore Should Not be Considered

                 4                Plaintiffurges the Court to determine he has met his pleading burden with respect to

                 5   Defendant s alleged intentional discrimination by referencing facts that were not in fact pled in
                     the Complaint But                         a demurrer tests the legal sufficiency of factual allegations i z a

                     complaint
                                              not facts that can be conjured up in the opposition Rakestraw v California

                 g   Physicians Service 2000 81 Cal App 4th 39 42 emphasis added

                 9                For the first time in his Opposition Plaintiff alleges that the Court can and should


             10      determine that Plaintiff has satisfied his burden to plead ultimate facts if not evidentiary facts of
             11      intentional discrimination by Defendant because Defendant the owner and operator of the

    a        12      Website knew of the accessibility problems Plaintiff had with the Website by no later than the

o       Z    13      timeframe when Defendant received Plaintiff s counsel s pre filing demand letter dated April 2
    z a

r       a    14      2019 but nevertheless took no steps to address the communication barriers specifically
Z
Y
             15      encountered by Plaintiff to make the Website accessible making the filing of this action
             16      necessary                Op at p 12

             1                    This purported pre filing demand letter however was not referenced or quoted in the

             1g      Complaint Nor                  was   it   attached   to the Complaint See      Holly Sugar Corp     v   McColga         1941   18


             19      Ca1 2d 218               It is well settled that a written instrument which is the foundation of a cause of

             20      action       may be pleaded                   either by setting forth a copy in the body of the complaint or by
             21                       a             as an exhibit and
                                                                            incorporating   it   by proper
                     attaching            copy                                                               reference
                                                                                                                         And most importantly

             22      Plaintiffs alleged pre filing demand letter was not offered as support for Defendant s alleged

             23      intentional discrimination in the Complaint Furthermore Defendant has no record of receiving
            24       such a letter either on Apri12 2019 or at any other time prior to filing
            25                    Contrary to Plaintiff s claims the Court is most certainly not required to assume as true

            26        Op at p 12 these unpled facts and conclusions related to the alleged pre filing demand letter
            27

                      To the extent the Cow t considers Plaintiff s unsworn and unpled representations regarding sending a pre filing
                     demand letter the Court should too consider Defendant s representations regarding receipt of such letter
                                                                                            3

                                                                                    DEFENDANT S REPLI W SUPPORI OI I I S D1 MURR R f0 COMPLAIN7

                                                                                                                               C   SI   NO   IVDS1939370
                     4516 7   a    9S     J
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 28 of 168 Page ID #:31




              1    and       its   undisclosed contents        See   eg    Czajkowski     v   Haskell       White LLP 2012 208 Cal App

              2    4th 166             On demurrer a court must accept prope ly pleadedfacts as true but a demurrer does

              3    not admit           the plaintiffs contentions     nor     conclusions of    law   or   fact        emphasis added



              4                    Plaintiff also boldly relies on these unpled facts while attempting to distinguish one of the

              5    cases cited by Defendant in its Demurrer According to Plaintiff Greater Los Angeles Agency on
              6   Deafness Inc                   Cc ble News Network Inc
                                             v
                                                                                   9th Cir 2014 742 F 3d 414 425 cannot apply here
              7    because that defendant at least attempted to provide an accommodation in response to a prior

              8    demand letter             whereas    here    no such attempt was made to accommodate Plaintiff s request to


              9
                   remove communication barriers from Defendant s Website despite Defendant being put on
             10   notice as to Plaintiff s explicit accommodation request for more than eight months before filing

             11    suit
                                   Of course in actuality Defendant is not even now on notice of the contents of this

    z        12   purported pre filing accommodation request It was not mentioned in the Complaint and
    J w
w Q
             13   tellingly is again not described or quoted in or attached to Plaintiff s Opposition If this pre
o       Z
xZ

             14    filing demand letter even exists which Defendant contests                            neither Defendant nor the Court has
2
Y
             15   been provided the opportunity to ascertain its contents let alone rely on it to distinguish case law

             16   or to infer that Defendant intentionally discriminated against Plaintiff

             17
                                   For the foregoing reasons the Court should therefore disregard all references to Plaintiff s
             18   alleged pre filing demand letter which was not mentioned in nor attached to the Complaint or

             19                                  Because Plaintiff provides no other support for Defendant s claimed intentional
                  any        other
                                      filing
            20
                  discrimination a necessary element of Plaintiffs Unruh Act claim Defendant s Demurer should
            21    be sustained

                                             2       The Cases Plaintiff Cites In Support Of A Finding of Intentional
            22                                       Discrimination Are Inapposite

            23
                                   Plaintiff continues his strategy of revisionist history by arguing that two recent federal
            24    district                  decisions
                                   court
                                                          MaYtrarez and Thin sto a held that nearly identical complaints plausibly
            25                      intentional discrimination in                        the Unruh Act                      p 13    These cases
                  alleged                                                 violation of
                                                                                                                  Op   at



            26
                  however are by no means nearly identical to the case at hand
            27


            28
                                                                                     4

                                                                                DFFENDANT S RI PLl IN SUPPOR I OF IT S DEMURR R TO COMPLAINT

                                                                                                                                   CAS   NO   CIVDS1939370

                  4S I 6 7    S2    932 I
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 29 of 168 Page ID #:32




              1              In both Mc tinez v Adidas A               erica Inc       July 9 2019 2019 WL 3002864 and Tlzurszon

             2    v Clea YPath Le zding Inc Jan 28 2019 2019 WL 366405 the courts were considering remand

             3    not the sufficiency of the complaint Additionally the Marti zez plaintiffs theory of intentional
             4    discrimination       was   based   on   the   following   allegations    in the   complaint   they sent Defendant a

              5   letter notifying it    about   the   website     s   UCRA   violation    before they filed the Complaint      and



              6    Defendant ignored the notice and failed to make changes to their website which would ensure

              7   accessibility        Martinez 2019 WL 3002864 at                 4

              8              Here although Plaintiff now attempts to retroactively add similar allegations to his

              9   Complaint such allegations were not actually pled or supported in the Complaint It is unclear

             10   how the Martinez and Thurston courts would have ruled on a demurrer which tests the

             11
                  sufficiency of the allegations in the complaint rather than a motion for remand which does not
    Q        12   where as here such allegations were not actually pled Accordingly these decisions are
    a


        u
             13   unhelpful in resolving the present issues
o       z
xz

c            14              Plaintiffalso inaptly argues that the Court is bound by the California Court of Appeal s
Q
Y
             15   decision in Ruiz      v    Mr rsclewood Inv Props           LLC 2018       28 Cal    App   Sth 15   Op at pp 10 13

             16   Ruiz is neither binding nor is it on point Plaintiff s zealous reliance on Ruiz is in fact somewhat

             17   puzzling Ruiz is based         on a claim under        the Disabled Persons Act         Civ Code     54 et seg

             18     DPA        not Unruh or even the ADA and its dicta related to ifztent zot binding precedent

             19   reproduced in full below could not be any less germane to the case at hand

            20

                                       We need not decide for purposes of resolving plaintiff s appeal
            21
                                       from the demurrer ruling here whether section 54 3 should be
                                       construed to include an intent element i e that liability may only
            22
                                       attach where a plaintiff alleges not only interference with
                                       admittance to or enjoyment of public facilities but also an intent to
            23
                                       so interfere Defendants guard dog s repeated attacks on plaintiff s
                                       guide dog and defendants alleged knowledge of those attacks
            24                         permits a reasonable inference ofintent here


             25


            26               Id at 22 In light of the sti iking dissimilarities highlighted by the foregoing excerpt it is

            27
                  unsurprising that Plaintiff did not so much as summarize the holding in Ruiz or include a single
            28
                                                                                   5
                                                                            DEFLNDANT S REPLY IN SUPPORT OF IT S DIiMURRER 10      OMPLAINT

                                                                                                                      CASL NO   CIVDS1939370

                  4316 735    9S   I
         Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 30 of 168 Page ID #:33




           1    quote form it Yet Plaintiff confidently argues that two Ninth Circuit cases regarding the Unruh

           2    Act cited by Defendant in its Demurrer Greater Los Angeles Age zcy o Deafness 742 F 3d 414

           3    and    Earll       v       eBay Inc     9th Cir 2015 599 Fed Appx 695 would have had different outcomes

           4    had they been decided after the California Court of Appeal discussed in passing a possible intent

           5    element under the DPA Although it should go without saying this analysis is woefully flawed
           6                 Although Plaintiff fervently exaggerates the applicability and importance of these three

           7    cases as applied here as Defendant depicted above these cases should have little to no bearing on
           8
                the resolution of its Demurrer As such in ruling on the Demurrer the Court should afford them
           9
                the minimal consideration if any they deserve
          10                 Plaintiff has not offered any factual support at least none which has been pled or any

          11    pertinent legal support for its position that Defendant intentionally discriminated against him The

    z     12    Court should therefore sustain Defendant s Demurrer for the reasons stated therein
    aw


          13                 C
 oWz                                         The Webpage Defendant Included With Its Request For Judicial Notice Is
    Z
                                             Admissible Under The Incorporation By Reference Doctrine
r         14
 ZY C
          l 5                Plaintiff incorrectly argues that the Court must reject Defendant s Request for Judicial

          16    Notice Defendant submits that the Court may accept its Request for Judicial Notice under

          17    California Evidence Code section 452 h because the fact that Defendant s webpage appeared in

          18    the manner stated is not reasonably subject to dispute and it is capable of accurate determination

          19    by simple reference to the webpage

          20
                             Although courts infrequently take judicial notice of the website of a private entity an
          21
                exception to that general rule applies here and warrants this Court granting Defendant s Request
          22
                for Judicial Notice as to the contents of the Defendant s webpage Under the incorporation by
          23                     doctrine
                reference
                                                     a court may take judicial notice of material which is included in referenced
          24
                i z or relied upon by the coniplaint matters in the public recard and facts not subject to
          25                           dispute
                reasonable
                                                     See Better Ho nes Realty Inc v Wcrtmore S D Cal Apr l 8 2017 2017
         26     WL 1400065                       2
                                            at       emphasis added
                                                                       A document not attached to a complaint may be
         27     considered on a motion to dismiss if the plaintiff refers extensively to the document or the
           g
                                                                                6

                                                                           DEFLNDANI S REPLY IN SUPPORT OF IT S DLMURRE R I O COMPL 4INT
                                                                                                                  CASL NO   CIVDS1939370

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            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 31 of 168 Page ID #:34




              1   document forms the basis            of   the plaintiffs claim        United States v Ritchie        9th Cir 2003        342


              2   F 3d 903 908          Specifically courts may take into account documents whose contents are alleged

              3   in a complaint and whose authenticity no party questions but which are not physically attached to

              4   the   plaintiffs                    Davis     v   HSBC Bank Nev         NA       9th Cir 2012     691 F 3d 1152         1160
                                       pleading

              5             The incorporation by reference doctrine applies to Defendant s webpage because

              6   Plaintiff s Complaint extensively refers to Defendant s website and the website forms the basis

              7   for Plaintiffls claim Plaintiffrefers to Defendant s website repeatedly throughout his Complaint
              8   including in paragraphs 4 7 9 15 20 23 and 24 Further the focus of Plaintiffs Complaint and

              9   theory of liability articulated therein is that due to the design of Defendant s website the website
             10                           be                                                and consequently Plaintiff has been denied
                  allegedly    cannot          read   by screen reading        software



             11   equal access to the website in violation of the Unruh Act                     Also Plaintiff s Opposition does not

             12
    J
                  question the authenticity of the webpage included with Defendant s Request for Judicial Notice
F F




o       Z    13   Indeed such a challenge would be groundless
xZ

             14
                            In addition the three cases cited by Plaintiff in opposition to Defendant s Request for
ZY 4
             15
                  Judicial Notice are inapposite Ion Equipment Corp v Nelson 1980 110 Cal App 3d 868 881
             16   did not address a request for judicial notice Rather in the page of the opinion cited by Plaintiff

             17
                  the court stated that in the context of a demurrer the defense of collateral estoppel may be raised
             18          when      the plaintiff s complaint        discloses the      matter relied upon     to support the plea         Id    To
                  only

             19   the extent that opinion is relevant to the admissibility of the copy of Defendant s webpage
             20   provided via request for judicial notice here the opinion supports admission of the webpage

             21
                  Plaintiff s Complaint is replete with allegations concerning the content and operation of

            22    Defendant s website and consequently Plaintiff has disclosed the website to such an extent that it

            23    is properly subject to judicial notice

            24              Neither does Ragland               U S Bcr        National Assn
                                                           v             zk                      2012 209 Cal App 4th 182 193
            25    support Plaintiff s argument against Defendant s Request for Judicial Notice The portion of the

             26
                  opinion in Ragland cited by Plaintiffstands for the proposition that a court may not take judicial
            27    notice of the truth of the contents of a matter subject to judicial notice such as a website Clear

            28
                                                                                   7

                                                                              DFI FNDANI S R   PLl IN SUPPOItI OF Il S D   MURRER TO COMPLAINT

                                                                                                                           C AS   NO   CIVDS1939370

                  481 G 72S2 293   I
             Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 32 of 168 Page ID #:35




               1   from the opinion in Ragland however is the distinction between taking judicial notice of the

               2   existence or contents ofa matter such as a website and the truth ofthe contents The court


               3   declared               w hile we may take judicial notice of the existence of the audit report Web sites and
               4   blogs          we     may   not accept   their contents as true    Id at 193 see also Fremont Indem                Co v


               5   Fremont Gen                 Corp    2007   148 Cal     App    4th 97 113        Taking judicial notice of a document is
               6   not the same as accepting the truth of its contents or accepting a particular interpretation of its

               7   meaning

               8                    Ragland provides no support for Plaintiff s argument against Defendant s Request for


               9   Judicial Notice because Defendant s request did not ask the Court to take notice ofthe truth ofthe


              10
                   matters stated within Defendant s website Rather Defendant merely asks the Court to take
              11   notice of the contents of the website and the fact that the website contains an accessibility banner

     z        12   that instructs persons experiencing problems utilizing a screen reader with the website to call the
     aw
W F

o        Z    13   number provided Defendant did not request the Court accept the                               truth   of this statement
xz

c             14   Indeed it is not the truth or falsity of this statement that is relevant in the context of Defendant s
YZ
m

              15   demurrer Rather it is the fact that the website contains this statement that is relevant and which

              16   constitutes the reason Defendant requested judicial notice of its website

              17                    Further the foomote from People v Morales 2018 25 Ca1 App Sth 502 511 to which

              18
                   Plaintiff cites merely notes that courts may take judicial notice of legislative history materials and
              19
                   other information published on a government website Morales says nothing about admissibility
             20    of the material for which Defendant seeks judicial notice

             21
                                    Defendant therefore submits that this Court may either accept Defendant s Rec uest for
             22
                   Judicial Notice as to its webpage under California Evidence Code section 452 h or according to
             23    the doctrine of incorporation by reference
             24                    D           Plaintiff Did Not Plead And Could Not Prove An ADA Violation

             25                    In his Opposition Plaintiff appears to argue that mere allusion to the ADA is sufficient to

             26
                   carry the burden             of   establishing   an   ADA   violation   It is   not   While it is true that   a ny violation

             27            the ADA necessarily constitutes a violation of the Unruh Act
                   of
                                                                                                               Op at p 15 quoting Mol ski
             28
                                                                                      8

                                                                                 DFPENDANT S R     PLl IN SUI PORT OF IT S DL MURR   R l O C OMPLAINT

                                                                                                                              CASE NO   CIVDSI939 i   11

                   4   I   6   7352 29   21
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 33 of 168 Page ID #:36




              1   MJ Cable Inc              9th Cir 2007         481 F 3d 724     731     Plaintiffhas not even alleged an ADA


              2   violation The one count Complaint alleges only a violation of the Unruh Act

              3            This is a clear attempt by Plaintiff to enjoy the benefits of federal law while skirting

              4   federal jurisdiction Such gamesmanship                  should not be      tolerated     A   plaintiffmay not          avoid



              5   federal jurisdiction simply by omitting from the complaint federal law essential to his claim or by
              6   casting in       state   law terms   a   claim   that can be   made
                                                                                         only   under   federal law     Olgi in v b spiration


              7   Coi2sol Copper Co             1984       740 F 2d 1468      1472      Should Plaintiffcontinue to claim an ADA


              8   violation or amend the Complaint to allege an ADA violation Defendant will seek removal


              9    Jurisdiction is determined              on   the basis of the wellpleaded complaint             Id    A complaint that is

             10    artfully pleaded to avoid federal jurisdiction may be recharacterized as one arising under federal

             11   law    Id


    z        12            Regardless ofwhether an ADA violation has been pled                           as stated in the Demurrer
        w
    zw
        Z    13   Plaintiff could not carry his burden to prove it because Defendant has taken steps to make its
o
x


             14   website accessible to blind or otherwise visually impaired website users through the accessibility
Y




             15   banner   of which         Defendant      requested   the Court take judicial notice          If you are using a screen

             16   reader and are having problems using this website please call 1 888 324 6356 for assistance in

             17   English     or   1 866 322 9099 for           assistance   in Spanish      See Nondiscrimi crtioi on the Basis of

             18   Disabzlity Accessibility         of Web Is2formation           and   Services of State   crnd   Local Gove        nent Ei tities


             19         PT blic Accommodations 75 FR 43460 01
                  and
                                                                                   July 26      2010      covered entities with



            20    inaccessible websites may comply with the ADA s requirement for access by providing an

            21    accessible alternative such as a staffed telephone line for individuals to access tlle information

            22    goods and services oftheir Web site


            23
                           Because Plaintiffhas failed to properly allege an ADA claim and even if he had
            24    Defendant has shown its website is facially compliant with the ADA the Complaint should be

            25    dismissed with prejudice for the reasons discussed in more detail in Defendant s Demurrer

            26


            27


              g
                                                                                   9

                                                                              DEFLNDANT S R1 PLl iN SUPPORT 01      Il S DI   MURRfR TO COMPLAINT

                                                                                                                               151 NO   CIVDS1939370

                  dS16 7252 29      1
             Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 34 of 168 Page ID #:37




               1   IIL        CONCLUSION


               2              For the foregoing reasons Defendant Genesco Inc respectfully requests that the Court
               3   sustain Defendant s Demurrer and dismiss PlaintiffLuis Licea s Complaint with prejudice and


               4   without leave to amend


               5
                     Dated        July   31   2020                        Respectfully submitted
               6


                                                                          BAKER        HOSTETLER LLP

               8


               9


              10

                                                                          By
              11                                                                 Carter L Norfleet      318152
                                                                                 Email      cnorfleet@bakerlaw com

              1
     s                                                                    Attorneys for Defendant
         Z
              13                                                          GENESCO INC
0

xz
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                                                                DIJ I ND 4N I S R1 PLl IN SUPPORT OP IT S DLMURRFR TO   0 4PI AINT
                                                                                                          CASE NO   C1VDS1939370

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            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 35 of 168 Page ID #:38




                 1                                                     PROOF OF SERVICE


                 2
                                 I am employed in Los Angeles County California                I am over the age of eighteen years
                 3   and not a party to the within entitled action My business address is 11601 Wilshire Boulevard
                     Suite 1400 Los Angeles CA 90025 0509                     On July 31 2020 I served a copy of the within
                 4   document s


                 5                DEFENDANT S REPLY IN SUPPORT OF IT S DEMURRER TO COMPLAINT

                 6
                                                      by placing the document s listed above in a sealed envelope with postage
                                                      thereon fizlly prepaid in the United States mail at Los Angeles California
                                                      addressed as set forth below

                 g
                                                      by placing the document s listed above in a sealed envelope and affixing
                                                      a pre paid air bill and causing the envelope to be delivered to a
                 9
                                                      FEDERAL EXPRESS agent for delivery
             10
                                                      by personally delivering the document s listed above to the person s at
                                                      the address es   set forth below
             11

j
                                                      by causing to be personally delivered the document s listed above to the
             12
    a   W
                                                      person s   at the address es   set forth below
        w
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o                                                     by transmitting via electronic mail the document s listed above to the
    c
                                                      e mail address es set forth below on this date before 5 00 p m and the
w            14                                       transmission was reported as complete and without error
zd


             15


             16
                       Scott J Ferrell Es q                                          Attorneys for Plc intiff
                       PACIFIC TRIAL ATTORNEYS APC                                   LUIS LICEA
             1        4100 Newport Place Drive Suite 800
                      Newport Beach CA 92660
             1g       Tel        949 706 6464
                       Fax       949       706 6469
             19
                      Email       sferrell@pacifictrialattorneys com

             20
                                 I am readily familiar with the firm s practice of collection and processing correspondence
             21      for mailing Under that practice it would be deposited with the U S Postal Service on that same
                     day with postage thereon fully prepaid in the ordinary course of business I am aware that on
             22      motion of the party served service is presumed invalid if postal cancellation date or postage
                     meter date is more than one day after date of deposit for mailing in affidavit
             23

                                 I declare under penalty of perjury under the laws of the State of California that the above
             24
                     is true and correct

             25
                                 Executed on July 3l 20200 at Los Angeles California
             26

                                                                                 y                       l
             27

                                                                                         Denise Walker
             28


                                                                                                                         PaooE or sFRvicF

                                                                                                                  cnsf   No   civns i   c

                     asi     s         i
                       Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 36 of 168 Page ID #:39




 1                     Scott J Ferrell Bar No 202091
                       sferrell@pacifictrialattorneys com

 2                     PACIFIC TRIAL ATTORNEYS APC                                                F
                       4l 00 Newport Place Drive Suite 800                             S COUNTY
                                                                                          F ERIOR COU42T
                                                                                                   F SAN OF RlvjI F
                                                                                                         a
                                                                                                                    tV q
 3                     Newport Beach California 92660                                                            DINO
                       Telephone   949    706 6464
                                                                                            SAN BERN 1Rp yO DISTRfCT
 4                     Facsimile   949    706 6469                                               u    j7 Z
 5                     Attorneys for Plaintiff
              i                                                                       Bp          i

 6                 I
                                                                                                                Cpp Y

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 8        I                              SUPERIOR COURT FOR THE STATE OF CALIFORNIA

 9        i                                            COUNTY OF SAN BERNARDINO

10


l l                    LUIS LICEA    an   individual                           Case No CIVDS1939376
                                                                               Judge Hon Wilfred J       Schneider Jr          I
12                                            Plaintiff                        Dept    S32

13                            v                                                PLAINTIFF S SECOND NOTICE OF
                                                                               SUPPLEMENTAL AUTHORITY RE
14                     GENESCO INC a Tennessee         corporation   and       DEFENDANT S DEMURRER TO
                       DOES 1 10 inclusive                                     COMPLAINT                                       j
15                                                                                                                             i
               I                              Defendants                       Date    August 7 2020
16        i
                                                                               Time    8 30 a m

17
          i                                                                    Dept        S32

          I                                                                    Action Filed      December 30 2019
          I
 g
                                                                               Trial Date        TBA

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                             PLAINTIFF S NOTICE OF SUPPLEMENTAL AUTHORITY ISO OPPOSITION TO DEMURRER

                                                                                                                                   J
          Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 37 of 168 Page ID #:40




 1               TO THE COURT AND ALL PARTIES IN THIS ACTION

 2               Plaintiff Luis Licea            Plaintiff     hereby submits this Second Notice of Supplemental Authority
 3        in regards to Defendant Genesco Inc                s Demurrer to the Complaint which is scheduled to be heard on

 4
          August 7 2020 at 10 00 a m in Department S32 of this Court in order to bring to the Court s attention
                                                                                                                                                 i

 5
          a recent decision in a very similar action filed in the California Superior Court in Los Angeles County
 6
          by Plaintiff Licea alleging an Unruh Act cause of action based on an allegedly inaccessible website
 7        whereby the court overruled a demurrer to the complaint                         See Licea v Creative Work Media Inc No

 g        19STCV45182               Cal Super   Ct   July    16 2020        Attached hereto      as   Exhibit       1    is a true and correct

 9
          copy of the tentative ruling in Licea which became the final order on July 6 2020 after oral argument
10        was conducted on such            demurrer   on    that   date   Such recent decision was issued after Plaintiff filed her
                                                                                                                                                 I
11        response   to Defendant s Demurrer on June 10 2020


12
                 In addition the Court should consider a recent decision issued in Thorne v Boston Mar ket Corp
13        2020 WL 3504178             at   7   S D N Y June 29 2020                  a number of courts in this district have held that


14 I private commercial websites that affect commerce are place s of public accommodation under the
                                                                                                                                                     I
15        ADA        id         8     In Del Orden          Bonobos       Inc       2017 WL 6547902      S D N Y Dec           20 2017
                           at                          v                                                                                   for

16
          instance Judge Engelmayer concluded that a website was a place of public accommodation because

17
           interpretive tools strongly support construing the term public accommodation to apply to commercial
1 g
          marketplaces including on the Internet whether or not these marketplaces take a conventional physical

l9        form       id at 8 citing Dominguez v Banana Republic LLC 2020 WL 1950496 at 7 S D N Y Apr
20 i      23 2020
                           coupled with the word of the phrase place of public accommodation most logically reads
21
          as referring to a space figurative or not that can provide the services of a public accommodation
22                              the Court should consider
                 Finally                                            pominguez         v   Taco Bell
                                                                                                      Corp      F       Supp   3d   2020 WL

23        3263258     at    5   S DN Y June 17 2020
                                                                     Some courts have found websites that offer goods for sale
24
          to be a place of public accommodation These decisions state that a place of public accommodation need
25
          not be a physical space as long as it is a place where goods and services are provided
      I
26
                                                                                                                                                 I
27


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                                                                                2
                     PLAINTIFF S NOTICE OF SUPPLEIVIENTAL AUTHORITY ISO OPPOSITION TO DEMURRER
             Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 38 of 168 Page ID #:41


     I
             Dated   July   16 2020                PACIFIC TRIAL ATTORNEYS P C
 1   I
 2
                                                   By
 3                                                      Scott J F   ell


                                                        Attorneys for Plaintiff
 4                                                                                             I
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                     PLAINTIFF S NOTICE OF SUPPLEMENTAL AUTHORITY ISO
                                                                      OPPOSITION TO DEMURRER
              Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 39 of 168 Page ID #:42
7 96 2020                                                     www lacourt   org tentativeRulingNeVui ResultPopu   c




  DEPARTMENT 74 LAW AND MOTION RULINGS


  Counsel may submit on the tentative ruling by emailing Dept 74 before 8 30 the morning of the hearing The email
  address is smcdept74@lacourt org Please do not call the court to submit on the tentative

  IF THE DEPARTMENT DOES NOT RECEIVE AN EMAIL INDICATING THE PARTIES ARE
  SUBMITTING ON THE TENTATIVE RULING AND THERE ARE NO APPEARANCES AT THE
  HEARING THE MOTION WILL BE PLACED OFF CALENDAR


  If you decide not to submit on the tentative ruling REMOTE APPEARANCES ARE AUTHORIZED
  AND STRONGLY ENCOURAGED Please visit the court s Here for You Safe for You News Center for
  the latest orders governing court             business      1 ttp   w     c
                                                                                lacc crrt o rg ne smedia uiiI ifySfy as x

  A NOTE ABOUT COURT REPORTERS Government Code 69959 prohibits remote court reporting If you plan to
  hire a court reporter for your hearing the reporter must be present in the courtroom


  In deciding whether to submit on the tentative ruling or attend the hearing and present oral argument please
  keep the following in mind The tentative rulings authored by this court reflect that the court has read and considered
  all pleadings and evidence timely submitted to the court in connection with the motion opposition and reply if any
  Because the pleadings were filed they are part of the public record Oral argument is not an opportunity to simply
  repeat that which a party set forth in its pleadings Nor is oral argument an opportunity to make a record when there is
  no court reporter present and the statements and arguments of counsel are already part of the record because they
  were set forth in the pleadings Finally simply because a party or attorney disagrees with the court s analysis and ruling
  or is not satisfied with it does not necessarily warrant oral argument when no new arguments will be articulated If you
  submit on the tentative you must immediately notify all other parties email that you will not appear at the hearing If you
  submit on the tentative and elect not to appear at the hearing the opposing party may nevertheless appear at the
  hearing and argue the motions If all parties to the motion submit this tentative ruling will become the final ruling after
  the hearing date and it will be memorialized in a minute order This tentative ruling is not an invitation nor an
  opportunity to file further documents relative to the hearing in question No such document will be considered by the
  Court




  Case Number              l9STCV45182           Hearing      Date    July      16 2020      Dept 74


  19STCV45182                      LUIS LICEA vs CREATIVE WORK MEDIA INC
  Creative Work Media s Demurrer

 TENTATIVE RULING
                                            The demurrer is OVERRULED Defendant shall file an answer within 10 days
 Moving party to give notice

             The court takes judicial notice of the Statement ofIntere5t ofthe United States ofAmerica in National
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          the Deaf
              Code
                   v Netflix Inc Case No 3 11 cv 30168 MAP Dkt 45 at pg 6 n 4 D Mass May 15
                                 452 CRC rules 3 1306 c and 3 1113 1

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                The complaint sufficiently alleges facts to give rise to a cause of action for the violation of Civ Code
      51 In his complaint Plaintiff noted that he and members of society like himself were impeded from
  enjoying the benefits              of   the website and making purchases           Complaint       19    Mareover Plaintiffattempted to
             the website on several occasions which resulted in the                 barriers
  access
                                                                  following                   1 Empty links that
                                                                                                     access


  contain no text causing the function or purpose of the link to not be presented to the user This can introduce
  confusion for keyboard and screen reader users
                                                   2 Empty or missing form labels which presents a problem
  because if a form control does not have a properly associated text label the function or purpose of that form
  control may not be presented to screen reader users Form labels provide visible descriptions and larger
  clickable targets for form controls and 3 Empty buttons which means that a button is empty or has no value
  text When navigating to a button descriptive text must be presented to screen reader users to indicate the
  function       of   the   button        Complaint    18

                The complaint in this case is similar to the complaint in Thurston v C1earPath Lending Inc There
  the court determined plaintiff plead sufficient facts to establish a plausible claim because plaintiff noted that
      1   denying      visually impaired        customers    the services provided
                                                                                          by the   website       2 constructing and
  maintaining a website that is inaccessible to Plaintiff and by failing to take adequate actions to correct these
  barriers and 3 because Defendant s conduct likewise constitutes a violation of various provisions of the
  ADA           Complaint
                                 29 31 Plaintiff also alleges that it is Defendant s policy and practice to deny blind
  users
        including Plaintiff equal enjoyment of and access to the website Complaint at 22 Thurston                                     v
  C1earPath Lending Inc    C D Cal Jan 28 20l 9 No SACV 182094JVSJDEX 2019 WL 366405 at 3
  Such is the case here An inaccessible website is a violation of the ADA and a violation of the ADA
  constitutes a violation of              Civ Code      51




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 1                                                                    PROOF OF SERVICE
                                                 STATE OF CALIFORNIA COUNTY OF ORANGE
 2           I
                             I am employed in the County of Orange State of California I am over the age of 18 and not a
 3
                     party to the within action my business address is 4100 Newport Place Drive Suite 800 Newport Beach
                     CA 92660
 4

                               On July 17 2020 I served the faregoing document described as PLAINTIFF S SECOND
 5                   NOTICE          OF   SUPPLEMENTAL                AUTHORITY            RE      DEFENDANT S            DEMURRER              TO
                     COMPLAINT on the following person s in the manner indicated
 6

             I                                                SEE ATTACHED SERVICE LIST

                               BY MAIL           I   am   familiar   with   the practice of     Pacific Trial Attorneys for collection and                 I
 8                   processing      of correspondence      for             with   the United States Postal   Service Correspondence so
                                                                  mailing

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                     collected and processed is deposited with the United States Postal Service that same day in the ordinary
                     course of business On this date a copy of said document was placed in a sealed envelope with postage
10
                     fully prepaid addressed as set forth herein and such envelope was placed for collection and mailing at
                     Pacific Trial Attorneys Newport Beach California following ordinary business practices
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11                             BY FEDERAL EXPRESS OVERNIGHT                               I am familiar with the practice of Pacific Trial
                     Attorneys for collection and processing of correspondence far delivery by overnight courier
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                     Correspondence so collected and processed is deposited in a box or other facility regularly maintained
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                     by Federal Express that same day in the ordinary course of business On this date a copy of said
                     document       was placed   in   a sealed envelope      designated         Federal Express
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                     provided for addressed as set forth herein and such envelope was placed for delivery by Federal Express
                       Pacific Trial Attorneys
                     at                               Newport Beach California            following   ardinary business   practices
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17                             BY ELECTRONIC TRANSMISSION                          I served electronically from the     electronic notification
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                     declaration to the person and at the electronic notification address set forth herein
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20                            I declare under penalty ofperjury under the laws of the State of California that the faregoing is
                     tnte and correct and that this declaration was executed on July 17 2020 at Newport Beach California
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                                                            SERVICE LIST


 2                   Carter L Narfleet                              Attorneys for Defendant
                 I                        Esq
                     Joel C Griswold                                Genesco Inc
 3                                       Esq
                     BAKER      HOSTETLER LLP

 4                   11601 Wilshire Boulevard Suite 1400
                     Los Angeles CA 90025 0509                                                I
 5                   cnorfleet a bakerlaw com
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          I
 1        I S ott J Ferrell Bar No 202091
     li                   sferrell@pacifictrialattorneys com

 2    I PACIFIC TRIAL ATTORNEYS APC
                                                                                           SUPERIQR COURT OF GAllFORNIA
     j 4100 Newport Place Drive SUlte g0                                                    COUNTY OF SAN BERNARDINO              i

 3                        Newport Beach California 92660                                     sAN    zNARDit t t isz ieT
                          Telephone    949    706 6464
 4                        Facsimile    949    706 6469
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 5                        Attorneys for Plaintiff                                                    y
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              j                              SUPERIOR COURT FOR THE STATE OF CALIFORNIA

                                                           COUNTY OF SAN BERNARDINO                                                   I
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11                        LUIS LICEA     an   individual                      Case No CNDS1939376
                                                                              Judge Hon Wilfred J Schneider Jr
12                                                  Plaintiff                 Dept   S32


13                               v                                            PLAINTIFF S NOTICE OF
                                                                              SUPPLEMENTAL AUTHORITY RE                               i

14                        GENESCO INC         a Tennessee corporation   and   DEFENDANT S DEMURRER TO
                          DOES 1     10 inclusive                             COMPLAINT
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                                                    Defendants                Date   June 23 2020
16                                                                            Time   8 30 a m
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                                PLAINTIFF S NOTICE OF SUPPLEMENTAL AUTHORITY ISO OPPOSITION TO DEMURRER
                                 Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 44 of 168 Page ID #:47




 1                                         TO THE COURT AND ALL PARTIES IN THIS ACTION                                                                                         I

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                                           PlaintiffLuis Licea              Plaintiff hereby submits this Notice of Supplemental Authority in regards
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3                            to Defendant Genesco Inc s Demurrer to the Complaint which is scheduled to be heard on June 23

                                                                                                                                      to the Court s attention a recently      i
4                            2020       at     8 30   a m   in Department S32        of   this Court      in   arder     to   bring

5 I published California Court ofAppeal decision entitled Martinez v Safz Diego County Credit Union Nos
                                                                                                                                                                  June 19
                                                                                                                                                                                   il
 6                           D075360                  D076055         Cal    App   Sth         Cal   Rptr      3d    2020 WL 3396649             Cal Ct   App                      I

 7                           2020          a    true and    correct           of which    is   attached   hereto    as   Exhibit       1   which reversed the Superior
                                                                      copy


 8                           Court         s   judgment     entered as a matter of        law    against    the plaintiff a blind individual          who   had   sued   the
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 9                           owner and operator of a commercial website regarding communication barriers on its website under the

10                           Unruh Act Without considering the separate and distinct intentional discrimination theory of liability                                                     i
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11                           under the           Unruh Act the Fourth Appellate District Division One held that the                             plaintiff s allegations
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12                           his complaint sufficiently pled an actionable violation under Title III of the ADA Martinez supra slip
13
                                 op   at   19 38       In support the Court of Appeal cited with approval the reasoning in Thurston v Midvale

14
                                 Corp          39 Cal   App     Sth 634       642 44     2019        see Martinez supra slip op at 21 including its broad

15 j interpretation of the nexus test Martinez supra slip op at 23 citing Thurston 39 Cal App Sth at
16                               644 46


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1g                               Dated         June 22 2020                                      PACIFIC TRIAL ATTORNEYS P C


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                                                                                                       Scott J F          ell
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     1                                                                                                 Attorneys for Plaintiff

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    excluti         any        rei erei c           to thc Aciessi iility Guidelines and after lengtlly arguments the

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Code Enfor cing Comr te czal Weh Accessil ilzry Witlzout Regulatioras Under Title III of

the    Arner icans        lvith        Dirabiliti     s     et 20 18         59 B C L Rev 1121                           see also Alissa Carter


     ersott        Ne    w       r a   c7f   cce ssibility          t ebsitc Co rcpliarcc c                   vith the Arraerican s 1 vitlt


Z isahilities            et       019        32 UC BA Brief 14 Abrar cYi Ditlg3e Fy r tn Mac ness to Metl c cl


Idzc An          t ic rrras witli I7iscxbzlities Act                 leets the Inter et                 2Ut 9         44 Harv C R C L L Rev


133




              Dlxriclg tlle current pandem c the Internet and websites have beconle even more
ca7tical but we cansider the issues l e fore us based on circumst nces at the ti ne they
arose in 2           17


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           Z e regul tory ag ncy ch rged with impleznenting the AD11 the Department of

JusYice        I C J            has p eviousiy                        endorsec            t je    pplicability              of   Title II I to        Web         sites   f


public         ccc     nrnodatic ns                            but has         nc    t pro       ided      5pecif     ic    regulatc
                                                                                                                                        7ry   guician         e     Rohlcs v


Z    e mir c   s    C iz    u        II C           9t1     C i           019         9l3 F 3c 8                     03      U6 y07            l J   I   c   lles    I e c ti


1 S      1 FZa                              Inc             E D           I Y      201
                     ers cr Yn
                                                                                             327 F Supp id 539 549 5 0 C t c cki

                   Lol     by        StorE s Inc                  C D t                   June 15          20I7 Nc            GV 17 1131 JF V SKX                           2017
v
     Hohby                                                                       al




WL        957736                at              4       i
                                     pp


                nd the courts IZave reached dif E re t cnr clusio s an the issue whether a website


is   a   ublic       aecorizinodatic n                           The f           cieral courts            11a   re   eapressed         i    o main views             Tlie


differe    nt vicws ste m
                                                riniarily fron                     t17e extent to               t ich the iourt adheres to the express


statutc r          language               or tivl e
                                                                e i it finds legi ative history and intent to be aran ou t

considerations




           One        vier            t    e rninorit                 vi    ti       is   tl at v cbsite             are     public        acco nmc7da            ions    within




                                 tllc ADa
the n eanui             of
                                                            T17is a p uach lias been zdopted by c urts in the First Secon

         Seventh Circuits                            Ncatio               l 3ss                       D
and                                                                  zr             ya
                                                                                          f Zhe             f v Ilay vc d Llrziveaszty D Mass 2019




           In        010         t ie     DfJJ issued                                dval             I lo ice            Ploposed
                                                                          an                 ce                      of
                                                                                                                                           Kuletnaking              on web
                        to c1
acce 5il       ility                  rifY              rivatc entities                    obligatic ns tc i                ake       vebsites accessible
 Rc7bles        s          cz    913 F 3d                 at    p 9Q3              and the DOJ has also fited statements of int rest and
arziicus       briefs in I itle III                                                 rting    A DA                                                    Uorechi su r a
                                                          cases su             p                            vebsite applica
                                                                                                                                           ility
2017        IL 2 5773Fi                    at       p       4     see      C iZ    v      Y inn Dixie St             at e4   Ir   c    S D Fla 2017 242
F    Supp      3d 13 S                1316 1317                      Gil           But the DOJ has nc t issued specific regul ations and
it    2417                                its                                                          IZc f le s
                                                                                                                             p 910
                withdre                         propc sed                 website ule                                  at
                                                                                                                                            In explaining the
witht r w a1           the D               J    statec          it        coxitint e s           to assess wllether s ecific technical stand rds

ai c nece ssai y and app opriate ta assist cove ed entities with co ilplying with the ADA
 ld at        9j

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377 F St pp 3d 49 57 59                                      tHa l arc              C il    sr     r cz        2 2 F        Sup     3d at pp 1318 1319 see

C   crr       a   ls    l istr l             C tr    v    Autc         rrtotive     Whc le sr le               s    4ss    n     lst Cir   199           37 F 3d 12 19 20


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    o         7t1 Cir l 999 179 F 3d 557 559 Acc ss l iving f 1 letro olit zn C hicugo v LTbeY

Tec           t olo        i   s    It   c     N D III 201                      3S1 F Supp3cl 1141                             1155 ll56        Palloz i 1 Allstate


Lifc Isas C                         2uc Cir          1        t        198 1 3d 2            32 Andt e ws v Blick Ar t IYlatet ials                                LLC


 E D              1 Y 2017                268 F          Supp           d 3     l     390 393             fl rdre vs
                                                                                                                                  N tic nrzl Fedes atiora af tlac

Blind                  Sc iUd Il2c              D            t 2015 97 F Supp 3d S6S 567 57Ci Scribc

                  Courts            adc       ting       this     view       have     relied       on       tl     e      service   establis Yn en            s    category af


the statutory definition                                 and       particularly the fact that                              travel service        is coiitained u the


illustrative list                    of      these ustablishinents                           121          1 7        F      se    fn 3     ante
                                                                                                                                                     suggesting that

t ongress musc hav e contemplated a pubiic accofrunodation would uiclude providers of


seivices vl ich dc not rec uire a person to phys cally enter aa actual pliysical structure

    C    c rprerts             supr a        37 F 3d          at
                                                                   p       19   see    Serihc             sz       t cz   97 F    Supp     3d   at
                                                                                                                                                     p    572      The


        crr   a   ts    ce urt obsefved                           i t wc uld be it7 atic nal to conclude that pe sons who enter an


of fice tc purcl ase services are prc te teti                                                y thc AI A t ut persc rts wha purcl ase ti e s ir e

se       vices         o       er   the teie        hc       e or       bv    rnail   are     no                   ongress cc uld nat llave intended such an


abs trd rest                   lt        Ca         rrt s         at   p   19    see       3rtc   relv s           su n a      268 F     Supp    3d      at       396 Scrihd


at pp 572 573

                  T71ese cc urts have also emphasized the uritical nature of websites far transactin


business in one s daily Iife and that C arlgress rnade clear its intention that the ADA adapt

to cl a ge s                   in   tecl nolo            y         See a        tdrevvs      supru              268 1          Supp   3d atp 3y5                  DA   s   b raad

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Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 61 of 168 Page ID #:64




                    p
                                  its
ni4 ndate                   and
                                               c n rehensi e character are resilient enough to keep pace with tl e

fact that t11e vi tual c e Iity i f the I n err et is a1lt ost as important now as physical reality

alone s         as ti        hen the           statute wa4 si                ned    intt la       r

                                                                                                          l Sc rihd szc s a 97 F Su p 3d at p 575

     xc    udin             ciisat      led     per sons        frc    n     access     tv   cc vercd               cntities           that use       ebsites   as their


principal           means al
                                               eaching the             public       vor     lci defe t the                   u aose c l this important civil


            lcgislati                          Netflix                          69 F                  2d
                                       J                                               Supp                     p 20 7                 ln a s ciety ui wilich
ribhts                            n                           su       rx                                  at




busiz ess is incre sin ly c nducted c nline excludil g businesses that sell 4ervices throu l

the   Inte rnet frc                a   the 1 D 1              vc7uld ru1          afoul c    f the              ur   c       rs    c   ftlie ADI       in t1 at it we uld


    reve    i       intii idua             s    witl        disabilities           fram ft lly ei joy ing t13e gvods services

privileges ai d advantages a arlable intiiscriininately to other members of the general

p   iblic               17 1 Or d          n     v    13onobos Itac                 S DN Y                 Dec 20 2017 N o                        17 CIV 2744


PAE             2017              TL 6547902                  at            9     Cc ngress           s     ur aoses              in   adaptir     theADA would be


fnistrateci             u ere     the tLrm             pu      lic   acca         n o   atiora            give n a narro                  a plicat nn ud der which


access          c   the v4 st              rc rtci c3f       I Ztert    et      cc m nerce vV ou                    f a11 c cctside the statute s


     otectic n                sce alsa               III               No        101 48       1I                     lt            19        reprinted in 199t
p                                                             Zep                                          at
                                                                                                                p


U S C C i N                   at
                                       p        303 3y l             T e E or           nitt e inte nas t at thL typc s of accc rnniodatic a

and s       rvices           provide                 ta i ciivid z ls wi h disa biliti s l der all af tl e itle of this bill

s1lc ulci   kee               ace              ith   tl e                            iilg    technolo                        f the ti
                                                            rapidly         clian                                    y   c                nes     j

            The             second         vi
                                                     r the r ajority view is that vebsites are not p blic

accornn ociations                          u dcr the AI A l czt a denial of e ual acc ss to a website can support

ar   AD             claiz         if the cienial has pre rented ar impedcd a disaUled pl intiff from equal

            to
access                  c     xajoytncnt c f the goods and sct ices offered at the defet dant s physical

                                                                                             16
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facilities                            Thi4       view       has be              Y
                                                                                            cic pt d by o ur s in the I7 ird Si th Ninth and Eleventh

Circuits                              Grl    supr a            24         F Sc                   p 3t1       at         131          se            c7hl   s   sir    ru       I3 F 3t z tpp 905


3       h              r   1     rikc        ir      v     I tts to                 a       l f m l It 1ed                 Clr       3rd Cir 199 1 15                        F 3      113 122


            t t6           u    itt         i lahor J            i        Bittrex Irac                            E 1D F       a     Jan 14 2020 No CV 19 3836                                       2020


WI                 l       C 1E             at                   uhc                e             f    ra    k    r    v    1etr      pr   lit      n     1 iJc In s C       o      6tlt Cir        1997
                                                 p


12l F 3c                         IOQ6 1Q10 1014                                 f arker                      C ccstillra         j Jca Ann Stoy es I I C N I                           Ohio 2018


286 F Su p 3d                                     70 876                  8 1           Ccdstillcr                    Hu    nes ti        Dt        kin I or        tdts     II C      Ilth C i          2018


741 Fed                          Appx 752 754                                   avta             s          Gorn        zv     Gener         crl    Nz ty ii iat a Ca               S D FIa 201


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Ltd                l l tl Cir 2002 294 F 3d 1279 12f 4 I286 j

                            k    e cc urts adoptii                            tl is narrt                        rer statut ry ciefinition af a niblic

accominociation                                      h vc reliLd on Con ress s e plicit listit g of the typ of placcs

cc nsictered                           to    be           ul   lic       acco nz                  odatic          ns        ancl ha e erriphasized tha t ssentially all of

thcse cat                             ories          iescribe                       hyszcal locatic n                                 121          1 7        A     L        see     arker supr a             121


F 3d                   t
                           pp 1010 1014                              T    c     e           su        ra         19        F 3d     at
                                                                                                                                          p 11 i              With respect to section



12181 7                           F     s    icle        atificatian c                  f        se         ice       establisl n ent s                   sucl      as a      travel       service         th    se




cc urt                     ha           t   ot       d   that uncier the statutc                                   ry   ct t       t1 uctac n canc ia               rzc sc   itu    cr scac   iis    a




statutory ter                               n tnust        be    ca           st        uec       iti the             context of          t e accc m              ai yiR           words      thus




                           In recentiy ap lyixlg this standard the Nintll Circuit adhered to its earlicr decision
f indin                     a publi                  accc m ir cx              ati oz             is    a physical                 builcli     i        absent      a      nexus           see Weyer v
 Tu           ratieth                       nt
                                                 uyy Fox Fil                  rz        Co p                  tt      Cir 20 0             198            3d 1104            1115      t      yer        but left

 op         n      tl e           issue          ti rhetlier         it   would                  be     rece           tive i o atlopti ig a                  broader        view          Roble s       sz     tc

 913 F 3c                         at    pp        90S          Qb               fn 6


                                                                                                                            I7
Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 63 of 168 Page ID #:66




supportiilg that                       a     travel se vice                            also         zdenti ies       a physical           place      Pczrkcr at p 101 4 see

T    eve           198 F 3c                at             1        14      c       c       v    Sc1   e   ifzg   floz e     h Co              3rd Cir 1998          145 F 3d C OL


6 3            14    i        r   d        see also                ti9agee             v       Cf   ca    Colr Re         eslz      ients     US     Izc     Sth C ir 2016


    33 F 3d 53                    534 535                      Hrar      rca   cl       sz rprrx          377 P     Sup        3ci at pp S9 t 0

                   But these               cc   urts also rec o                        ni e         that            ebsite can l e arnpartant to providing access

to a ciefeudant s put                               iic       accoinrnodatic ii                          physical        prerzuses           and   to a disabled       rs   n s




ability t 7 use and enjc y ser ices 7rc vided at thc e laces a d tl us to the extent i al ie s

c n   the           ebsite             ir 1 in        es           c n   the           lait3tiffs abilit r to G ccess sLtch benef its at a physical


prei      ises           tl e cl iim c                    n    k   e activna ale                    undcr a         exus       th    c   y    See        ohles si    j a 9l3 F 3d



at pp 904 90G CTiI supra 242 F Su p 3d at pp 132U 132I IVatiorical Federation ofthe

Blinc          v    Tr             t   Cc       r             N D CaI 200C                           4 i2 F      Supp      2d 946 95I 956                 Target     Gomez v
                              g


13crrz         c    Oli fsen 4                  n     Inc                      D                    Feb 2 Z017             1   c     1 16 CV         3f 01    2 17 WL


l 957182                 at   p         3            1ae ratzo ale un erlying tlXe adc ption of this nexus standard m rrc7rs

                     the public pc lici s
snany          of                                                        discussed                    y t1ie courts in adopting the brr ader view that all

t eF sites are dircctiy subject ta the AL7A e g that C o a ress w uld have intended this

re    t   lt   give           the               v    ii            impc rtance                   ofwebsitc            far      c otasutliers       tnc   businesses         See


7     r ret         at            955           cont          ary irlter               ret      tion      would          effec
                                                                                                                                    ivety     read       out ofthe ADA the


brc7 der pra i5ic ns enacted by Cc ngress

                   The 1 irst C                 Iil carnia              appell             te   decisic     n on      the AD              website coverage is5ue was


filed                         this appeal was pending                                               Iltu                  i1 Iic             Cot
               tivhile                                                                                      ston     v             vale
                                                                                                                                                     20 19 39 Cal App Stii

634            Thuf                             In        hu                           blu d
                         st ra                                      rtor       a                    woma            sued
                                                                                                                                   rest zl ant for disability

discrimination under tl e Unrul Civil Rights Act for maintainin g a website th at was
                                                                                                             1 t3
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ineoin       atll     le   with            her    screen re             iding       sc   ftware                  Id   at
                                                                                                                               p 63Fi fi38            I lie Thr rstofa cc ut t


zp     elci a sunx            arY           uci      rnei      t   in thL     pliintiffs               f4t    c r on       l   e    AI a      viatation ctaim based on



the tnajority nexi s tllei ry anci thus fc rrld it unneue s4iry ta reach whether it a r ed with

the n        re   e    panszve view                       th it al          u ebsitc s are                   l   blic    accor in          dations       under tlie ADA


Id     at    pp     642 i4h                     In aciop i z                th ne xus standard th co urt noted that neither tl e

Unit d State                 iu       reme           C   c urt no                alif arr ia Suprerne C ourt have ruled on the issue anc


                                                                                                        C alift rnia Court                         Appeat
in    tl e abscr ce of slcch cot trc                               ll   n    a    ti     a   ity   a                                         of
                                                                                                                                                             tnay     inak e an




iudependent detercnizYati                                n ot       federal law                         Ic at p E 40


                                                                                         I3 r nuly sis

             iVlartiilez ai gczes that tl is cc7 ir shaulcl adopt the br ader view that a website falls

withi        t        Alar s ciefi ztic n c f a public a cort m datio i as a mattec c f iaw a c tf ert efore


his    caniplaint            satisfics            tl L public accon anadation elcment of                                                his        IA   claim       Martincz



alternatively urges us ta reverse tlae judgnle at based on a fi ldir g tl at he has sufficiently

alleged facts to caine witllin the ne us tl eory




7                                                             ic                                                                             ith             in   c f a nexus a
             The Thutstr n                      court              elltificc       a third vi               w         1hat e         e1i u         a shc u

plaiatiff carinot                 recav er               for   Un       qual access                to a website                     citing the Tllird Circt it s
dEcisic      tl   i1 F       ar   d    sat      rc        1    5 F 3             C l         See Thur stc dz                   su    r   3 CaLAp r 5tl at p F40
Ha       ever         a close reaciin                         ofthe Forc d ecision and iate                                        authc ritl clai il ies that ti e Third
C ircuit f        alloti s the
                                  ajority ext                               s vie                See Malxonev supr a 2020 WL 2 2010 at
                  1 l irci Circ it lias held                                  tl e           U      a         lies      to services ancl p7 iti ileges of                lace
g
of public accarnmodation                                      as    l   n    as there is                s    me nexus between the services or
privilebe             c et    ieci     anc        ti e pl ysieal                  lace              as a            ubiic accommadation                              Valker v

Sar    r s        vste Hc usc                     Z LC E D I a                    Sept 18 2018 No CV 18 I93 j 2018 WL 4466U7Ei
at           2    McGcznrr                 lr
                                                Cineyrac            k LIS          Irc             rd        irt    2017             73 F 3ci 2I 3 229            Merakowitz
szc    ra     15       F 3            at    pp       120           l 22     see also          Ti rget              sitpr x          52 F Su sp 2d at p 954

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Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 65 of 168 Page ID #:68




               C    ec    it          nic n cc unters       tl at       ve s         o     lci   c etei     nit e a c         ebsite        i   tx t a          tt lic


accon          nc   dation             as a     natter af     law       and          reject      the    tacx is       t       oc   v   ar       zin        1 hurstc n was


v     on
             ly     deci ied                    d thus dete rmine Mt rtinez cat not state a cl ii r t t c er any factual

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 ircurr        st    ac       s        Creclit Unic       n a1t     1    ativ        ely    c a ateY lc s       t1   at                n   xus
                                                                                                                                                     theory is           plicab e




iVlartil       ez s      allegecl          f   cts c o not     brin          his c se vitllin that theo y

               VVe fi          st     1 irid   unmei     itoriou5 Gredit U nion s                           posilion          th       we should reject the nexus




tlaeory           Ci ec it tlnic               n cites   na   e1e        ant          itharity         suppc          ti1 t        this pusitic                As discusseci


vii
      tually        al    c       f   thi c c z rts ado       tin       t    e   rajority              iec      that a vel site                 is    nc   ta     Sublic




iccominodation                           ul    der thc Al A             1a      e also re co            r   izeci A           A Tit e II1 liability can attac 1

if tl e plaintiff shows a ca nnection betweer the alJegeci dis bility discritnination on a

w     bsit        and tl e p laintiff s abiiity to access and or njoy tlie b nefits of the ntity s

 hysical 1 uatic


                VUrthivc st               su n a     2018 W                  9334 7 reliet upoT by the trial court and Credit

Unic       n    does          not S xppc rt         ti contra       y       n   le       I1 distnissin                tl e visually im aired plaintiff s

claim against a credit uniozz for ADA c vebsite deficie ncres the Northwest court did not


ciiscuss c r evet n1e tic n the nLxus star c ard ancl instead relie d on                                                                        nother district court


decisian            holding              th t a eha rc o            v        s nc     t a         place of            irblic        accornmodation                       because ii


was not a physical                         spa ce        Id   at             2 citing l T              ali   v       10L 7 ime Tl arr z                    r   Inc       E D Va


20t            261 F           Supp       2d 532           Ho   v ver                 eeause          tllet e        as z o clain               inNoala tl atthe chat

roam       E   aci
                      any              extis tc a physical facility tlae Vocih court di d i ot reach the nexus issue

AccUrdingl                        neitlie         rnrth   vest r c r         Noali         provides useful                     uidance on the lexus issu




                                                                                                 20
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                 Ie              ins                     i h                  ftl                                                                       the is ue that the
                        agree           ead c                     each c              e cc7urts specif
                                                                                                                    ically      addressin




ilexus        test gavE rns        if       the AI7A               is    cons ra ecl         t     define       a publie             ccc xn         ac atio         to include


or   ly   a   physical        place                 Se        e          Rc bles       sa
                                                                                                  raa 91 3 F 3d at pp 904 906                             Tlaiaf stvra

sup   a          9 Cai      App 5th             at
                                                     pp 6                   44     Gi1      su         ra   242 E      Supp          3d   at
                                                                                                                                               pp       1320 1321             As


                   the Thur to                                          T
stated
              by                                court                            statute          pplies        to the aervices                f a place of public

accon modation                   not s          rvices         in       a place c      f   public           accolnicnc c atiou                 To lirnit the ADA                o


discri     ninati        n   i   the        pr n         ision      c   f   services        occ uc rin          on     the      reinises        i   f      l blic


acco nnicrdati n ti                 uld cc               ntradict           tl e plain       1an         lagu   of   the       statute                  Tlau stc ra      at


     f 42        quotiiig Rr lalc           s       at   p 905               lilic reov r a narrc we i construction would defeat the


purposes c            f the Ai                      I1    e   AD 4 is              renie dia l sta ute at d as si cb shoi Id be corisri ueci



broadly to inlplen ent its fui d n7er1tal purpose vf el rn inating discri niliation against

iudividual5             n   ith disabilities                        Thi      lstora
                                                                                        atpp            t542    Fi43       We would be underrnining this

pur aosc           ifwe we e to c z clude that uz der na circun stanees can c iscriniinatioz7 on a


wet site be actianable regal dless t f the connectic n between th e discriminatian and the


place c f pub ic accc nrnodatic tl


              Thc       nexus     u1e           i    furthur            consister      t with the              AI3A     provisit n requiri
                                                                                                                                                               g    n e ntity to

 rc       icle     aL   xiliary    aids             nece
                                                                  sary      tc e      su    it1        eq     l access for disal led itldividuats

      21 2                        ii                 The iln            sle nenti      g     r         ula tic t1   reqL   i    es   tllata             iblic




c ccarrr         cfdation               t    ke      those st                s tl at mayr be f e e sary ta e7 ure tl at no individi al

with a disability is exeluded denieci serviees segregated c7r c th Nwise treated diffcrently

than ot       ller individual5 b                     cuuse              fl he    abse zce          e   f ruxilic rv        aids a acl se                ices       unless the


public acco ns c c ati n can dc rnt i tratU that taking tl os stips wou d fundar tentally Iter
                                                                                              3
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the natul e c fthe oc c 5 services facilities p ivile es ativantages c r accc rninodatic ns

l ein    c   f f er      ci c7r       vc i         id    resu    t    it       an        2   di   c   burc    en            i   e       5i        ificar t      ifficulty or expense

28 C I                       3   3      3      a         i    al cs            d d              I he reg          il        ion fu tl el c larifies t17 t a                    ublic


accon        rx     dation          n us                ficrniasl          e        Ye   p irxtc       cxrc xilzrr                     exids rznd sEYvices w ic re necessasy


to ensu e effec tive                       cotrin iuziccztic n tivith                             inditi irli czl s             ti z   ith   c   isc bili ies       2        C FR


  3E 303            c    1       it    Iics            acic ed             Un        crthis r           le             uxili            iy        ids   and sei    i    es    inelude


 accessible              electronic                    and     inf o       inatio t            technc        lc        y        ar      c     c ther e f ecti e n ethac s c i


7 akin
              visually c lic eret l natel i ls a ailal le tc in itii uals who are blind orllave I w

visiai                       C F 1                     3Cs 3     3     s            j         I e     e t iatioc7 ic e tif ies a                             scre en r ac er        as an


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Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 68 of 168 Page ID #:71




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allegations              that Domint s website                                          a   d    related                               e nitted the custon er to find the
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p 905                   I11e 7hur ton                                   found           the nex is test
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services              afferec              at   the        restaurant                     d    at     p 645                    The cour t further stated the ne us test


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was                                                                                                     necessarily



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 1
                                                STATE OF CALIFORNIA
                                                                     PROOF OF SERVICE
                                                                                      COUNTY OF ORANGE
                                                                                                                                                 I
 2                                                                                                                                               I
     j                         I am employed in the County of Orange State of California I am over the age of 18 and not a
 3                     party to the within action my business address is 4100 Newport Place Drive Suite 800 Newport Beach
                       CA 92660
 4

               j              On June 22 2020 I served the foregoing docuinent described as PLAINTIFF S NOTICE OF
 5
     i I following person s
                       SUPPLEMENTAL AUTHORITY RE

                                             in the manner indicated
                                                                        DEFENDANT S DEMURRER TO COMPLAINT on the


 6
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                                                            SEE ATTACHED SERVICE LIST
                                                                                                                                                 j
 7       Ii                                                                                                                                      I
                                 BY MAIL       I am familiar with the practice of Pacific Trial Attorneys for collection and
 8       i iI          processing     of conespondence  for mailing with the United States Postal Service    Correspondence so                   i

                       collected and processed   is deposited with the United States Postal Service that same day in the ordinary                i
 9                     course of business    On this date                                                                                        I
                                                            a   copy of said document was placed in        a sealed envelope    withpostage

         i fully prepaid addressed as set forth herein and such envelope was placed far collection and mailing at
10         Pacific Trial Attorneys Newport Beach California following ordinary business practices

ll                  BY FEDERAL EXPRESS OVERNIGHTj 1 am familiar with the practice of Pacific Trial
           Attorneys for collection and processing of correspondence for delivery by overnight courier
12         Correspondence so collected and processed is deposited in a boX or other facility regularly maintained                                I

           by Federal Express that same day in the ordinary course of business On this date a copy of said                                       I
13         document was placed in a sealed envelope designated by Federal Express with delivery fees paid or
         i provided for addressed as set forth herein and such envelope was placed for delivery by Federal Express                               I
14         at Pacific Trial Attorneys Newport Beach California following ordinary business practices

15             j                 BY HAND DELIVERY               I am familiar with the practice of Pacific Trial Attorneys for collection
                   I and processing of correspondence for hand delivery by courier I caused such document t be delivered
16
                       by hand to the addresse s designated

17                               BY ELECTRONIC TRANSMISSION                     I served electronically from the electronic notification
                       address   of    mjung@pacifictrialattorneys com         the   docutnent described     above   and   a    copy of this         i
18                     declaration to the   person   and at     the electronic notification address set forth herein           The electronic
                       transmission was reported as complete and         without     error

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                                                                                                                                                     I
                              I declare under penalty of perjury under the laws of the State of California that the foregoing is
                       true and correct and that this deelaration was executed on June 22 2020 at Newport Beach Cahfornia

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     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 85 of 168 Page ID #:88



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 1       I                                                   SERVICE LIST
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 2                   Carter L Norfleet                                Attorneys for Defendant
                                               Esq
                     Joel C Griswold           Esq                    Genesco Inc
 3
                     BAKER         HOSTETLER LLP
                     11601 Wilshire Boulevard Suite 1400
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                     Los Angeles CA 90025 0509
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SUPERIOR          COURT            COUNTY     OF        SAN   BERNARDINO
San    Bernardino             District              Civil

247    West      Third Street


San    Bernardino             CA    924150210



Office      Hours         8    a   m
                                            4 p m




TO



FROM        SAN    BERNARDINO              COUNTY        SUPERIOR        COURT       San   Bernardino   District      Civil




                                           NOTICE       OF    RETURN    OF     DOCUMENT      S




CASE    NLTMBER          CIVDS1939376

CASE       NAME          LICEA         V   GENESCO           INC




     COMMENTS


            Stip    to    continue            6    23    20    demurrer             6 30 20 TSC is returned by
            Court    for       the                                                 motion   date   unavailable   need
                                           following          reason     s

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Note            Please                 this       notice
                          keep                                 attached        when
                                                                                       resubmitting       Thank    You




06    17    20                                                               KIM    ALLAIN
                                                                   By

                                                                               Deputy Clerk




                                       NOTICE       RETURNING           DOCUMENT       S
              Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 87 of 168 Page ID #:90
Notice       NOR     has   been   pri     d   for   the   following   Atto       ys    Firms

or    Parties      for   Case   Number    CIVDS1939376     on   6   17   20




  PACIFIC       TRIAL    ATTORNEYS                              BAKER         HOSTETLER      LLP

     4100   NEWPORT      PLACE    DRIVE                         11601     WILSHIRE         BOULEVARD
     SUITE   800                                                SUITE     1400

  NEWPORT       BEACH      CA    92660                          LOS   ANGELES         CA    90025
                 Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 88 of 168 Page ID #:91




   NAMEAND AbDRESS OP ATTqRNEY OR PARTY WITHOUTATTORNEY                                                                  STATE BARNUMBER                                                Reserved for Clerk s File Siamp

   Scott J  Ferrell Esq
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   DEFENDANT GENESCO INC                                     et al
                                                                                                                                                                             CASENUMBER
                     INITIAL TRIAL SETTtNG CK NFERENCE STATEMENT                                                                                                             CIVd51939376




INSTRUCTtONS                       A t appiicabie boxes must be checked and the specified infarmation must be provsded                                                         This document must be filed and
served at Ieast 15 daVs prior to the trial settinq conference date
     1      Party or parties                       answer one
            a
                               This statement is submitted by party nameJ Plattltiff LuiS                                          tCea
            b                  This statement is submitted jointly by parties names


     2      3ervice            of   Gamplaint                   on alI   parties   has         has   not           been campleted



     3      Service            of   Cross Camptaint                       on aIl parties     has           has    not           been completed



     a          es    r pc an of               ase          n     com    ia nt     This complaint states causes of action under the Unruh Civil Rights Act
                                                                                   Cal     Civ Cflde sec 51

     5      Description af case in Cross Gomplaint




     6      Has      a   i   discavery besn compieted                              Yes          No           Date discovery snticipated to be compieted                      Novembe aozo

     7      Do   you agree                to   mediation                  Yes             No         Please      check   type   agreed    ta    Private                 Court sponsored                     X


     8      Related cases                      consolidation and caordination                          Please attach a Natice of Related Case


                     A       motior       ta                      consalidate             Triat dates      requested       Yes           Na                Available dates                                                                                Time
            estimate




     9      Other issues


                     The following additional matters are requested to be considered by the Court

     10     Meet and Confer


                     The parties reprssent that they have met and conferred an ail subjects required by Califomia Ru1es af Court Rule 3 724


                     The parties have entered into the following stipulation s

     11    Total number of pages attached if any

           I am completely familiar with this case and wi I be fully prepared to discuss the status of discovery and alkernative dispute resolution as well as
           other issues raised by this statement and will possess the autharity to enter inta stipulatians on these issues at the time of the Initial Trial Setting
           Conference including the writte                                      autharity af the party where required
            Date             6i 6no2o

            ScottJ Ferzell

                                    TYPE OR PRINT NAME                                                                                   SIGNATURE OF              ARTY QF2 ATTOF2NEY




                                    TYPE OR PRINT NAME                                                                                   SIGNATURE OF PARTY OR ATfdRNEY




          Foim        13 044Q1 360
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                        Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 89 of 168 Page ID #:92
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        1               Scott J Ferrell Bar No 202091
                        sfenell a7pacifictrialattorneys cam

        2               PACIFIC TRIAL ATTORNEYS APC                                                   su
                                                                                                               bR          p
                                                Drive Suite 844
                        4100 New    art Place
                                                                                                         RN   N7Y
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        3               Newport     each   California 926b                                                          No
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        8                                   SUPERI4R COURT OF THE STATE OF CALIFORNIA
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        9                                          FOR THE COUNTI OF SAN BERNARDINO

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    11                  LUIS LICEA     an   individual                                Case No CIVDS1939376


    12                                            Plainiiff                           PLAINTIFF S MEMORANDUM OF
                                                                                      POINTS AND AUTH4RITIES IN
    13                         v                                                      SUPPORT OF HIS RESPONSE IN
                                                                                      dPPOSIT   N T4 DEFENDANT S
    14              i   GENESCO INC         a   Tennessee     carporation   and       DEMURRER TO COMPLATNT
                        DOES 1 10 inclusive
    15
                    i                                                                 Evidentiary Objections filed concurrently
                                                  Defendants                          herewith
                                                                                                                                             i
    16 j
                                                                                      Date   June 23 2020
    17                                                                                Time 8 30 a m
                                                                                      Dept S32
    1                                                                                 3udge Hon Wilfred J Schneider Jr

    Ig                                                                                Action Filed       December 30 2019
                                                                                      Trial Date         TBA
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                                                PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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    19
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    2I

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        2                                                                                                                                                           i
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    Z7
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                                                                                                                        Community Ass                      17
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                              6       The Supreme Court           the U S   Recently Characterized   Cyberspace
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                              7       Both the California Court of Appeal and the Ninth Circuit Have Expressly
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    4
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23
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         Thor ne v Formula 1 Motorsports Inc
24                                                                                                                                       21
               2019 WL 6916098                   S D N l Dec           19 2019
                                                                                                                                                    i

25   I
         Thurston v Chino Comtnercial Bank N A
               2017 WL 3224681                   C D     Cal           27 2017                                                           21
26                                                             July

27       Thurston v ClearPath Lending Inc
               2019 WL 366405                 C D       Cal Jan       28 2019         Selna J                                            13
28
                                                                                                                                                     I



                                                 PLAINTIFF S OPPOSITIQN TO DEMURRER TO COMPLAINT
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  1
              I Weyer v Twentieth Century Fox Film Corp
              I       198 F 3d 1104             9th Cir 2000                                              20

 2            I
                  Young v Facebook Inc
                     790 F Supp 2d 1110                N D Cal 2011                                        14
 3                                                                                                                      i



 4                California Cases


 5                Auto Equity Sales Inc v Superior Court of Santa Clara County
                     57 Ca1 2d 450              1962                                                 13 18 19
 6

                  Bounds    v   SupeYior Ct                                                                             j
 7
                     229 Cal         App     4th 468    2014                                         13 20 24

 g
                  Carolyn v Orange Park Cornmunity Ass n
 9                   177 Cal App 4th 1090 2009                                                          17 18



                  Daniels v Select Portfolio Servicing Inc                                                              j
                     246 Cal App 4th 1150 2016                                                             11
11        I

                  Del E Webb Corp v Structural Materials Co
12
                      123 Cal        App     3d 593    1981                                                12
                                                                                                                    I


13        I
                  Doe   v   City    ofLos Angeles
                     42 Cal 4th 531             2007                                                      12
14


15                Ion Equip Corp v Nelson
                      110 Cal App 3d 868 1980                                                             22
16

                  Koebke v Bernardo Heights Country Club
17                   36 Cal 4th 824 31 CaI R Ptr 3d 565            115 P 3d 1212   2005                   14
                                                                                                                    I



1g
                  Martinez      v   California Pizza Kitchen Inc

                     30 Ca1         App   Sth   Supp   14   2018                                          21
19


20                Moore v Regents of Univ of Cal
                     51 Cal         3d 120      1990                                                      12
21
          I Munson v Del Taco Inc
22                   46 Ca1 4th 661             2009                                                   12 15


23
                  Nicholls v Holiday Panay Marina L P
                     173 Cal App 4th 966 2009                                                          16 17
24
      I
                  People v Morales
25 I
                     25 Cal         App    Sth 502     2018                                               22

26
                  Ragland v U S BankN A
27 I                 209 Cal         App    4th 182     2012                                              22

      I
28                                                                                                              I



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                                                   PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
                            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 96 of 168 Page ID #:99




                           I Rotary Club of Duarte v Board ofDirectors
     1
                                178 Cal App 3d 1035 1986                                                                                                     11

  2
                            Ruiz v Musclewood Inv Props LLC
                                 28 Cal          App        Sth 15 2018                                                                        10 13    14 15
  3


  4                   i     Thurston v Midvale Corp
                               39 Cal App Sth 634 2019                                                                                                 passim                 i

  SI

                       i White v Square Inc
  6
                                 7 Cal          Sth 1019          2019                                                                                  11   12           I
                                                                                                                                                                          I
                            Federal Statutes
                       I
 g
                            42 U S C                                                                                                                                      I
 9                                    12181       et se q                                                                                                    10           i
                                      12181 7                                                                                                                16
10                                    12182       a                                                                                                          16
                  I              ADA                                                                                                                   passim
11                I              Title III        of   the ADA                                                                                         passim

                                                                                                                                                                          I
12                I         Federal Regulations

13
                  I         28 C F R
                                                                                                                                                                          I
14                I                   36 303                                                                                                           22 24
                                      36 303      a                                                                                                    22 23
15                I                   36 303 b         2                                                                                                     23
                                                                                                                                                                      I
                                      36 303            1    ii                                                                                              23
16
                                 pt    36 Appendix C                2019                                                                                     16
                                                                                                                                                                      i
17
              I
              I
                            56 Fed Re gister 35544 01 35566 Jul Y 26 1 991                                                                                   17

18                                                                                                                                                                    I
                           California Statutes

19 I
                           Cal Civ Code
                                                                                                                                                                  I
20                                    51   et   seq                                                                                                          10
             I                        51 b                                                                                                                   11
21
                                      51                                                                                                               10 15

22
                                 Di abled Persons Act                                                                                                        12   I
23                               Unruh Act
                                                                                                                                                   passam
                                                                                                                                                                  I

24                         Other Authorities


25       I                 Advance Notice               of   Public      Rulemaking      75 Fed     Reg    43460    July   26 2010                           22


26                         Judicial Council                  California Civil
         I                                              of
                                                                                      Jury Instruction No    3060                                            11

27 I                        Directions                Use
                                                 of           of   Judicial Council       of   California Civil   Jury Instruction   No 3060                 11

28
                           H R    Rep           101 485 II         at    108   1990     reprinted in 1990 U S C C A N 303                                     7


                                                                                                       8

                                                                   PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
                         Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 97 of 168 Page ID #:100




                         News Release   testimony of Principal Deputy         Assistant
     1
                                                                          Attorney General for Civil                                                          i
                            Rights Samuel R Bagenstos before the House Subcommittee on Constitution
  2
                            Civil Rights   and   Civil Liberties   2010 WL 1634981             Apr 22 2010                          23                    I

                         Nondiscrimination   on   the Basis of   Disability   Notice          Withdrawal        Four                                      I
  3                                                                                      of                of
                                                                                                                       Previously
                            Announced   Rulemaking Actions         82 Fed     Reg       60932 01   Dec 26 2017          2017 WL
  4                         6555806                                                                                                 22
                                                                                                                                                          I

  5
                         The Rutter Group Civil Procedure Before Trial 2019
                              7 8
  6
                                                                                                                                    22                I
                              7 9
                                                                                                                                    22

  7                                                                                                                                                   i
  8


  a                                                                                                                                                   I
 10

                                                                                                                                                  I

 11


 12


13
                     I
14


15                                                                                                                                            I

16
                     i                                                                                                                       I


17
                     i
18

19


20
                 I
21


22
             I                                                                                                                           I
23


24
             I
25                                                                                                                                       I
26
         I
27


28 j


                                                                                    9

                                                  PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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  1                I                                 MEMORANDUM OF POINTS AND AUTHORITIES

  2                    I         INTRODUCTION


  3 i                            Plaintiff Luis      Licea         Plaintiff          a   blind individual          has   sued   Defendant Genesco      Inc

  4                I       Defendant      because he encountered discriminatory communication barriers on Defendant s website at
  5                    www journeys com           the   Website          hindering his full and equal use and enjoyment of such Website
               I




  6                    which constitutes
                                             disability discrimination under California                s   Unruh Civil Rights Act         Unruh Act     Cal

  7                    Civ   Code       51 et seq Plaintiff s Unruh Act cause of action is predicated upon two separate and distinct
  g
                       theories of liability First such cause of action is predicated upon Defendant s intentional discrimination
 9
                       which is the traditional theory of Unruh Act liability in light of Defendant s refusal to remove the
10
                       communication barriers from its Website despite being specifically notified about their existence Second
11
                       such cause of action is predicated upon a violation of the Americans with Disabilities Act of 1990

12                         ADA        42 U S C      12181               which    is                    basis for          Unruh Act                     Civ
           I                                                 et   seq                 a permissible                  an               cause of action


13                     Code      51


14
                                 Defendant s Demurrer is predicated upon four fundamental errors First the Demurrer incorrectly
15
                       contends that the Complaint s intentional discrimination theory of liability is not cognizable as a matter of

16 j law based upon non binding federal case authority The Demurrer however ignores the binding guidance
17                     in Ruiz        Musclewood Inv Props              LLC 28 Cal                  Sth 15    22    2018
                                 v
                                                                                             App                             which is directly on point in
       I




1g
                       addressing how      an    inference   of   intent   can   be inferred from          notice             corrective action   to remove   I
                                                                                                                    seeking

19
                       accessibility barriers As a published court of appeal decision Ruiz is binding on this Court Second the
20
                       Demurrer wrongly assumes that the Complaint is solely predicated upon an intentional discrimination
21
                       theory of liability despite the fact that it expressly alleges a violation of the ADA as an additional ground
22
                       Third the Demurrer completely ignores the fact that the Complaint sufficiently alleges a nexus between
23                     the Website and its brick and mortar locations                                 in California
                                                                                          including                        Fourth the Demurrer seeks to


24 II impermissibly rely upon extrinsic facts regarding a purported telephone service accommodation defense
25 I                   that the U S      Department          Justice       DOJ                                 but
                                                        of
                                                                                          merely   proposed           never adopted       In fact the DOJ


26 I withdrew such proposed regulation Accordingly the Demurrer should be overruled in its entirety
27                 II            ARGUMENT


28                             A         The Website Barriers Alleged in the Complaint Are Actionable Under the Unruh Act
                                         Independent of the ADA

                                                                                             lo

                                                    PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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                                                                                                                                                                                              I


  1                             The Demurrer contends that the Complaint fails to state a claim under the Unruh Act independent
                I
               I




 2                  of   the ADA         De        s   Mem     at   3 25 6 12          Not so 1

 3                             As a general matter a claim under the Unruh Act requires a plaintiff to allege an intentional act ar

 4                  omission on behalf of defendant See Organization for the Advancement ofMinorities v Brick Oven Rest I

 5                  406 F      Supp     2d 1120         1129        S D Cal       2005         Thus         a violation of the Unruh Act may be maintained
 6                  independent         of     an      ADA      claim          where     a    plaintiff         pleads      intentional      discrimination in            public

 7                                            in                      the terms             the   Unruh          Act        Schutza          McDonald                     133 F
                    accommodations                 violation of                        of                                                v                s   Corp
           I
 8                  Supp       3d 1241        1247      SD      Cal    2015           citations    omitted             Judicial Council of California Civil Jury

           I
 9                  Instruction 3060            CACI No 3060                   sets   forth   essential     factual      elements of an       Unruh Act   claim
                                                                                                                                                                                          I
10                                        1            The Unruh Act Applies to                        Business Establishments                   Which Are Broader j
                                                       Than         Places      of    Public Accommodations                       and    Not Subject to        a     Nexus
ll                                                     Requirement                                                                                                                    i



12                             The Unruh Act            provides      in   part   that        a ll persons within the jurisdiction of California                     are free

                                                                     their
13                  and      equal    and no matter what
                                                                                  disability           are entitled to the full and equal accommodations I

14                  advantages facilities privileges or services in all business establishments of every kind whatsoever
15                  Cal Civ      Code         51 b      emphasis added                The      Directions        of   Use    of   CACI No 3060      provide        that     The


16                  judge may decide the issue               of whether         the defendant          is   a   business    establishment as a matter of           law       Id i

17                   citingRotary Club ofDuarte v Board ofDirectors 178 Cal App 3d 1035 1050 1986

18
                               The Complaint alleges that Defendant s Website is a business establishment wi hin the meaning
19                  of   the Unruh Act          Compl           23     This Court can and should determine as a matter of law that Defendant

20 I                is   a   business    establishment                under     Civil Code             51 b       in accordance with the California Supreme

21                  Court     s recent precedent         in YVhite         v    Square Inc         7 Cal         Sth 1019         1027    2019     The case before us I

22                  involves a plaintiff who neither paid a fee nor requested equal treatment before leaving the business I
23     I            establishment             in this    case       a website         not a    brick    and mortar vendor                    emphasis   added        This is


24                  irrefutable confirmation that the California Supreme Court broadly construes the Unruh Act such that I
25                   business        establishments       include
       I                                                               commercial websites
                                                                                                                See also National Fed n of the Blind v Target
      I                                                                                                                                                                           i



26                  Corp      582 F     Supp       2d 1185      1196       N D Cal 2007                 the Unruh Act and the DPA reach Target com as a


27 I
       I
                    1 If the Court finds that either theory of relief is viable under the Unruh Act then Defendant s general
28
                    demurrer should be overruled Daniels v Select PoYtfolio Servicing Inc 246 Cal App 4th 1150 1167
                     2016     Ordinarily a general demurrer may not be sustained       as to a portion of a cause of action

                                                                                                  11

                                                        PLAINTIFF 5 OPPOSITION TO DEMURRER TO COMPLAINT
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     1
                                      kind of business establishment and an accommodation advantage facility and privilege of a place of
                                 I
     2                                public accommodation
                                                                             respectively No      nexus   to the physical stores need be shown                        emphasis added                 I
     3 I                              Butler      v       Adoption Media LLC 486 F                Supp    2d 1022        1056    N D       Cal   2007      the       ParentProfiles   com            I
                             I
  4                                   website        is plainly a business                               defined   under California         law
                                                                                   establishment as                                                     This outcome is consistent

     5
                                      with the interpretation that the Unruh Act is to be construed liberally in order to carry out its purpose to
  6                                   eradicate           discrimination Munson               Del Taco Inc        46 Ca1 4th 661       666       2009
                                                                                          v                                                              White 7 Cal Sth at 1025

  7
                         i              In enforcing the Unruh Act courts must consider its broad remedial purpose and overarching goal of
  8 i deterring discriminatory practices by businesses
  9                                                             2        The Complaint Alleges Sufficient Facts of Intentional Discrimination

 10
                         j                                               a          Only Ultimate Facts Are Required to Be Pled
11                   I                            Given the allegations pled in the Complaint regarding Defendant s intentional discrimination
                                                                                                                                                                                                 I
12                   I               against         Plaintiff      which    this Court is required to assume as true             the Court can and should determine that


13 I                                 Plaintiff has           satisfied       his burden to                           facts   3
                                                                                                                                 if          evidentiary facts
                                                                                                 plead   ultimate                     not                                of intentional

14 I discrimination by Defendant because Defendant the owner and operator of the Website knew of the

15 i accessibility problems Plaintiff had with the Website by no later than the timeframe when Defendant j
16                                   received Plaintiff s counsel s pre filing demand letter dated Apri12 2019 but nevertheless took no steps

17
                                     to address the communication barriers specifically encountered by Plaintiff to make the Website
18                                   accessible           making the      filing   of   this action necessary        Compl            24    alleging that Defendant            failed to i

19
                                     take adequate actions to correct these barriers even after being notifzed of the discrimination that such I
20                                   barriers        cause           emphasis    added
                                                                                               Such evidentiary facts and ultimate facts regarding Defendant s
21
                                     wrongdoing under an intentional discrimination theory of liability is sufficient to allow Defendant to
22               I                   understand the Complaint and to mount a defense against such theory A plaintiff need only plead such
23                                   facts     as are     necessary      to acquaint a defendant with the nature                source and extent of           his   claims    Doe 42

24           j                       Cal       4th        550
                                                     at
                                                                    To the extent that the Court would like Plaintiff to amend his Complaint to plead such

25 i
             I
26                                   2 In deciding a demurrer
                                     allegations are  true
                                                              a California court must assume that the complaint s properlypleaded material
         I                                                        the  and give                                      interpretation
                                                                                        complaint a reasonable
                                                                                                                                           by reading     it   as a whole and all     its
                                     parts     in their     context       Moore        Regents of Univ of Cal 51 Cal 3d 120                       125   1990
                                                                                                                                                                                            li
27       i                            I    n   testing     a pleading against
                                                                                    v

                                                                                    a demurrer the facts alleged
                                                                                                                                                                     emphasis added


                                                                                                                             are deemed to be true however improbable j
                                     they may be             Del E Webb         Corp     v    Structural Materials Co
                                                                                                                                123 Cal App 3d 593 604 1981
2g                               3    A plaintiffis                      to allege only
                                                                                                                         evidentiary facts
                                                             required                          ultimate rather    than
                                                                                                                                            Doe v City ofLos Angeles i
                                 42 Cal 4th 531                 550 2007

                                                                                                             12

                                                                          PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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 1           facts in greater detail Plaintiff is amenable to doing so Bounds v Superior Ct 229 Cal App 4th 468

 2       I   484     2014

         I
 3                                              b        This Court Is Bound by the California Court of Appeal s Decision in
                                                         Ruiz v Musclewood Inv Props LLC
 4
                         As in Ruiz       v   Musclewood Inv Props                    LLC 28 Cal            App     Sth 15       2018       Defendant s knowledge i
 5
             of the defects in the Website and lack of action to rectify them promptly in response to Plaintiff s attempt
 6
             to inform Defendant to obtain corrective action permits an inference of intent Ruiz 28 Cal App Sth at
         1

             22     This Court is bound to follow Ruiz                       See Auto Equity Sales Inc v SupeYior Court of Santa Clara
 8
             County 57 Ca1 2d 450 455 1962
 9                                                                                                                                                                                I
                                                c        Two Federal Court Judges Recently Held that Nearly Identical
10
                                                         Complaints Plausibly Alleged Intentional Discrimination in Violation
                                                         of the Unruh Act
11

                         Defendant ignores two recent federal district court decisions which held that nearly identical
12
             complaints      plausibly        alleged    intentional discrimination in                      violation      of   the Unruh       Act       In Martinez v
13
     I       Adidas America Inc                 2019 WL 3002864                  at   2        5     C D    Cal   July     9 2019          Bernal     J    the plaintiffs

14
             asserted a single cause of action under the Unruh Act which sought statutory damages and injunctive
15
     i                       the Unruh Act               Id            4
             relief under                                     at
                                                                           Significantly the federal district court held that the complaint I
16

     I plausibly alleged a theory ofintentional discrimination which indicated a non ADA legal theory Id
17
                                      in Thurston             ClearPath                             Inc    2019 WL 366405                   2   4 C D       Cal Jan 28
                         Similarly                       v
                                                                             Lending                                                  at

18
             2019        Selna J     the federal district court remanded a nearly identical complaint asserting a single Unruh I
19
             Act    claim    In so doing the court held that the allegations of intentional discrimination were plausible
20                                                                                                                                                                            I
                                                                                           held
             ClearPath       2019 WL 366405                  at    3       The    court
                                                                                                          HeYe it is possible that Plaintiff will obtain I
21 I
             injunctive relief based            on a   theory independent ofthe ADA                          Id   at   4   emphasis added             Adidas AmeYica I
22

             and ClearPath are both directly on point and indistinguishable from the instant action
23
                                              d          The Ninth Circuit s Decision in Greater Los Angeles Agency on
24                                                       Deafness Inc             u   Cable News Network Inc Is Distinguishable
                                                                                                                                                                              i


25   I                   Defendant s reliance upon Greater Los Angeles Agency on Deafness Inc v Cable News Network
     I
26           Inc     742 F 3d 414             9th Cir        2014          C1VN           is    misplaced         because       the   CNN decision is          factually li
27           distinguishable In CNN the defendant in that case CNN attempted to accommodate the plaintiffs at least

2g           in          742 F 3d         426
                  part               at
                                                     In response to GLAAD s captioning request CNN stated that it offered a number

                                                                                               13

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    1                   of   text based services and explained that it would                  be ready to        provide whatever web access        is ultimately
                                                                                                                                                                        I

    2                                          FCC
                    I
                        required
                                      by the         s   then pending captioning rules
                                                                                                         In stark contrast here na such attempt was made j              I


    3                   to accommadate Plaintiff s request to remove comznunication                           barriers from Defendant    s   Website despite
                    I
    4
                        Defendant being put on notice as to Plaintiff s explicit accammodatian request for more than eight months

                        before filing suit which hindered Flaintiff s use of such Website In addition the CNN decisian failed to

    6                   have the benefit of the recent guidance provided by the California Court of Appeal in the Ruiz decision
    7                                            RzGzz    2   Cal           Sth        22                             in CNNwould have been different
                        mentioned abave
                                                                     App                     Surely     the outcome
                                                                                  at
                                                                                                                                                               ifi
    8                   the CNNpanel had received the benefit of the Ruiz decision s guidance at the time that CNNwas decided 4
                I
                                                     e
                                                                The Ninth Circuit s Unpublished Decision in Earll v eBay Inc Has No
                                                                Persuasive Value Here and Is Distinguishable
10


11 I
                                 Although Defendant relies upan the Ninth Circuit s unpublished decision in Eczrll v eBay Inc I
                        599 Fed Appx 695             9th Cir 2015           such ut published decisian is not precedent for                 the Ninth Circuit
                I
12

                             droza   u   BRB   b24 F 3d 92b           931    9th Cir 2010               Nor daes it have   persuasive   value   in addressing
13                                                                                                                                                                      i
14
                        whether      the facts pled in the Complaint can constitute intentianal                      discrimination   under   the Unruh Act
                                                                                                                                                                    i
                        That decision after citing CNN for the general propositian that intentional discrimination is required to
15
            I plead an Unruh Act claim independent of an ADA violation held as follows
1b

                                     eBay s aural identi cation system applies to all eBay users whether hearing impaired or not Its
            j
                                 failure to provide a deaf accessible alternative to its aural identification system daes not amount to j
1

                                 wi11fu1 affirmative liziseoz duct suffieient to constitute intentianal discrimination under the Unruh i
19

                                 Act See Koel ke v Bernar do Heights Country Club 3 Ca1 4th 824 31 CaT Rptr 3d 565 1 I5 P 3d
20
                                 121      1228    20Q5        Beeause Earll has not alleged intentional discrimination Earll s Unruh Ac
            I
                                 claim fails as a matter of 1aw
22
            I           Earll   599 Fed Appx         at   696       Significantly tlze Ninth Circuit s Earll decision failed ta have the bcnefit I
23

                        of the recent guidance provided by the California Court af Appeal in the Rurz decision mentianed above
24

                        Ruiz 28 Cal App Sth at 22 Surely he outc me in Earll would have been different had the facts at issue
25 I
                        in Ruiz been at issue in Ee ll
26
        I                        Moreover the Ninth Circuit panel in E r ll cited the CNN decisian for the 1ega1 staudard regarding
27


2                       4
                         Similarly the deeisions in Cull n v                 tVetfZix       Inc    8 0 F    Supp    2d 1017   1024    N D     Cal    2012   and i
                        Young Facebook Inc 790 F Supp
                                v                                            2d 11 l0       1116       N D Cal    2011   are similarly distinguishable
                                                                                                  14

                                                         PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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            I                                                                                                                                                         i




    1       I   intentional discrimination in Unruh Act                 clairns   that are not predicated upon ADA violations                       That is
                                                                                                                                                                      I
    2           significant because as mentioned above CNNis distinguishable because the plaintiffs therein were at least

    3                                            for their                   Here in contrast no such accomrnodation was pravided
                partialiy     accornmodated                  disability
    4
                despite Defendant being put an notice as to Plaintif s explicit accommodation request This suffices under
            I
    5           Ruiz to constitute indicia of intentianal discriznination
            i
            I
                          8         The      Complaint Also Alleges           an     Unruh Act             Cause    of       Action Based      Jpon ADA

                                    Viotations Which Is Expressly Permissi6le Under Section 51 f af the Civil Code
            I            Defendant s Demurrer is facially disingenuous because it characterizes the Camplaint as only
    8

                seeking      relief under a    traditional Unruh Act tl eory predicated upon intentional                          discriznination   Def s

            I
                Mern    at   2 11 16 5 5 6        The Camplaint however is expressly predicated upon two separate and distinct
10
                legal theories       both                                                 the Unruh        Act
                                             af which are       cognizable under
                                                                                                                    First the Complaint pleads an I
ll
                intentional discrimination theory         as recognized
                                                                              by Defendant             Compl         23 24         Second the Complaint I
12 I
                also pleads the existence of violations of Title III af the ADA whieli is actionable under the Unruh Act
13
                 Compl         25 Cal     Civ Code        51 f          Any violation of the ADA necessarily constiCutes a violation of
14
        I       tbe Unruh Act           51        Molskz    v   M       Cable Inc         481        3d 724   731    9th Cir 2007            A showing 4f
15                                                                                                                                                                j
                intentional discrimination is not required where a plaintiff brings an Unruh Act claim an the grounds that
16
                                                                                                                                                                  i
                a   d fendant has     violated   the ADA        Munson 46 Ca1 4th               at   665    A plaintiff wha establishes a violation I
17
                of the ADA therefore need not prove intentiat7al discrimination in order to abtain damages under section
1       I
                52               Thus     Defendant   s   failure   to acknowledge that the existing Complaint already pleads the
                                                                                                                                  I
19

                existence of ADA violations as an additional basis far Plaintiff s Unruh Aet cause of action is highly
20
                deceptive     and   misleading                                                                                                                j
22
                         C          The Website Barriers Alleged in the Complaint Are Actionable Under the ADA
22                                  Because the Camplaint Pleads a                 Nexus         Between Defendant s Commercial VVebsite
                                    and Its Brick and Mortar Store Locations
23
                         In   general   a    Title III ADA      claim   has anly three     elements as explained
                                                                                                                               by the   Ninth Circuit   To

24 i
                prevail on a Tit1e III discrimination claim                the plaintiff must show that                  1     she is disabled within the


        imeaning af the              AI A      2 the defendant zs        a private   entity that      owns    leases         or operates a place of public
                                                                                                                                                              I
26

                accammodatian and 3 the plaintiffwas denied public accommodations hy the defendant because of his
27                                                                                                                                                            I
        i       disability      Molski v M J Cable Inc              481 F 3d 724 730 9th Cir 2007
28
                             The concept af discrimination under the ADA does nat extend only to obviously exclusianary
                                                                                     is

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                        I




  1                         conduct               Rather the ADA           proscribes more subtle                forms   of discrimination     that interfere with disabled

 2                          individuals            full   and equal enjoyment              of places of public accommodation                   Chaprnan v Pier 1 Iinports

 3                           U S       Inc       631 F3d 939 945            9th Cir 2011                  The ADA s passage was premised on Congress s finding

 4                          that discrimination against the disabled is most often the product not of invidious animus but rather of
                    i

 5                  I       thoughtlessness and             indifference          of      benign      neglect         and of   apathetic attitudes rather than affirmative


 6              j           animus               Id at 944 45


                                                    1         Title III of the ADA Prohibits Discrimination in the Enjoyment of Services
                                                                 of Any Place of Public Accommodation Instead of at or in
 8
                                        The ADA           provides
                                                                           No individual shall be discriminated against on the basis of disability in the
 9                                                                                                                                                                                     I
                            full and equal enjoyment of the goods se vices facilities privileges advantages or accommodations of
10
                I
                            any place of public accommodation by any person who owns leases or leases to or operates a place of
11 i
                            public accommodation                      42 U S C           12l 82   a       emphasis added            The ADA s general nondiscrimination
12
            I                           42 U S C
                            statute                         12182      a    refers   to    services         of any place of public accommodation as opposed to I
13
                                            in
                             at    or
                                                   That distinction matters as recognized recently by both the Ninth Circuit and the California j
14                                                                                                                                                                                I

15
                            Court      of   Appeal        Robles   v   Domino        s   Pizza LLC 913 F 3d 898                 905   9th Cir 20l 9   The   statute applies
                                                                                                                                                                                  li
                            to the services of a place of public accommodation not services in a place of public accommodation
16                                                                                                                                                                                i
                            cert   denied          140 S    Ct   122       2019        Thurston       v   Midvale       Corp    39 Cal   App   Sth 634   642   2019      To I
17

                            limit the ADA to discrimination in the provision of services occurring on the premises of a public i
18
                            accommodation would contradict                       the plain    language           of   the statute      emphasis added

19
            I                                       2
           I                                                  The ADA s Statute Merely Identifies a Few Examples Within Each of the 12
20                                                            Categories of Places of Public Accommodations Which Are Innumerable

21                                      The 12 expansive categories identified as                           public accommodations            are set forth in 42 U S C

22 I                        12181 7                              to    the U S       Department                  Justice
                                                 According                                                 of                  DOJ       While the list of categories is

23
                            exhaustive the representative examples of facilities within each category are not Within each category
24                          only   a   few       examples are given
                                                                                       For example the category of sales or rental establishments would
       I
25                          include     an       innumerable array          of   facilities   that would sweep far beyond the few examples given in the
      I

                                                                                                                                                                              I

26                          regulation            28 C F R Pt 36           App     C      2019
                                                                                                   emphasis added Nicholls v Holiday Panay Marina L P
27                          173 Cal App 4th 966 970 71 2009

28                                                  3        This Court Is Bound to Liberally Construe the ADA s Categories of Public
                                                             Accommodation

                                                                                                            16

                                                                 PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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 1                   The phrase public accommodation is defined in terms of 12 extensive categories which the

2         legislative history indicates should be construed liberally to afford people with disabilities equal access
3         to the wide variety of establishments available to the                            nondisabled           PGA Tour Inc v Martin 532 U S

4         661    676 77        n    25 2001        emphasis added             quoted in Carolyn v Orange Park Community Ass n 177
                                                                                                                                                                       I


                                                                                                                                                       A broad
5         Cal    App     4th 1090        1098      2009     Nicholls         173 Cal         App      4th    at   970        citing PGA Tour


 6 I interpretation of the ADA statute allows the ADA to enhance self autonomy and human dignity in day
                                                173 Cal                4th         970       Indeed    in Thurston            v   Midvale   Corp    supra      the l
 7        to    day living         Nicholls                 App              at




 8        California Court ofAppeal once again confirmed that the ADA must be liberally construed consistent with

9 I       its   remedial purpose         39 Cal       App   Sth   at   642 43         The ADA is a remedial statute and as such should be

10        construed broadly to implement its fundamental purpose of eliminating discrimination against I
11        individuals    with      disabilities        emphasis        added          Under PGA Tour Midvale Carolyn and Nicholls this


12        Court is bound to make a broad interpretation of the ADA s public accommodation phrase

13                             4         Congress Intended the ADA to Adapt to Changes in Technology

14                  As   one    federal     court   explained          the legislative history of the ADA makes clear that Congress

15        intended the ADA to           adapt    to   changes     in technology              National Ass         n   of the      Deaf v   Ne   ix Inc    869 F


                                                                                                                             108    1990    reprinted in 1990
16        Supp     2d 196 200 01            D Mass 2012            quoting H R              Rep   101 485 II            at




17        U S C C AN 303              391       the Committee intends that the types of accommodation and services provided


18        to individuals with disabilities under all of the titles of this bill should keep pace with the rapidly changing

                               the times         Enyart     v   National Conference of Bar Examiners                               Inc   630 F 3d 1153 1163 I
19        technology     of



20         9th Cir 2011             A   ssistive   technology is       not frozen        in time      as   technology        advances       accommodations




21        should advance as well                56 Fed Register 35544 01 35566                         July   26      1991         stating in DOJ s preamble

22        to 1991 Title III regulations stated that regulations should be interpreted to keep pace with emerging

                                   New technology         presents risks as well as               opportunities          we must now allow         fear   of   the
23        technology                                                                                                                                                       I
24        former to deprive         us of   the latter      Baughman              v   Walt   Disney        World Co          685 F 3d 1131      1137     9th Cir

      I
25        2012      reversing district court s granting of defendant s motion for summary judgment in ADA case I
26         seeking the modification of policy prohibiting use of Segway at Disneyland
27    I                        5          This Court Is Bound by Carolyn v Orange Park Community Ass n
2                   The published decision in CaYolyn v Orange Park Community Ass n 177 Cal App 4th 1090 I

                                                                                       17

                                            PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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 1        I   ll04     2009        supports        Plaintiff   s   position        The Court            of   Appeal therein held           P laces of public
                                                                                                                                                                    i
 2            accommodation are places designed and intended to provide scrvices goods privileges and advantages I

 3 i to members of the public usually in exchange for payment and when not requiring payment often j
 4            mativated by some ather advantage to the entityproviding the accorrlmadation such as promoting its good

 5            wi11   to the community                 Cc   rolyn    1    7 Cal     App    4th     at   ll04     emphasis added     Notably the Carolyn

 h I court did not limit such                      places to physical places                  This Court is bound to follow Carolvn
         I



 7 I                               6           The Supreme Court                 af     the U S        Recently    Characterized       Cyberspace         as   a

                                                P ace
 8I
                       The Supreme Court of the U S has recently characterized                                      cyberspace as the most important
 9
          I                 for the                                 Packingham                North Carolina        137 S Ct 1 730      1375    2017     It has i
               place                    exchange of views                                v

10
                                             irnportance                Internet                          its
              alsa recognized          the                  af   the               by noting that               prevalence and power have changed the I
11
          i   dynamics      ofthe natianal         economy              Thurston 39 C al App Sth at 643 quating Snuth laakota v Wayfair I
1z
               V s            s s et         asa      o      zo s
13
                                   1           Bath the California Court af Appeal and the Ninth Circuit Have Expressly
14
                                               Recagnized the Viability of ADA Claims Predicated Upon Communication
                                               Barriers on Commercial Websites
15
                       The California Court of Appeal has recognized the viability of ADA claims predicated upon
16
          I   comrnunication           barriers    on commercial websites                 Thurstnn v Midvale Carp 39 Cal App Sth 634 642
17
               2019         To limit the ADA to discrimination in the provision of services occurYing on the premises of a
18
     i        pu6lic   accommodation               wauld     contradict       the plain language af the                statute     emphasis      added         In

19
              Thu ston the California Cc urt of A peal expressly rejecled the minority position af tlie Third Circuit
20
              expressed      in Fard     v    Scher   ing Plaugh         Car p     145 F 3d 601              612 614   3d Cir 19 8         Thurston 39 Cal I
21
              App     Sth    at   642        We decline to         adopt what         is clearly the minority           position       We agree with the
22                                                                                                                                                                  i
     I numerous courts which have found the definition of public accommodation clear and unambiguous and I
23
     j        encr mpassing rnore             than aphysical place                 emphasis added               In support Thurston cited with approval
24
              the Ninth Cireuit s holding finding an ADA claim predicated upon a websate barrier to be actionable in
25 I
              Robles   v    Domino       s   Pizza        LC 913 F 3d 89           9Q5       9th Cir 20 9          T e statute applies to the services ofj
26
              a place ofpublic accommodation                     r ot services     in   a place of public accommodation                cert denied 140 S
27
              Ct 122       2019        This Court is bound to follow Thurston                          See Auto   Equity   Sales Inc   v   Superior Caurt of
                                                                                                                                                                    i
28
              Santa Clara         County      57 Ca1 2d 450             455   1962           Decisions of every division of the District Courts of
                                                                                             18

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     I
         Appeal                                    the justice and municipal courts and upon all the superior courts of this state
 1                 are   binding      upon all
                                                                                                                                                           I

 2 I     and   this is   so whether or not the superiar court is acting as a trial or appellate court                                Courts exercising

 3 I inferiar jurisdiction must accept the law declared by courts of superior jurisdiction It is not their function I
 4       to attempt to overrule decisions of a higher court


 5                Indeed the lengthy list of federal cases besides Robles nationwide recognizing the viability ofI
 6       ADA claims predicated upon website barriers is staggering See e g Doe v Mutual of Omaha Ins Co I
 7       179 F 3d 557            559    7th Cir         1999      Posner    C J         noting that        a    place    of public   accommodation




 8       encompasses facilities open to the public in both physical and electronic space including websites

 9       Morgan v Joint Admin Bd Ret Plan of the Pillsbury Co and Am Fed n of Grain MilleYs AFL CIO

10       CLC      268 F 3d 456           459       7th Cir       2001     Posner       J       The defendant asks us to interpret public I

11       accommodation literally as denoting a physical site such as a store or hotel but we have already rejected
     i

12       that interpretation            citing Doe              The site of the sale is irrelevant to Congress s goal of granting the

13       disabled equal access to sellers of goods and services                         What matters is that the good or service be offered

14       to the public          Haynes     v   Dunkin Donuts LLC 741 Fed Appx 752 754                                l lth Cir 2018     Doininguez v


15       Banana Republic LLC                   F    Supp    3d       2020 WL 1950496                   9       S DN Y Apr 23 2020            courts   in
                                                                                                 at
                                                                                                                                                           il
16       the Second Circuit havefound that it would be absurd to exclude cyberspace from the ADA s mandate

17        emphasis       added       Harty v Nyack Motor Hotel Inc No 19 CV 1322 KMK 2020 WL 1140783 at 4
18        S D N Y Mar 9 2020                   citing    cases     Thorne v Formula 1 Motorsports Inc                        2019 WL 6916098 at 2 I
     I
19        S DN Y         Dec        19 2019        Formula 1       s website     is    a place of public accommodation                   Jones v Fort
     I
     I
20       McPherson Credit Union 347 F Supp 3d 1351 1354 N D Ga 2018 Brintley v Aeroquip Credit Union

21       321 F     Supp     3d 785       793       E D    Mich 2018             Defendant s argument that its website is insufficiently

22       linked   with    its   physical   locations is simply illogical                     rev d on other grounds 936 F 3d 4 9               6th Cir


23 I     2019     Tawam         v   APCI Fed Credit Union 2018 WL 3723367                             at   8 E D        Pa   Aug   6 2018    Carroll v


                                       Credit Union         324 F                3d 658        667     E D      Va   2018      AndYews v     Blick Art
24       FedFinancial Fed                                                Supp                                                                                   I




                                                     3d 381        390   392 93        397    E DN Y 2017               Weinstein J      Del Orden
25       Materials LLC 268 F               Supp                                                                                                       v
                                                                                                                                                                I




26       Bonobos Inc            2017 WL 6547902            at    7 S DN Y Dec 20 2017                      A    commercial website      itself qualifies
                                                                                                                                                                i




                                                                 to which Title III of the ADA affords a right of equal access                        id
27 I     as a place of      public     accommodation




28 I at 8 noting Congress s intention that the ADA be read broadly in light of its remedial aims and that it

                                                                                  19

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 1                be    construed to                                                                         Markett         Five Guys Enterprises LLC 2017 WL
                                            keep pace with changing technology                                           v
                                                                                                                                                                              i
              I


 2            i   5054568      at      2 S DN Y             July   21 2017      Gniewkowski v Lettuce Entertain You Enterprises Inc                             251 F


 3 I              Supp     3d 908          916 18     WD       Pa    2017     National Fed n of the Blind v Scribd Inc                            97 F Supp 3d 565

 4                570     D Vt 2015


 5                                         8                   Arguendo that a Nexus    Standard Is Applicable a Sufficient
                                                     Assuming
                                                     Connection Exists Between Defendant s Website and Its Brick and Mortar
 6                                                   Locations
          i


 7 I                        Assuming a guendo that a nexus standard is applicable 5 the Complaint sufficiently alleges such
                                                                                                                                              b
 8                nexus    between Defendant                s website and     its   physical retail            locations in California            Compl       7 9   see



 9                e   g Haynes         v   Dunkin     Donuts LLC 741 Fed Appx 752 754                                   1 lth Cir 2018       Jones v FortMcPherson


10 I              Credit Union             347 F              3d 1351       1354     N D       Ga           2018
                                                    Supp                                                             BYintley v Aeroquip Credit Union 321 F
11                         3d 785          793    E D Mich 2018
                  Supp                                                      Defendant s argument that its website is insufficiently linked with
IZ I              its   physical   locations is simply illogical                    rev   d   on other grounds                936 F 3d 489     6th Cir 2019    Tawam


13                      APCI Fed Credit Union                 2018 WL 3723367                           8    ED    Pa               6 2018    Carroll v FedFinancial
          I       v                                                                           at                         Aug
         I



14                Fed     Credit Union             324 F             3d 658     667       E D           Va    2018           Defendant s argument ignores the fact
                                                             Supp
15                that Plaintiff has been denied equal access to information that would enable him to visit Defendant s brick

16                and mortar location

17                s
                                                                    Fox F ilm                  198 F 3d                              9th Cir 2000   the Ninth Circuit
                      In Weyer     v    Twentieth      Century                      Coip                           104       1114
                  interpreted the ADA as indicating that                     some connection between the good or service complained of and
18                an actual physical place             is   required     Weyer 198 F 3d at 1114 In National Fed n of the Blind v Target
                  Corp      452 F          Supp    2d 946     N D    Cal 2006  the federal district court construed Weyer as requiring that
19                    a plaintiff must allege that there is a                nexus         between the challenged service and the place of public
                  accommodation                  Target 452 F Supp 2d at 952 Notably federal circuit case authority exists indicating I
20                that no such             nexus    requirement        applies       Carpa ts DistYibutio z Ctr                      Inc   v Automotive Wholesalers
                  Assoc    ofNewEngland               Inc     37 F 3d 12 19          lst Cir 1994
                                                                           Congress clearly contemplated that service
21
                  establishments includeproviders ofservices which do not require aperson to physically enter an actual
                  physical structure
                                      Many travel services conduct business by telephone or correspondence without
22                                                          to enter an office in order to obtain their services
                  requiring their          customers                                                                                         Likewise one can easily
       imagine the existence of other service establishments conducting business by mail and phone without
23   I
       providing facilities for their customers to enter in order to utilize their services It would be iryational to
       conclude that persons who enter an office to purchase services are protected by the ADA but persons
24
       who purchase the same services over the telephone or by mail are not Congress couldnot have intended I
       such an absurd result       emphasis added     This Court need not decide whether a nexus is required or j
25                    in order to state an ADA claim for relief based upon a website barrier Indeed Thurston expressly
                  not

                  declined to decide whether the ADA requires a nexus between a website and a physical place of public                                                    I
26   I accommodation    Thurston 39 Cal App Sth at 644  we need not consider here the wholly hypothetical
     I question whether Title III of the ADA governs a website unconnected to a physical place of public
27
                  accommodation                offering only purely Internet based                 services or products
                                                                                                                                                                          i

                  6 To the extent that the Court desires additional allegations leave to amend should be granted Bounds v j
28                Superior Ct 229 Cal App 4th 468 484 2014             holding that court should grant leave to amend if in all
                  probability plaintiff will cure defect
                                                                                                   20

                                                      PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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 1   I                 According             to the          Ninth Circuit                 a      website          that    advertise s        products provides a sufficient I
                                                                                                                                                                                                 I
 2 I      connect          ion         if the     so called            nexus         threshold is applied                   Robles 913 F 3d             at   905 06     It is   undisputed


     I
 3   i that Defendant s Website provides advertising marketing of Defendant s products offered for sale to the
     I

 4       general        public        at   its   physical          locations          That          matters          Robles 913 F 3d          at   905        Domino      s website and
                                                                                                                                                                                                 I

 5                                               to the goods and services of a place of public                                                                   Domino s physical
         app facilitate
                                                                                                                                      accommodation
                                  access



 6       restaurants             They are two of the primary and heavily advertisec means of ordering Domino s products
 7       to be picked up at or delivered from Domino s restaurants                                                           emphasis added              Feldman v Pro Football I

 8       Inc       419 Fed           Appx 381                391       4th Cir 2011                      Title III of the ADA also requires defendants to provide


 9       auxiliary           aids       for       the        content            of   emergency                 information           advertisements              and    public        service



10 I     announcements                 broadcast             over     the stadium bowl s public address system                                     Martinez v          California Pizza          I

11       Kitchen           30 Cal          App         Sth   Supp          at   21        Unlike the facts in Feldman there is no indication here that the

12       speaker system was                       playing          advertisements                          emphasis          added      Thurston 39 Cal App Sth at 646

13            The Ninth Circuit stated its                         nexus requirement very                          broadly                                                                       I

14                     Defendant has failed to recognize the existence of numerous federal district court cases within the

15       Ninth Cucuit that                  recognized             that ADA claims could be maintained under a                                         nexus      theory         The Ninth I

16       Circuit s recent decision in Robles clearly shows that the foregoing case authority was not an aberration

17                     D              Defendant s Telephone Service Accommodation Raises Factual Questions that Are
     I                                Inappropriate for Resolution Via a Demurrer
18
                       Defendant s purported defense asserting a telephone service accommodation is premature to be
19
     I   decided in the instant                       action as       it   seeks     to introduce purported facts that are inappropriate for this Court to
                                                                                                                                                                                                 I
20
         address via             a    demurrer               and    fails to         address            other pertinent          facts necessary to             address    its   purported
                                                                                                                                                                                                 I
21                                                                                                                                                                                               I
         defense             Defendant                            to have the Court consider extrinsic evidence asserted in its Memorandum
                                                      seeks                                                                                                                                      I
22


23        See          eg    Robles         v         Yum       Brands Inc                2018 WL 566781                    at   8    C D    Cal       Jan    24 2018           Rios v New
         York           Co       Inc        2017 WL 5564530                          at       2     7    C D        Cal Nov          16 2017       Gorecki        v    Dave          Buster s
24       Inc       2017 WL 6371367                           at     2       6   C D           Cal       Oct    10     2017       Reed    v    CVS      Pharmacy         Inc      2017 WL
     I   4457508            at    3        6 C D Cal Oct 3 2017                               Thurston v Chino Commercial Bank NA                                 2017 WL 3224681
25                                                                         Gorecki                                        Stores Inc     2017 WL 2957736                         3    7   C D
         at    5       C D       Cal    July      27 2017                                 v    Hobby Lobby                                                                at

           June 15 2017
         Cal                                      Walter J                 Davis v Orlando Wilshire Investments Ltd                                     et al    No 5 15 cv 01738
26       MWF KK Dkt 17                           at   10        C D Cal Nov 2 2015                            Fitzgerald J           Brown v BPSDirect LLC et al                          Case
         No LACV 14 04622 JAK JEMx                                               Dkt 30            at   4 7        C D     Cal   Oct 6 2014             Krondstadt J             Penney v
27
     I   Kohl   Deps             t Stores         Inc        et al         No 8 14            cv    01100 CJC DFM                 Dkt    12   at   3     C D Cal Sept 23 2014
     I                                                                                      559 C D Cal 2011
                                                                                                        Resorts US Inc               279 F R D         529
          Carney J                Shields
                                      Disney      v     Walt                    Parks          and                    i
28       Target I 452 F                   To limit the ADA
                                                      2d   to discrimination
                                                                953          in the provision of services occurring i
                         Supp                              at

         on the premises of a public accommodation would contradict the plain language of the statute
                                                                                                              21

                                                        PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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                                                                                                             Civil Procedure Before Trial    7 8
 1           which     is inappropriate in the        context of a   demurrer       The Rutter     Group
     I
 2            2019        citing lon Equip Corp v Nelson 110 Cal App 3d 868 881 1980
 3       I              Contrary to Defendant s assertion                 the contents of its privately operated non governmental

 4 I Website is                not subject      to judicial notice     Although California courts consider information on official
                                                                                                                                                    I

 5            government websites as             the proper subject   ofjudicial     notice     People   v   Morales 25 Cal   App    Sth 502 511


 6            n   7   2018     citing non California decisions far the proposition that courts may take judicial notice of

 7            information published             on official government websites                the contents of Defendant s non governmental


 8            Website is not subject to judicial notice Ragland v U S Bank N A 209 Cal App 4th 182 193 2012

 9                While   we   may take judicial       notice of    the existence of the            Web sites and blogs we may not accept

10 i their contents as true
         I
11                      And Defendant s purparted telephone service defense does not challenge a defect that appears on

12            the     face   of   the    Complaint         The Complaint does not disclose Defendant s purported telephonic


13            accommodation             defense   Rutter   Group    supra      7 9


14                      Moreover Defendant s reliance on the proposed regulation regarding a staffed telephone line is I

15            highly    misleading        and   disingenuous        Def   s   Mem        at   6 21 23    citing the Advance Notice of Public I

16            Rulemaking           ANPRM            75 Fed    Reg    43460     July      26 2010         That proposed Yegulation was never


17           promulgated as             an actual   regulation      In particular the DOJ withdrew the ANPRM on December 26


18            2017      Nondiscrimination on the Basis of Disability Notice of Withdrawal of Four Previously Announced I

                                  Actions 82 Fed              60932 01        Dec    26 2017        2017 WL 6555806           Thus   it is beyond
19            Rulemaking                               Reg

20 I dispute that the DOJ s currently existing regulation governing auxiliary aids and services which is set I

21       I    forth in 28 C F R             36 303 continues to remain in effect and that Defendant is subject to its existing i

22            requirements         In particular 28 C F R           36 303 a states


23                                     A public accommodation shall take those steps that may be necessary to ensure that no

24                      individual with a disability is excluded denied services segregated or otherwise treated differently

25                      than other individuals because of the absence of auxiliary aids and services unless the public

26                      accommodation can demonstrate that taking those steps would fundamentally alter the nature of

27                      the goods services facilities privileges advantages or accommodations being offered or would

2g                      result    in   an undue    burden i   e    significant   difficulty     or expense                                              I


                                                                                    22

                                                 PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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  1        I   28 C F R        36 303     a    emphasis added          The term        auxiliary aids      and services    includes          screen     reader



 2 I           software        28 C F R            36 303 b       2   emphasis     added
                                                                                                    In order to be effective auxiliary aids and

 3             services must be provided in accessible formats in a timely manner and in such a way as to protect the

 4         I   privacy    and    independence          of   the individual with a          disability      28 C F R       36 303     c   1   ii    emphasis



 5             added



 6                        Significantly the California Court of Appeal applied such existing regulation in Thurston 39 Cal

 7             App Sth at 650
           I
 8                     Defendant cannot prevail as a matter of law under the existing regulation for several reasons

 9                     First Defendant has failed to satisfy its burden to demonstrate that making its Website accessible

10 I to blind individuals like Plaintiff would fundamentally alter the nature of the services offered on such
11             Website


12                     Second Defendant has failed to satisfy its burden to demonstrate that making its Website

13 I accessible to blind individuals would result in an undue burden such as significant expense Indeed the I
14             DOJ s congressional testimony suggests that making websites accessible is neither difficult nor costly

15             News Release testimony of Principal Deputy Assistant Attorney General for Civil Rights Samuel R

16             Bagenstos       before the House Subcommittee                on   Constitution Civil Rights          and   Civil Liberties         2010 WL


17             1634981      Apr 22 2010                Making websites accessible is neither difficult nor especially costly and in

18             most cases      providing accessibility         willnot result    in   changes      to the format or appearance of a site                 Thus
                                                                                                                                                                      I

19             the fact that Defendant has failed to satisfy its burden of demonstrating that                                steps   to make      its   website
                                                                                                                                                                      I
                                                                                                                    taking

20 I accessible to blind individuals                         would fundamentally alter the nature of the goods services facilities

21             privileges      advantages      or accommodations           being   offered or would result         in   an undue     burden       28 C F R


22              36 303     a    emphasis added              precludes Defendant from avoiding its legal obligation to take those steps

23             that may be necessary to ensure that no individual with a disability is excluded denied services segregated I
24     I       or otherwise treated differently than other individuals because of the absence of auxiliary aids and

25             services          Id     In    other    words    there is   no need         to   address   the   timely   manner       and     privacy and


26             independence        factors     set    forth in 28 C F R      36 303 c           1 ii because Defendant has failed to satisfy its
       I
27             burden to demonstrate the threshold requirements of either a fundamental alteration of the nature of the


28 I           goods   services       facilities     privileges   advantages       or accommodations
                                                                                                                being   offered or an undue        burden         I
                                                                                      23

                                                PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
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                                                                                                                                                                        I

     1
                 i               Third   it is undisputed that Defendant s telephonic accommodation would not protect the
                                                                                                                                                                    I
    2
                       independence of blind in dividuals Iike Plaintiff Rather such propased accommodation would require j
     3               the   intervention    af anather    individual                         is
                                                                      whereas a website          autamated
                                                                                                                  Indeed that is precisely what the j
                                                                                                                                                                    I

    4                California Caurt           Appeal                in Thurston   39 Ca1             Sth        651     Appellant did
                                           of            reca nized
                                                                                                 App         at                           not affer
                                                                                                                                                      any

    5                evidence       refuting   plaintiff s   statement   that the use of a telephone number                    would deprive her of i

    6                independence

    7                           Fourth   Defendant      s accarnmodation would not         be timely     as required         Defendant s Website is

    8                intended to be operational 24 hours a day and seven days a week whereas a customer service
    9                representative who
                                                 elds ca11s wauld surely be reachable only during business haurs Thus the delay in
10                   receiving a response from a live custolner sez vice representative wou d not be timely as required
11                              TLle foregoing demonstrates that Defcndant s argument is baseless ar at lnini num premature ta

12                   raise without an opportunity to conduct full and fair discovery ta investigate Defendant s purported
             i
13                   telephonic accommodation                                                                                                                   I

14 I                            In essence Defendant s positic n is that the Court should ignore the specific requirements of the
             I

15                   DOJ    s   formal   regulation     in 28 C F R
                                                                          36 303 and rely instead an an amorphaus but fact specific
16                    reasonableness test that the DOJ has never adopted to ascertain whether Defendant has complied with

17                   its   obligatian    t o prc vide   cffective   communicatian     to   Plaintiff   and        other   blind individuals      Thus

1
                     Defendant s attempt to argue that it is entitled to rely upon a proposed regulation regarding a staffed j
19                   telephone line as a s bstitute for a barrier free website is contrary to the applicable law
20                              E        Leave to Amend Should Be Granted

21
                                To the cxtent that the Court dcsires additional allegations leave to amend should be granted
22
                     Bounc s v Superior Ct 229 Cal App 4th 468 484 2014
23


24 i
                     Dated      June 10 2020                               P ACIFIC TRIAL ATTORNEYS P C

25


26                                                                         By                                                                               I
         i                                                                      5cott J F        el


                                                                                Attorneys for Plaintiff

28                                                                                                                                                      i



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                                                   PLAINTIFF S OPPOSITION TO DEMURRER TO COMPLAINT
       Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 113 of 168 Page ID #:116




   1                                                                         PRQOF QF SERVIGE
                                                           5TATE OF CALIFORNIA COUNTY OF ORANGE
  2

                                       I am employed in the County of Urange State of California                I am aver the age of 18 and nat a
  3                            party to the   within action
                                                              my business address is 4100 Newpart Place Drive Suite 800 Newport Beach
                               CA 92660
                                                                                                                                                                I
                                                                                                                                                                i
  4
                                       Qn     June    10    2Q20     I served the faregoing document described               as PLAINTIFF S
  5                            MEMORANDUM OF POINTS AND AUTHORITTES IN SUPPORT OF HIS RESPONSE IN

                           I   OPPOSITION TO DEFENDANT S DEMURRER TO COMPLAINT on the following person s in                                                     I
  6                            the manner indicated
                                                                                                                                                                I
  7            I                                                     SEE ATTACHEI             SERVICE LIST


  8                                     BY MAIL            I am familiar with the practice of Pacifie Trial Attorneys for collection and
                               processing     of correspondence    far maiiing     with   the United States Postal Service     Carrespandence sa
  9                            callected and processed      is deposited   with   the United States Postal Service that same   day in the   ordinary            I
                               course of   business   On this date   a copy of said    document was placed in     a sealed envelope   with pastage

10 I fully prepaid addressed as set farth herein and such envelope was placed for collectian and mailing at
                                                                                                                                                            i
                               Pacific Trial Attorneys Newport Beach California following ordinary business practiees
11
                                        BY FEDERAL EXl RESS QVERNIGHT                            I am familiar with the practice of Pacific Tria
l2
                               Attorneys far collection and processing of carrespandence for de ivery by overnight courier
                               Correspondence sa collected and processed is deposited in a box ar other facility regularly maintained
  3                    I by Federal Express
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                                                      that same day in the ardinary caurse of business On this date a capy of said
                               document was placed in a sealed envelope desi nated
                                                                                       by Federal Express with delivery fees paid or                        I
14                             provided for addressed as set farth herein and such envclope was placed far delivery
                                                                                                                    by Federal Express
                               at Pacific Tria1 Attorneys Newport Beach Califarnia following ardinary business practices                                    i
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                                        BY I AND DELZVERY             I am familiar with the praetice of Paeifzc Tria AtEorn ys for coltection
16                     i and                                              hand delivery by courier I caused such document to be delivered
                             processing of correspondence for                                                                                               i
                               by hand to the addresse s designated
  7        i                                                                                                                                            I
                       I               BY ELECTRONIC SERVICE Iam causing the document s to bc served by exnail or electronic                            I
l8                             transmissian via One Legai sent on the date shown below ta the en ail addresses of he persons listed in
           j                   the attached service list                                                                                                I
19
                                                                                                                                                        i
                                       I decla e under penalty of perjury under the laws of the State of California that the foregoing is
20         j                   true and correc    and that this declaration was executed on June 10 2020 at Newport Beach California

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     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 114 of 168 Page ID #:117




 1                                                        SERVICE LIST
               j
               I   Carter L Narfleet   Esq                        Attorney for Defendant
                   BAKER     HOSTETLER LLP                        Genesco Inc
 3
                   11601 Wilshire Boulevard Suite 1400
 4                 Los Angeles CA 90025 0509
      I
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         Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 115 of 168 Page ID #:118




     1               PACIFIC TRIAL ATTORNEYS                                                                                                         i
                     A Professional Corporation
 2                   Scott J Ferrell Bar No 202091
                     sferrell@pacifictrialattorneys com                                         SUPER     R       oLEp
 3 i
                                                                                                     g
 4 I Tel
                     4100 Newport Place Drive
                     Newport Beach CA 92660
                           949   706 6464
                                                    Ste 800                                     5A
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                     Fax   949   706 6469
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 5
                                                                                           r
                     Attorneys for Plaintiff
 6
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 8                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA                                                          I
 9                                                 FOR THE COUNTY OF SAN BERNARDINO

10                                                                                                                                               I
11                    LUIS LICEA     an   individu al                         Case No          CIVDS1939376                                  i


12                                   Plaintiff                                PLAINTIFF S EVIDENTIARY
                                                                              OBJECTIONS TO                   1   DECLARATION OF
13                                   v                                        JOHN TIGHE IN SUPPORT OF                                       I
                                                                              DEFENDANT S DEMURRER TO                                        I
14                   GENESCO INC          a   Tennessee   corporation   and   COMPLAINT AND 2 DEFENDANT S
                     DOES 1 10 inclusive                                      REQUEST FOR JUDICIAL NOTICE IN
15                                                                            SUPPORT OF DEMURRER TO                                         I
                                     Defendants                               COMPLAINT                                                      I

16 i
                                                                              Pl   s Memorandum ofPoints and Authorities filed I
17
                                                                              concurrently herewith
18                                                                            Date    June 23 2020
                                                                              Time    8 30 a m
19                                                                            Dept    S32
         i
                                                                              Judge   Hon Wilfred J Schneider Jr
20
                                                                              Date Filed December 30 2019                                I
21                                                                            Trial Date       Not Set


22


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                                                          PLAINTIFF S EVIDENTIARY OBJECTIONS
  Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 116 of 168 Page ID #:119



                  I




 1                                                            EVIDENTIARY OBJECTIONS


 2                                              OBJECTIONS TO DECLARATION OF JOAN TIGHE                                                        i
                                                                                                                                               i

 3                         Plaintiff objects to the Declaration           of   John Tighe         Tighe Decl    including Exhibit A filed in

 4 I I support ofDefendant s Demurrer to Complaint as follows
                   I


 5                     OBJECTION NO            1


 6                                       2         My job responsibilities include oversight and management of the teams that
                   I
 7
         II                provide customer support through our national customer service center This includes customers


 8                         who visit         the websitejourneys com       Website


 9                                   3             Attached as Exhibit A to this Declaration is a true and correct screenshot from


10
         I                 the Website as it existed on March 3 2020 As depicted in the screenshot the Website contains


11                         an   accessibility banner that      reads as   follows         If you are using a screen reader and are having

12 I               I       problems using this website please call 1 888 324 6356 for assistance in English ar 1 866 322
                  I                                                                                                                            I

13
         I                 9099 far      assistance    in Spanish     Ex A


14                                  4              The accessibility banner has been affixed to the Website since at least February

15            I            6 2018 and remains on the Website today At all times since its inclusion on the Website the

16                         accessibility banner has been assessible to screen reader users That is the accessibility banner
17 I
             I
                           has been thoroughly tested and can be identified and accurately dictated by commonly used

18       I                 screen reading technology

19                                  S              Quarterly WCAG tests are run on journeys com to ensure its continued

20            I            compatibility with screen reading technology The WCAG tests to date have not identified any

21                         compatibility issues with the accessibility banner
              I

22                                  6              Journeys provides customer support with live customer service representatives

23                         through       the    toll free   numbers   listed    in       the   accessibility banner   The   customer service


24                         representatives are trained to assist all Website users including blind or visually impaired users

25                         with making purchases completing orders and navigating the Website

26                                  7              Should blind or visually impaired Website users encounter any issue with the

27            I            Website they have the opportunity to call the toll free number in the accessibility banner to
     I
28
     I                     receive assistance from a live customer service representative to access the information goods



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                                                            PLAINTIFF S EVIDENTIARY OBJECTIONS
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 117 of 168 Page ID #:120



         II
 1       I
         i
                      I            and services on the Website


 2                                             8         Jaurneys maintains records ofall caiis placed to customer service representatives
                     I


 3                                 through the toll free nurtibers Iisted in the accessibility banner I rcviewed these ca11 records and
         i
 4                                 determined that as of March 5 2020 Journeys has not received a single phone ca11 fram Luis

                      I
 5                                 Licea


 6                         Tighe Decl      J    2

 7
                                                                                                                                                                     I
 8                        Grounds for 4bjection Defendant s purported defense asserting a telephane service accommodation is

 9       i                premature ta be decided in the instant action via a demurt er as it seeks ta introduce purparted facts that
                 i
1Q                        are   inappropriate fvr this Court to             address via a     demurrer    and   fails ta   address other pertinent   facts
                                                                                                                                                                     i
11                        necessary to address its purported defense                    Defendant       secks   to have the Court consider extrinsic
                                                                                                                                                                     i
12                        evidence asserted in its Memorandum which is inappropriate in the context of a demurrer                            The Rutter
         i

 3                        Group    Civil Procedure Before Trial                 7 8 2019      citing Ion Equip Corp v N lson 110 Gal App 3d

14 j                      868    881   1984                                                                                                                          I


 5 i                               Irrelevant         vid    Code         210 350 351      any probative value is substantially outwei hed l y the

16                        prabability that its       admission wi11         a   necessitate undue consulnptiUn of          time or b   create substantial        I
                 I                                                                                                                                               I

17                        danger   of undue prejudice             of c   nfusing the issues   or af   misleading the   jury   Evid Cade     352

                                                                                                                                                                 I
18
                                                                                                                                                                 i
19               I                 RULING


20                                             Granted


21                                             Denied


22


                                       C B TECTIONS T4 DEFENDANT S REQUEST FOR JL DICIAL N4TICE
             i
24                                 Plaintiff                 to    the   Request   for Judicial Notice          R3N
                                                   objects                                                                 includir g Exhibit A ta the
     i
 5 I Declaration of John Tighc and Attachment 1 to the RTN filed in support of Defendant s Demurrer to
2G                        Complaint

27                        OBJECTION NO 1
     i

28                        Graunds far   Ob      ection
                                                                                                                                                             I
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                                                                      PLAINTIFF    S EVIDENTIARY OB7ECTIONS
      Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 118 of 168 Page ID #:121




     1
                                           Contrary to Defendant s assertion the contents of its privately operated non governmental
     2                         Website is       not subject    to judicial notice         Although California courts consider information on official

     3
                               government websites as the proper subject of judicial notice People v Morales 25 Cal App Sth 502
     4                         511    n7     2018                    California decisions for the
                                                      citing   non                                       proposition     that    courts   may take judicial      notice
                                                                                                                                                                                            j
     5                         of     information      published      on     official   government      websites        the     contents   of    Defendant   s    non                   I
                                                                                                                                                                                        I
     6                         governmental         Website is      not subject    to judicial notice         Ragland       U S BankN A          209 Cal
                                                                                                                        v
                                                                                                                                                            App    4th
                                                                                                                                                                                        j
  7                           I 182    193    2012          While   we   may take judicial      notice of     the existence of the          Web sites and blogs


  8 I we may not accept their contents as true                                                                                                                                         I
                                                                                                                                                                                       I


  9                                      And Defendant          s purported telephone service defense does not challenge a defect that appears



 10                                  the face               Complaint
                              on                 of   the                     The Complaint does not disclose Defendant s purported telephonic

 11                           accommodation           defense       Rutter   Group      supra    7 9


12                                       Irrelevant Evid Code                 210 350 351
                                                                                                 any probative value is substantially outweighed by the
13                                              that its admission will a                                                                                                          I
                              probability                                          necessitate undue consumption of              time or     b   create substantial



14                            danger     of undue prejudice          of   confusing the issues                                         Evid Code
                                                                                                      or of   misleading the    jury                  352


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16           I                           RULING                                                                                                                                I


17                                                  Granted                                                                                                                    i


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             I                                      Denied
                          j

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20           I                Dated      June 10 2020                                      PACIFIC TRIAL ATTORNEYS
                     il
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22
                                                                                           BY
                                                                                           Scott J Ferrell
23
                                                                                           Attorneys for Plaintiff
                                                                                                                                                                           I
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                                                                          PLAINTIFF S EVIDENTIARY OBJECTIONS
         Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 119 of 168 Page ID #:122

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                                                                             PR40F OF SERVICE
    2
                                                         STATE OF CALIFORNIA                       COUNTY OF ORANGE

    3
                                   I   am ernployed      in the
                                                       County of Orange State of California I am over the age of 1 and not a
    4                    party to the within aetion my business address is 4100 Newport P1ace Drive Suite 800 Newport Beach
                         CA 92660
    5

                                   On       June    10    2020     I served the            faregoing document described               as PLAINTIFF S
                         EVIDFNTIARY OBJECTIC NS T4                            1 DECLARATI                N OF JOF N TIGHE IN SIIPPORT OF

             I DEFENDANT S DEMURRER TO COMPLAINT AND 2                                                           DEFENDANT S REQUEST FOR
       I JUDICIAL NQTICE IN SUPPC RT OF DEMUI RER TO COMPLAINT on the following
    g j person s in tlie manner indicated
    g                                                                   SEE ATTACHED SERVICE LIST


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                                     BY MAIL             I arn familiar with the practice of Pacific Trial Attorneys for collectian and
                         processmg          of correspandence      for mailing      with   the United    States Postal Servlee         Carresponder ee so


                     i coilected and processed is depasited with the United States Postal Service that same day in the ordinary
12                     caurse ofbusiness Qn this date a copy of said document was placed in a sealed envelope with pastage
                         fially prepaid addressed as set forth herein and such envelope was placed for callection and mailing at
    3 I                  Pacific Trial Attorneys Newpart Beach California following ordinary business praetices
    4
                                     BY 4VETZNIGHT FEDERAL EXPRESS                                 I am familiar with the practice of Pacific Trial

15                       Attorneys for collection and processing of correspondence far delivery by averniglit courier
    I Correspandence so collected and processed is deposited in a box or other facility regularly maintained
16 i by Federal Express that same day in the ardinary caurse of business On this datc a copy af said
             I dacume it was placed in a sealed envelope designated by Federal Express with delivery fees paid or
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             I px vided for addressed as set forth herein and such envelope was placed for delivery by Federal Express
                     j   at   pacific Trial At     arneys   Newport        each     California      following   ordinary business practices
    g                                                                                                                                                                   i
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1   c                                BY HAND DELTVERY                   Iam familiar   with the practice of Pacific        Trial Attorneys for      collection          i
                                                                         for hand                                                 doculnent t be delivered              i
                         and   processing      af corres    ondence                 delivery by      courier    I caused   such

20                       by   hand     to the addxesse s     designated                                                                                                 I


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                                     BY ELECTRONIC TRANSMISSION                            I serv d electronically from the electronic noti cation
                                                                                       tl c       dacument described                                         this
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                         address       of   mjung   apacifictrialattorneys com                                             above    and     a    copy   of
                                                                                                                                                                    i
                         declaration        ta the person    and   at   the electronic notification address set forth             lierein       The electronic

23                       transmissian was reparted as camplete and without errar



24                                 I declare under penalty af perjury under the laws of the State of Califoz rzia that the foregoing is
                         true and correct and that this declaration was executed a                             10 2020 at Newport Beach Califarnia
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27       I                                                                           Mandy Jung

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         I       I                                                                                                                                                  I




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        Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 120 of 168 Page ID #:123

            I

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                                                      SERVICE LIST
    2

                Carter L Norfleet   Esq                          Attorneys for Defendant
    3
                BAKER     HOSTETLER LLP                          Genesco Inc

    4           11601 Wilshire Boulevard Suite 1400

        I       Los Angeles CA 90025 0509
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     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 121 of 168 Page ID #:124

SUPERIOR         COURT         COUNTY      OF       SAN   BERNARDINO

San    Bernardino            District           Civil

247    West      Third Street


San    Bernardino            CA 924150210


Office     Hours         8    a m
                                       4 p m




TO



FROM       SAN   BERNARDINO          COUNTY          SUPERIOR       COURT   San    Bernardino   District     Civil




                                    NOTICE          OF RETURN       OF DOCUMENT      S



CASE    NUMBER       CIVD51939376

CASE    NAME         LICEA V         GENESCO          INC




     COMMENTS



           DEMURRER TO COMPLAINT is returned by Court for the following
           reason    s         FILED       ON   3    11   20    DUPLICATE




                                                                       when                       Thank    You
            Please                  this    notice        attached             resubmitting
Note                     keep




                                                                     DAISY   BAILON
05    18   20                                                  By

                                                                       Deputy Clerk




                                    NOTICE      RETURNING           DOCUMENT   S
                Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 122 of 168 Page ID #:125
Notice           NOR     has      been   printed   for   the
                                                               following Attorney   Firms
or       Par    ies    for   Case   Number    CIVDSI939376      on   5j18j20




     BAKER            HOSTETLER      LLP
     1    601   WILSHIRE BOULEVARD
     SUITE       14Qp
     LOS    ANGELES          CA    90025
     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 123 of 168 Page ID #:126

                                              COUNTY OF SAN BERNARDINQ                             SUPERIOR CQURT
                                                                 SAN BERNARDINO                    JUSTICE       CENTER
                                                     247       WEST    THIRD        TREET

                                                     SAN       BERNARDINO           CA         92415          0210




                                                                                    CLERK           S   N    TICE    OF   CONTINUANCE
                                                                                        CASE       NO        CIVDS1939376



Tit1e       of    Case          LICEA          V    GENESCO          INC


Par y Noticed




PLEASE          TAKE      NOTIGE


On    the       Court      s        Motion           the       hearing      re      DEMURRER            TO     CQMPLAINT

presently          set          in thi              case
                                                                is hereby reset far hearing an



                      06j23j20            AT         8    30    IN   DEPARTMENT              S32




No further natice will be sent by the court
If    an    answer         has           nat   been        filed      with        the    cour            Plaintift         must      serve

Defendant             s    with           this       notice




                                         CERTIFICATE OF                SERVICE          BY    MAIL


I hereb           certify that I am a citizen of the Uni ed States af America
           the    age          of    18        a    reSident         of     the    above       named          Count       and   State
over

nat    a                   to        nor       intere          ted   in      the    praceeding                 named      in    he    ti   le
         party
of     he above            Notice              of Continuance
I am       a    Deputy          Clerk          in    the       above       named    Coun       y        On    the    date of mailing
shown       below              I deposited                in the       U     S     Mail        a        the    location         shawn        a

sealed          envelape                 pos    age       prepaid           which contained                   a true copy of            thiS
natice          and       was       addressed             as    shown       above


Date       of                            04    03    20
                 Mailing
Place       of                            San       Bernardino              Califarnia
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Execu       ed    on       a        o3    aa        at    San    Bernardzno              CA
                                                                                        KIM    ALLAIN
                                                                             By

                                                                                                        Clerk
                                                                                        Deputy
             Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 124 of 168 Page ID #:127
Notice       HCONT        ha     been   printed   for   he   ollowing Attorneys         Firms
or    Parties       for   Case      Number   CIVDS1939376    on   4j03j20




     PACIFIC    TRIAL ATTORNEYS                                   BAKER     HOSTETLER     LLP
     4140    NEWPORT      PLACE     DRIVE                         116Q1   WILSHZRE     BQULEVARD

      UITE    800                                                 SUITE   14Q0

     NEWPORT   BEACH           CA   92660                         LOS   ANGELES   CA    9Q025
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             4     2:20-cv-08227
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                                                       Flaintiff                                     an VV l r d J Sehneider 3r              Qept S32

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                         az          Document 2 Filed 09/08/20 Page 126 of 168 Page ID #:129
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                           1                                         D   CLARAT QN OF IOEL GRiSW0                     1


                           2               I Joel Griswo d declare as follows

                           3                1         I am an atiomey duty licensed ta practice law before all coartsofthe State ofFlorida
                           4   and   7liinois      and   I am a partn r with Baker        Hostctler LLP counsel of record for De endaz t           I

                           5   have personal knawledge of the facts srated below and if ca ted upon to do so cauld aa d wo rld

                           6   competendy testify as fallovvs
                           7               2         T tis declaration is submitteti in suppoxt af Defendant s i emuxrer to Plsintiff Luis

                           S   Licea s Ctamplaint

                           9               3         On rlarch 6 202p I conf rred wit k 1au tiff s c4unsel via electro            c mail in which
                       i0      I   set   fort x   t3re 1ega1 hases   far fling   the De nurrer   On March 9 2020 I met arad co fen eci by

                       1       teleg     one with pla       c   s    caursel   Victoria   nowtes   1   explained     efendant s reasoxas   or   ing

                      I2       the Demurer Ms Knowt s inform d me tbat Plai tiff ra tends hat the cIaisnc i                        the Complaint
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      o       z
                       13      agais st r3efendarxt re sufficiently leaded arad Plain iff daes not believe Defendaat wa d prevai
      xmi



              S        I4      oz t e Demurrer


                                           7 declare und r pexzalty afperjury under the aws of the Statc ofCslifornis ti3at ffie foregoing
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                       16      is true and canecL


                       27                  Execz t d t is 1l th      day of March     2020 at Wi nde     ere Flori


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                                                                                                             Denise Walker
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              Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 128 of 168 Page ID #:131


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              1    arter L Norfleet SBN 31 152
                  BAKER      HOSTETLER LLP
              2   11601 VVilshire Boulevard Suite 140fl
                  Los Angeles CA 90025 0509                                               p qr
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              4   Email         cnarfleet@bakerlaw   com                                                                    r
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              5   Attorneysfor Defendant                                                                                    fI
                  GENESCOINC
                                                                                                   s


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                                   SUPERI4R C4URT OF THE STATE QF CALIFQRNIA

              9                                 CCIUI ITY OF SAN BERNARDINO

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          1       LUIS LICEA    an individual                         Case No    CIVDS193937
J




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j
F i   j
                                    Plaintiff                         Hon Wilfred J Schneider Jr                    Dept S32

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    Z6a
                            v                                         DEFENDANT S NOTICE OF
                                                                      DEMUI7 RER ANI DEMUF RER TtJ
      a   14                                                          PLAINTIFF LUIS LICEA S
                   ENESCO INC a Tennessee       corporation

                  andDOES 1 14 inclusive                              COMPLAINT
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                                    Defendant                         Filed Concurrently With
                                                                      1   Demurrer
                                                                      2   Declaration afJoel Griswold
              7                                                       3   Declaration afJohn Tighe
                                                                      4   Request for Judicial Notice


                                                                      Hearing Date Apri13Q 2020
          19                                                                  Time 34 a m
                                                                      Hearing
                                                                      Courtroom Dept S32
          20
                                                                      Date Action Filed       December 30 2019
          21                                                          Trial Date

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                                                 DEFENDATVT S NGTICE OF DEMLTRRER AND bEMURR ERTO PLAINTIFF S COMPLAINT

                                                                                                            CASE NC                  CNL1S1939370
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 129 of 168 Page ID #:132



             1            TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR

            2    RESPECTIVE COUNSEL OF RECORD


             3            PLEASE TAKE NOTICE that on Apri130 2020 at 8 30 a m              or as soon thereafter as the


            4    matter may be heard in Department S32 of the Superior Court of the County of San Bernardino
             5   located at 247 West Third Street San Bernardino        CA 92415 0210 Defendant GENESCO INC

             6   hereafter    Defendant     will and hereby does demur to the causes of action asserted in LUIS
             7   LICEA    s    Plaintiffl   Complaint against Defendant      pursuant to California Code of Civil

             8   Procedure     CCP     Section 430 10   e   on the following grounds

             9            The Demurrer is brought   pursuant    to Code of Civil Procedure   section   430 10    e   on the


            10   grounds that Plaintiff has failed to plead sufficient facts in his Complaint to state a claim upon

            11   which relief can be granted
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aa          12            The Demurrer is based on this Notice the Demurrer the Declaration of Joel Griswold the
JF aN
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0                Declaration of John Ti g he Defendant s Re quest for Judicial Notice and a11 other matters which the
xz      6
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W           14   Court properly may consider
a                 Dated       March 1 l 2020                            Respectfully submitted
            15


            16                                                          BAKER      HOSTETLER LLP

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            18
                                                                        By
                                                                              Carter L Norfleet
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            20                                                          Attorneys for Defendant
                                                                        GENESCO INC a Tennessee corporation
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                                                  DEFENDANT S NOTICE OF DEMURRER AND DEMURRER TO PLAINTIFF S COMPLAINT
                                                                                                       CASE NO   CIVDS1939370
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 130 of 168 Page ID #:133



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            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 131 of 168 Page ID #:134



                1   Carter L Norfleet SBN 318152
                    BAKER      HOSTETLER LLP
                2   11601 Wilshire Boulevard Suite 1400
                    Los Angeles CA 90025 0509
                3   Telephone
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                                  310 820 8800
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                5   Attorneys for Defendant                                                             Zp
                    GENESCO INC
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                g                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                9                                  COUNTY OF SAN BERNARDINO


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            11      LUIS LICEA        individual                         Case No
                                 an                                                 CIVDS 1939376
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            12
W   a   N
                                       Plaintiff                         Hon Wilfred J Schneider Jr                Dept S32
WaW
            13             v                                             DEFENDANT S REQUEST FOR
    zo o                                                                 JUDICIAL NOTICE IN SUPPORT
        a   14
W                   GENESCO INC a Tennessee        corporation           DEMURRER TO COMPLAINT
                     d DOES 1 10 inclusive
            15
                                                                         Filed Concurrently With
                                       Defendant                         1   Notice of Demurrer
            16                                                           2   Demurrer
                                                                         3   Declaration of Joel Griswold
            1                                                            4   Declaration of John Tighe

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                                                                         Hearing Date
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                                                                         Courtroom

            20                                                           Date Action Filed     December 30 2019
                                                                         Trial Date
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                                              DEFENDANT S REQUEST FOR J JDICIAL NOTICE IN SUPPORT OF DEMURRER TO COMPLAINT

                                                                                                             CASENO        CNDS1939370
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 132 of 168 Page ID #:135




             1            Defendant Genesco Inc           Def   ndant   or    Genesco         by and through its undersigned

             2   counsel pursuant to California Rules of Court Rule 3 1113 1 and 3 1320 hereby respectfully

             3   submits   this Request for Judicial Notice       Defendant asks the Court to take judicial notice of the

             4   document attached as Exhibit A to the Declaration of John Tighe which Defendant also attaches


             5   here as Attachment 1 to this Request for Judicial Notice


             6            Pursuant to Defendant s Request and based on Evidence Code section 452 h the Court may

             7   take judicial   notice of   Defendant   s web page and the   fact that the   webpage
                                                                                                        expressly   states   If you


             8   are using a screen reader and are having problems using this website please call 1 888 324 6356
             9   for assistance in English or 1 866 322 9099 for assistance in Spanish

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            11    Dated      March 11 2020                                   Respectfully submitted
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        w                                                                    BAKER        HOSTETLF1 LLP
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u                                                                            By
                                                                                   Carter L Norfleet
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            16                                                               Attorneys for Defendant
                                                                             GENESCO INC a Tennessee corparation
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Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 133 of 168 Page ID #:136
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                1                                          PROOF OF SERVICE


                2           I am employed in Los Angeles County California I am over the age of eighteen years
                3    and not a party to the within entitled action My business address is 11601 Wilshire Boulevard
                4    Suite 1400 Los Angeles CA 90025 0509 On March 11 2020 I served a copy of the within

                5    document s


                6           DEFENDANT S REQUEST FOR JUDICIAL NOTICE IN SUPPORT DEMURRER

                7    TO COMPLAINT


                g                           by placing the document s listed above in a sealed envelope with postage
                                            thereon fully prepaid the United States mail at Los Angeles California
                9                           addressed as set forth below I am readily familiar with the firm s
                                            practice of collection and processing correspondence for mailing Under
                10                          that practice it would be deposited with the U S Postal Service on that
                                            same day with postage thereon fully prepaid in the ordinary course of
                11                          business I am aware that on motion of the party served service is
                                            presumed invalid if postal cancellation date or postage meter date is more
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                                            a pre paid air bill in the care and custody of Golden State Overnight
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                                            and causin g the envelope to be delivered to a Golden State Overni ght
                                            agent for delivery on the next business date
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                                            by transmitting via electronic mail the document s listed above to the
                16                          e mail address es set forth below on this date and the transmission was
                                            reported as complete and without error
                17

                     Scott J Ferrell Esq
                1g
                     Pacific Trial Attorney APC
                     4100 Newport Place Drive Suite 800
                 9   Newport Beach CA 92660
                     Tel 949 706 6464
                20   Fax 949 706 6469

                21          I declare under penalty ofperjury under the laws ofthe State of California that the above
                22   is true and correct


                23          Executed   on   March 1 l 2020   at   Los An   les California


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                                                                                        Denise Walker
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             Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 137 of 168 Page ID #:140




            1    Carter L Norfleet SBN 318152
                 BAKER         iOSTETLER LLP
            2
                 11601 Wilshire Boulevard Suite 1400
                 Los Angeles CA 90025 0509                                      FR
            3
                 Tele hone      310 820 8800                              AN
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                                                                                      Y     f



            4    Facsmile       310 820 8859                                                      ca         Q    A

                 Email          cnorfleet@bakerlaw com                                                 a r   an

            5
                 Attorneysfor Defendant
            6    GENESCO INC




            8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA

            9                             FOR THE COUNTY OF SAN BERNARDINO

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            11    LUIS LICEA     an   individual                 Case No CIVDS1939376

a   a
            12                    Plaintiff                      Hon Wilfred J Schneider Jr Dept S32
l   F w7
    aW

            13           v
oW                                                               DECLARATION OF JOHN TIGHE IN
                                                                 SUPPORT OF DEFENDANT S
a       a   14    GENESCO INC a Tennessee          corporation
                                                                 DEMURRER TO COMPLAINT
6                 and DOE S 1 1 0 inc lu sive

            15
                                  Defendants
                                                                 Hearing Date April 30 2020
                                                                 Hearing Time 8 30 a m
            16                                                   Courtroom      S32

            17                                                                            December 30 2019
                                                                 Action Filed
                                                                 Trial Date
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                             DECLARATION OF JOHN TIGHE IN SUPPORT OF DEFENDANT S DEMURRER TO COMPLAINT
                                                                                                CASE NO CIVDS 1939370
           Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 138 of 168 Page ID #:141




               1                                                       DECLARATION OF JOHN TIGHE

               2              I John Tighe declare as foIlaws

               3              I                I   am       the    Seniae Vice Pr         esident       far Jounleys         a   division     of   Genesco Inc         This

               4   declaratior           is      affered        in sup     aart    of   Defenda      7t   Genesco Inc            s       Defendant      or   Genesco


               5   Deinur     er       to     Plaintiff Luis Licea                s   Complaint            I   am over the               e   of   t8   I have personal

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               9   provide customer support through our national customer service center Tl1is includes custon ers

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           20      screen readiilg tecl t ology

           21               5                 Quarterly            WCAG tests are run on journeys com to ei sure its canti ued

           22      compatibiIity             with screen            readin
                                                                                 technology Tl e WCAG tests to date have not identified any
           23      compatibility issues with the accessibility baruier
           24               6                 Jo     trneys       provide        customer support with live custo ner service                            epresentatives

           25      tl raugh       the         toll   fi    ee     numbers        listed   in   the        accessihility          ban   xer    The custo ner      service

           26      representatives a e trained to assisc all Website users i cluding bli 7d ar visually irnp ired users

           27      wit11 making purcllases completixig orders a d navigating the Website
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                                  DECLARATtON QF JOHN TiGHE IN SUPPtJRT QF pGFCNDANT S UEMURRER TO COMPLAII lT
                                                                                                                                              CASE NO C1VDS1939370
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           Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 139 of 168 Page ID #:142




            1           7       Sliould blind or visuatly impairecl Website users encounter any issue with the

           2    Website they have the opportunity to call the toll free number in the accessibility banner to
           3    receive assistance from a live customer service representative ta access the information goods

           4    and services on the Website

           5            8       Journeys maintains records of all calts placed to custoiner service representatives

           6    through the toll free numbers listed in the accessibility banner I reviewed these call records aud
            7   determined t11at as of March 5 2020 Journeys has not received a single phone call fi om Liis

            8   Licea

           9            I declaie under penalty of perjury under the laws of California and tlle United States of
           10   America that the foregoin   is trt e ai d correct

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           12           Eaecuted March          2020 at Nashville Tennessee
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                            DECLARATION OF JOHN TIGHE IN SUPPORT OF DfiFENDANT S DEMURRE R CO COMPLA NT
                                                                                                    CASE NO ClVDS1939370

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Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 140 of 168 Page ID #:143
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      Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 143 of 168 Page ID #:146




      1                                             PROOF OF SERVICE

      2           I am employed in Los Angeles County California I am over the age of eighteen years

      3    and not a party to the within entitled action My business address is 11601 Wilshire Boulevard
      4    Suite 1400 Los Angeles CA 90025 0509 On March 11 2020 I served a copy ofthe within

      5    docutnent s


      6           DECLARATION OF JOHN TIGHE IN SUPPORT OF DEFENDANT S

      7    DEMURRER TO COMPLAINT


      8                           by placing the document s listed above in a sealed envelope with postage
                                  thereon fully prepaid the United States mail at Los Angeles California
      9                           addressed as set forth below I am readily familiar with the firm s
                                  practice of collection and processing correspondence for mailing Under
      10                          that practice it would be deposited with the U S Postal Service on that
                                  same day with postage thereon fully prepaid in the ordinary course of
      11                          business I am aware that on motion of the party served service is
                                  presumed invalid if postal cancellation date or postage meter date is more
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  o                               a pre paid air bill in the care and custody of Golden State Overnight
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W                                 and causing the envelope to be delivered to a Golden State Overnight
                                  agent for delivery on the next business date
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                                  by transmitting via electronic mail the document s listed above to the
      16                          e mail address es set forth below on this date and the transmission was
                                  reported as complete and without error
      17

           Scott J Ferrell Esq
      1g
           Pacific Trial Attorney APC
           4100 Newport Place Drive Suite 800
      i9   Newport Beach CA 92660
           Tel 949 706 6464
      20   Fax 949 706 6469

      21          I declare under penalty of perjury under the laws ofthe State of California that the above
      22   is true and correct


      23          Executed   on   March 1 l 202Q      at   Los Angele      California


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                                                                                     Denise Walker
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        Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 144 of 168 Page ID #:147



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            1       Carter L Norfleet SBN 3181 S2
                    BAKER      H4STETLER LLP
            Z       11601 Wiishire Boulevard Suite 1400                             U
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            S       Attorneysfor Defendant                                                  4




                    GENESCO INC                                                     y   1            j




            8                         SUPERIOR COU12T OF THE 5TATE OF CALIFORNIA

                                                   C4UNTY UF SAN BERNARDINU

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        1           LUIS LICEA   an   individual                    Case Na    CIVDS 1939376
J

w                                     Plaintiff                      Hon Wilfred J Schneider Jr                            Dept S32
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oW                         v                                        DECLARATIC N OF JC EL GRISW4LD
    a                                                               IN SUPPURT UF DEFENDANT S
        14            ENESCO INC a Tennessee       corporation      NOTICE OF DEMURRER AND
                    and DOES 1 10 inclusive                         DEMU1tRER TO PLAINTIFF LUIS
        l
                                                                    LICEA S COMPLAINT
                                      Defendant
        1
                                                                    Hearing Date Aprii 30 2020
                                                                    Hearing Time 8 30 a rn
        17                                                          Caurtroam S32

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                                                                    Date Actian Filed           December 30 20I9
                                                                    Trial Date
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                                                                 DECLARATION OF JOEL GRISWflLI IN SUPPORT QP DEMURRER
                                                                                                             CA3E NO CIVDS                   193437q
          Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 145 of 168 Page ID #:148




           1                                        DECLARATION OF JOEL GRISWOLD


           2               I Joel Griswo d declare as follows

           3               1           I am an attorney duty licensed to prdctice law before all courts of the State of Florida
           4   and   Illinois     and    I   am a paztner with    Baker   Hostetler LLP   counsel of record   for Defendan    I


           5   have personal knowledge of the facts stated below and if called upon to do so could and would

           6   competendy testify as follows
           7               2           This declaration is submitted in support of Defendant s Demurrer to Plai ntiff Luis

           8   Licea s Complain


           9               3           On March 6 2020 I conferred with Plaintiffs counsel via electronic mail in which

          10   I         forth   the   legal bases for
                   set                                   filing   the Demurcer   On March 9 2020 I met and conferred by
          11   telephone with Plainti             s counsel   Victoria Knowles    I explained Defendant s reasons for filing
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          12   the Demurer Ms Knowles informed me thal Plaintiff cflntends that the claims in the Complaint
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          13   against Defendant are sufficiently pleaded and Plaintiff does not believe Defendant would prevail
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          14   on the Demurrer
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          15               I de lare under penalty of perjury under the laws ofthe State of California that the foregoing
          16   is true and correc

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                           Executed this 11 th day of March 2020 at Windermere Flori
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          19                                                      JO       SWOLD

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                                                                           DECLARATION OF OEL GRiSWOLD IId SUPPORT OF DEMURRIIt

                                                                                                           CASE NO CNDS1939370
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 146 of 168 Page ID #:149



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              Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 147 of 168 Page ID #:150


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              1    arter L Norfleet SBN 31 152
                  BAKER      HOSTETLER LLP
              2   11601 VVilshire Boulevard Suite 140fl
                  Los Angeles CA 90025 0509                                               p qr
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                  Facspmle      314 820 88 9                                                                                          r
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              4   Email         cnarfleet@bakerlaw   com                                                                    r
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              5   Attorneysfor Defendant                                                                                    fI
                  GENESCOINC
                                                                                                   s


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                                   SUPERI4R C4URT OF THE STATE QF CALIFQRNIA

              9                                 CCIUI ITY OF SAN BERNARDINO

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          1       LUIS LICEA    an individual                         Case No    CIVDS193937
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F i   j
                                    Plaintiff                         Hon Wilfred J Schneider Jr                    Dept S32

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                            v                                         DEFENDANT S NOTICE OF
                                                                      DEMUI7 RER ANI DEMUF RER TtJ
      a   14                                                          PLAINTIFF LUIS LICEA S
                   ENESCO INC a Tennessee       corporation

                  andDOES 1 14 inclusive                              COMPLAINT
          1

                                    Defendant                         Filed Concurrently With
                                                                      1   Demurrer
                                                                      2   Declaration afJoel Griswold
              7                                                       3   Declaration afJohn Tighe
                                                                      4   Request for Judicial Notice


                                                                      Hearing Date Apri13Q 2020
          19                                                                  Time 34 a m
                                                                      Hearing
                                                                      Courtroom Dept S32
          20
                                                                      Date Action Filed       December 30 2019
          21                                                          Trial Date

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                                                 DEFENDATVT S NGTICE OF DEMLTRRER AND bEMURR ERTO PLAINTIFF S COMPLAINT

                                                                                                            CASE NC                  CNL1S1939370
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 148 of 168 Page ID #:151



             1            TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR

            2    RESPECTIVE COUNSEL OF RECORD


             3            PLEASE TAKE NOTICE that on Apri130 2020 at 8 30 a m              or as soon thereafter as the


            4    matter may be heard in Department S32 of the Superior Court of the County of San Bernardino
             5   located at 247 West Third Street San Bernardino        CA 92415 0210 Defendant GENESCO INC

             6   hereafter    Defendant     will and hereby does demur to the causes of action asserted in LUIS
             7   LICEA    s    Plaintiffl   Complaint against Defendant      pursuant to California Code of Civil

             8   Procedure     CCP     Section 430 10   e   on the following grounds

             9            The Demurrer is brought   pursuant    to Code of Civil Procedure   section   430 10    e   on the


            10   grounds that Plaintiff has failed to plead sufficient facts in his Complaint to state a claim upon

            11   which relief can be granted
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aa          12            The Demurrer is based on this Notice the Demurrer the Declaration of Joel Griswold the
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0                Declaration of John Ti g he Defendant s Re quest for Judicial Notice and a11 other matters which the
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W           14   Court properly may consider
a                 Dated       March 1 l 2020                            Respectfully submitted
            15


            16                                                          BAKER      HOSTETLER LLP

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                                                                        By
                                                                              Carter L Norfleet
            19


            20                                                          Attorneys for Defendant
                                                                        GENESCO INC a Tennessee corporation
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                                                  DEFENDANT S NOTICE OF DEMURRER AND DEMURRER TO PLAINTIFF S COMPLAINT
                                                                                                       CASE NO   CIVDS1939370
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 149 of 168 Page ID #:152



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                     cott J Ferrell Esq
            18      Pacific Triai Attorne          APC
                    41 QQ I tewport Place Drive Suxte 00
            1       l Tewport Beaeh CA 926 0
                    Tel 949       6 6464
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            21               I de lare under p enalty of perjury under tl e laws o the State c f Calif rnia that the above
                2   is true anci carrect


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    Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 150 of 168 Page ID #:153
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          8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

          9                               FOR THE COUNTY OF SAN BERNARDINO

      10                           individual
              LUIS LICEA      an                                         Case No            CIVDS1939376

      1
                                    Plaintiff                             Hon Wilfred J            Schneider Dept S32

      12
                     vs                                                            ORDER GRANTING
                                                                         STIPULATION TO EXTEND TIME TO
      13      GENESCO INC              Tennessee
                                   a               corporation           RESPOND TO COMPLAINT
              and DOES 1 10 inclusive
      14

                                    Defendants
          5
                                                                         Complaint filed           December 30 2019

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                                                ORDER GRAN1lNG STIPULAIION TO C XTEND TIME TO RFSPOND TO INITIAL COMPLAINT
                                                                                                                     CaseNo   CIVDS1939       76



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        Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 151 of 168 Page ID #:154                                            r   a




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        FEB 0 6 2020

SAN   BERNARDINO COUNTIP
Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 152 of 168 Page ID #:155




   1                                                       ORDER

   2            Upon consideration ofthe foregoing stipulation of the Parties and good cause appearing it

   3   is hereby ORDERED as follows Defendant Genesco Inc shall have through and including March

   4   1 l   2020 to respond to the Complaint in this matter


   5            IT IS SO ORDERED


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       Dated                   2020
   g
                                               H     ORA          WILFRED J SCHN             ER JR

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                                  D ORDER GRAN IING STIPULATION TO EX I END TIME I O R SPOND TO INI IIAL COMPLAIN I
                                                                                               Case No           CIVDS193937G
                                                                                                         1   S   19   0067 7 i ib I
            Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 153 of 168 Page ID #:156




               1                                         PROOF OF SERVICE


               2           I am employed in Los Angeles County California I am over the age of eighteen years
                   and not a party to the within entitled action My business address is I 1601 Wilshire Boulevard
               3
                   Suite 1400 Los Angeles CA 90025 0509 On February 6 2020 I served a copy of the within
                   document s
               4

                      PROPOSED ORDER GRANTING STIPULATION TO EXTEND TIME TO
               5
                     RESPOND TO COMPLAINT

               6
                         by placing the document s      listed above in a sealed envelope with postage thereon fully
                    H    prepaid   the United States mail at Los Angeles       California   addressed   as set   forth below            I

                         am readily familiar with the firm s practice of collection and processing correspondence for
               g         mailing Under that practice it would be deposited with the U S Postal Service on that same
                         day with postage thereon fully prepaid in the ordinary course of business I am aware that
               9         on motion of the party served service is presumed invalid if postal cancellation date or
                         postage meter date is more than one day after date of deposit for mailing in affidavit
              10
                         by placing the document s listed above in a sealed envelope and affixing a pre paid air bill
               1         in the care and custody of Golden State Overnight and causing the envelope to be
                         delivered to a Golden State Overnight agent for delivery on the next business day
c              2
                         by transmitting via electronic mail the document s listed above to the e mail address es
    z                    set forth below on this date and the transmission was reported as complete and without
        u      3
xZ                       error


    O         l4
Y   2                    by electronic service via the Court s Electronic Filing Service Provider pursuant to
               5         California Rules of Court Rule 2 251 C           3 the document s listed above to the person s
                         at the e mail address es   set forth below

              16

                   Scott J Ferrell Esq
                   PACIFIC TRIAL ATTORNEYS APC
                   4100 Newport Place Drive Ste 800
               g   Newport Beach CA 92660
                   TeL 949 706 6464
               9   Fax   949 706   6469


              20


              21            I declare under penalty of perjury under the laws of the State of California that the above
                   is true and correct Executed on February 6 2020 at Los Angeles California
              22

                                                                  s   Mar       Williams
              23
                                                                 Mary            iams


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                                                                                                           Case No   CIVDS1939376

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           Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 154 of 168 Page ID #:157




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                                                                                                                                              r
                    1   Carter L Norfleet SBN 318152
                                                                                     SCo   Nbp
                                                                                                 CpURT




                                                                                                               FD
                        BAI R                                                                    OF                 CA                    r
                                   HOSTETLER LLP                                     SqN B            Sq                 IFpR
                   2                                                                                  fN




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                                     l                       1400
                        Los Angeles CA 90025 0
                                                                                                           C
                                                                                                                         MS
                   3    Telephone    310 820 8800
                                                                                             EB 2
                                                                                                           ZQ
                        Facsimile        310 820 8859
                   4    Email            cnorfleet@bakerlaw com

                                                                                         ry GA
                   5    Attorneys fot Defendant
                        GENESCO INC
                   6
                        Scott J Ferrell SBN 202091
                   7    PACIFIC TRIAL ATTORNEYS
                        A PROFESSIONAL CORPORATION
                   8    4100 Newport Place Drive Ste 800
                        Newport Beach CA 92660
                   9    Tel   949 706 6464
                        Fax   949 706 6469
               10
                        Attorneys for Plaintiff
               11       LUIS LICEA
0




               12                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
a aQ N
F
W
    F Wi

orz
               13                                   FOR THE COUNTY OF SAN BERNARDINO
x z


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               14       LUIS LICEA       an   individual                  Case No     CIVDS 1939376

               15                             Plaintiff                    Hon Wilfred J Schneider Jr                Dept S32

               16                S                                        STIPULATION TO EXTEND TIME TO
                                                                          RESPOND TO COMPLAINT
               1
                        GENESCO INC           a Tennessee corporation
                        and DOES 1 10 inclusive
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                                              Defendants                  Complaint filed    December 30 2019
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                                                                        ST PLI ATION TO EXTEND TIME TO RESPOND TO COMPLAINT
                                                                                                           CASE NO         CNDS 1939376
         Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 155 of 168 Page ID #:158   1


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h                 Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 156 of 168 Page ID #:159




                         1            LUIS LICEA      Plaintiff         GENESCO INC        Defendant
                                                                  and                                       collectively the Parties

                         2
                             by and through their counsel of record llereby stipulate and agree as follows
                         3            On December 30 2019 Plaintifffiled the Complaint in this matter Defendant s responsive

                         4   pleading is currently due on February 10 2020
                         5
                                      On February 4 2020 the Parties met and conferred regarding potential early resolution of
                         6
                             the matter and agreed to a 30 day extension of time for Defendant to file its responsive pleading
                         7
                             while those discussions are pending
                         8
                                      Because the Parties have agreed to discuss early resolution ofthe matter the Parties believe
                         9
                             that extending Defendant s deadline to respond to the Complaint will promote judicial economy
                      10     and result in a more efficient use of the Parties time and resources as it does not malce sense for

                     11      Defendant to respond to the Complaint if early resolution is possible
    ai
         a           12               Based on the facts and reasons stated above and the Parties agreement on the matter it is
             m
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             Z       13
                             hereby stipulated that Defendant shall have up to and including March 11 2020 to answer or
                     14      otherwise respond to Plaintiff s Complaint

                     15               IT IS SO STIPULATED


                     16

                                                                                   Respectfully submitted
                     1


                     1g       Dated     February   5 2020                          BAKER        HOSTETLER LLP


                     19

                                                                                   By
                     20                                                                   Carter L Nbrfleet


                     21                                                            Attorneysfor Defendant
                                                                                   GENESCO INC
                     22
                              Dated     February 5   2020                          PACIFIC TRIAL ATTORNEYS
                     23                                                            A PROFESSIONAL CORPORA TION


                     2a                                                                    5
                                                                                   By
                     25                                                                   Scott J Ferrell


                     26
                                                                                   Atto neys for Plaintiff
                                                                                   LUIS LICEA
                     27


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                                                                                  STtPULATION TO EXTGND TIME TO KESPOND TO COMPLAINT
                                                                                                                  CASC NO   C1VDS1939376
                Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 157 of 168 Page ID #:160


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                      1                                          PROOF OF SERVICE

                      2          I am employed in Los Angeles County California I am over the age of eighteen years
                          and not a party to the within entitled action My business address is 11601 Wilshire Boulevard
                      3
                          Suite 1400 Los Angeles CA 90025 0509 On February 6 2020 I served a copy of the within
                          document s
                      4


                      5        STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT

                      6
                                 by placing the document s listed above in a sealed envelope with postage thereon fully
                                 prepaid   the United States mail at Los Angeles        California   addressed as set   forth below       1

                                 am readily familiar with the firm s practice of collection and processing correspondence for
                      g          mailing Under that practice it would be deposited with the U S Postal Service on that same
                                 day with postage thereon fully prepaid in the ordinary course of business I am aware that
                      9
                                 on motion of the party served service is presumed invalid if postal cancellation date or
                                 postage meter date is more than one day after date of deposit for mailing in affidavit
                  l0
                                 by placing the document s listed above in a sealed envelope and affixing a pre paid air bill
                                 in the care and custody of Golden State Overnight and causing the envelope to be
                                 delivered to a Golden State Overnight agent for delivery on the next business day
    c             12
                                 by transmitting via electronic mail the document s listed above to the e mail address es
        2                        set forth below on this date and the transmission was reported as complete and without
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    o                            error
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                      4
                                 by electronic service via the Court s Electronic Filing Service Provider pursuant to
                                 California Rules of Court Rule 2 251 C 3 the document s listed above to the person s
                  l5
                                 at the e mail address es   set forth below
                  l6

                          Scott J Ferrell Esq
                          PACIFIC TRIAL ATTORNEYS APC
                          4100 Newport Place Drive Ste 800
                      g   Newport Beach CA 92660
                          Te    949 706 6464
                      9   Fax   949 706 6469

                  20


                  2
                                   I declare under penalty of perjury under the laws of the State of California that the above
                          is true and correct Executed on February 6 2020 at Los Angeles California
                  22

                                                                         s    Mar       Williams
                  23
                                                                         Mary       i    iams


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                                                                                                                  Case No    CIVDS 1939376

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     Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 158 of 168 Page ID #:161

SUPERIOR         COURT            COUNTY       OF    SAN    BERNARDINO

San    Bernardino            District               Civil

247    West      Third       Street



San    Bernardino            CA    924150210



Office      Hours        8    a    m
                                             4 p m




TO



FROM       SAN    BERNARDINO                          SUPERIOR        COURT   San      Bernardino    District     Civil
                                            COUNTY




                                           NOTICE    OF    RETURN     OF   DOCUMENT      S




CASE    NUMBER         CIVDS1939376

CASE    NAME           LICEA           V    GENESCO       INC




     COMMENTS



           STIP    QRDER          TO       EXTEND    TIM    TO    RESPOND          20 CK is returned by
           Court       for    the          following       reason     s     RE   SUBMIT      WITH   1ST APPEARANCE
           FEE    OF     435




Note        Please                     this                                 when                       Thank    You
                         keep                  notice       attached               resubmitting




02    21   20                                                    By       VERONICA     GONZALEZ


                                                                            Deputy Clerk




                                       NOTICE       RETURNING         DOCUMENT     S
             Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 159 of 168 Page ID #:162
Notice       NOR     has been printed for the following Attorneys Firms
or    Parties      for   Case    Number   CIVDS1939376   on   2   21   20




     BAKER      HOSTETLER        LLP

     11601   WILSHIRE         BOULEVARD
     SUITE   1400
     LOS   ANGELES       CA    90025
              Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 160 of 168 Page ID #:163
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1        STREEt ADORESS 247 W THIRD SFW
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         CITY ANQ ZiP COpE SAN BERNARDINO CA 82415
         BRANCH NAME

         PtAINT FPtPE71TIClNER l U S LICEA AN lNOIVIDUA                                                                                                                             cnseNUMeeR CiVDS1939376


         DEFENDANTIRESPaNDENT GENESCO INC                                                                    ET AL


                                                   PRClOF OF SERViCE OF SUMMQNS                                                                                                     R      Nn o F    r0 1103115 1S



                                                     Separate proofof sen fce is required for each party senred
     1        At the me of service I was at least 18 years of age a d not a party to this actinn
     2          1 setved     c        ies of
                    a                     Summons

                    b                     Cornplaint
                    c                     Altemative               k   pute         F    psnlution       ADR                    ge
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                    e                     oress i           Im     int

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                                                            ectif documents                         CERTIFiCATE OF ASSIGNMENT NOTIGE OF TRtAL SETTING GQNFEI2ENCE

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    4              Address            where the                                                         2710 GATEWAY OAKS DR                                   SUiTE 150N
                                                             party was served
                                                                                                        SACRAMENTO CA 95833
    5 1 served the party check pt r aertbaxj
                   a             by    personai s t ttce                        I   personally    c                  d t
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                                 raceiveservice of                     process            far the p          ty lj an dete JA t qF y g 2020                                2   at   trrr     2 l PM

                   b             by substttuted                   service               On date                          at    fime                     I   eft ffie documenis lis ed in item 2

                                 with or in tt              presence af name and ti e or relatinnship to tha perscyn indiceted in item 3
                                          1                  businessj                   s   person      at leas         18   years of age
                                                                                                                                                  apparently in       charge    at the office   or usual            of business
                                                             of the person to be served I infarmed him or her of the genaral nature of the papers
                                          2                  home a competent member of the housahold at least 18 years of agej at the dweiiing house ar usual
                                                             place of abode af the patty I infarrr sd him or her af the gene al nature of the papers
                                                                 P l icat address unknawn                                     a person at       ieast 18      years of     e    p           y in Chat Je t tl       t sual ma ing
                                                                 address            of   the    person         o   be    served       other    than    a    United Sta                      vice p              s   e J in       rrtied
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                                                             date                                                                         or
                                                                                                        city                                         a dectaration of mailing is attached
                                          5                 I attach a declaration af dill ence stating actions taken first to attempt petsonal service



                                                                                                                                                                                                                             Paga 1 of 2



    Fo mado       ar    rra      a roryusa                                                              PROOF CiF SEi2VICE OF 3UN MONS                                                                       coa    ac       P      a      e   10
    JudiciafCouncil of Calitomia
    PqS4 0 Rav Jan aryi 2007t
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        Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 161 of 168 Page ID #:164

    PLANTIFF1PETiT10NER                              UlS LICEA AAt lIVDIVI 7UAL                                                                                      c sENu ns


    DEFENDANT RESPONDENT                                    GENESCO ING                             ET Al                                                            CIVDS19393T6




    5   c        by mall and acknowtedgment of receipt of service I mailed the documents listed in item 2 to the party o tha
                 address shown in item 4 by first class mail postage prapaid


                     J   a                                                                      1 fctty
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        d        by other means specify means of service and autharizing cocie s                                                          ticm
                                  Additional paga dest ibing servic                                    is attached


    6 7he Natice to the Persan Served                                    on the summons was completed as follows
                 a        as an individual defendant
                 b        as the person sued under the fictitious name of specity
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                                  under the faltowing Code of Civii Pra dut s sectian
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                                         416 40            associ             ti   t ts   I     ne t   hiP                     4i         U authorized person

                                         416 50            publ          emit3t                                                49     48 accupant
                                                                                                                          Q Ci        C


    7       Person who served papers
                 a       Name ROBERT J Mfx St iN
                 b       Rddress 840 W 1ST FTREE7                                             SUfTE 200 B
                         L4S AIVGELE8 CAt rF k 1 A 90012
                 c       Telephane number 213 607 90W
                 d       The fea far             servica was                       119 t 0
                 e       1 am                                                                                                                    USA l gal hfEt woric

                         1          not a registered CaAfornia process server
                         2          exempt from registration under Business and Professions Gode section 22350 b
                         3          registered Califamia pracess server

                                                      i                  owner                 Empk    yee       independent contractor
                                                      ii                 Regis rafion No 03 047

                                                      iii                County PLACER

    8        I declare under pena ty of perjury under the laws of the State of Califomia that the fare oing is true and correct
                 Or

    9        I am a Catifornia sherif or marshai and I certify that the faregoing is true and carrect

    Date JANUARY 15 2424




    ROBERT J             MA50N

    NAME OF PERSON WHO SERVE PAPERSISHERIFFOR MAFCSHALL




                                                                                                                                                                                             Paye Z of 2




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    Form Adopted tor  Mandatory Use
    Judiciat Cburwil of Califomia
    Pq5 010 Rev January 1 2007J
           Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 162 of 168 Page ID #:165


                                          SUPERIOR COURT OF CALIFORNIA             COUNTY OF SAN BERNARDINO


         LUIS LICEA                       individual
                                                                                                                            D                   J
                                     an                                                                  Case Fto



                                                 vs


                                                                                                CERTIFICATE OF ASSIGNMENT
         GENESCO INC                       a Tennessee corporation and DOES
         1 1 Oz inclusive



A civil action or proceeding presented for filing must be accompanied by this certificate If the ground is the residence
of a party name and residence shall be stated

The undersigned declares that the above entitled matter is filed for proceedings in the                                                Civil Division
District of the Superior Court under Rule 404 of this court for the checked reason
                                X     General                      0 Collection
                    Nature of Action                        Ground

    O         1     Adoption                                Petitioner resides within the district

    0         2     Conservator                             Petitioner or conservatee resides within the district
              3     Contract                                Performance in the district is expressly provided for
    0         4     Equity                                  The cause of action arose within the district
              5     Eminent Domain                          The property is located within the district
              6     Family          Law                     Plaintiff defendant petitioner or respondent resides within the district
              7     Guardianship                            Petitioner or ward resides within the district or has property within the district
    0         8     Harassment                              Plaintiff defendant petitioner or respondent resides within the district
    0         9     Mandate                                 The defendant functions wholly within the district                                        r
    0       10      Name Change                             The petitioner resides within the district
            11      Personal         Injury                 The injury occurred within the district
    0       12      Personal         Property               The property is located within the district
    0       13      Probate
                                                            Decedent resided or resides within the district or had property within the district
            14      Prohibition                             The defendant functions wholly within the district
            15      Review
                                                            The defendant fiunctions wholly within the district
            16      Title to Real                           The property is located within the district
                                           Property
    0       17      Transferred Action                      The lower court is located within the district

    0       18      Unlawful Detainer                       The property is located within the district
            19      Domestic Violence                       The petitioner defendant plaintiff or respondent resides within the district
           20       Other

    0      21       THIS FILING WOULD NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT

The address of the accident performance party detention place of business or other factor which qualifies this case
for filing in the above designated district is

Location            of     incident                                                                    15627 Nisqualli Rd
            NAME    INDICATE TITLE OR OTHER QUALIFYING   FACTORj                                                  ADDRESS



Victorville                                                                        California                                                         92395
            GTY                                                                    STATE                                                              ZIP CODE




I declare under penalty of perjury that the foregoing is true and correct and that this declaration was executed on
    December 29 2019                                                              Newport Beach
                                                                             at
                                                                                                                                                                California



                                                                                                                   Signature o Attorney Party

1   3 1 8503 3 60 Rev 10   94
                                                                                                     LexisNesis    Autoneated Califoniia        County For ns    S   6503
    Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 163 of 168 Page ID #:166
                      SUPERIOR          COURT OF            CALIFORNIA              COUNTY       OF    SAN    BERNAR DINO




San Bernardina                    District                 Civil
247      West         Third Street


San      Bernardino                CA       924150210




                                                                                    CASE    NO       CIVDS1939376


                                                             NOTICE       OF    TRIAL SETTING                CONFERENCE




IN RE            LTCEA       V    GENESCO         INC


THIS        CASE       HAS       BEEN   ASSIGNED             TO     WILFRED          J   SCHNEIDER           JR     IN    DEPARTMENT       S32
F   R   ALL       PURPOSES


Notice           is    hereby       given             hat    the    above e          titled case has been set                     for
Trial        Se       ting Conference at                     the    court located at                   247 WEST THIRD STREET
SAN     BERNARDINO                 CA       92415          0210


                  HEARING          DATE          06    30    20    at     8    30    in    Dep         S32




DATE         12f30j19                            Eberhardt              Court       Executive          Officer
                                   Nancy
                                                                                                                  DAISY    BAILON
                                                                                                        By


                                    CERTIFTCATE               OF    SERVICE


I   am      a    Deputy       Clerk         of        he    Superior          Court      forCounty o
                                                                                                 the  San

Bernardina             at     the      abave          listed       address
                                                                                  I am nat a party to this
action           and   on     the      da   e    and       place        shawn    below  I served a copy of                        the
above        listed          notice

        Enclosed in a sealed envelope mailed to the interested par y
addressed             above         for     collec          ion     and
                                                                           mailing          this       date        following
standard           Court         practices
        Enclased             in    a   sealed         envelope            first class            postage          prepaid in the
U   S       mail      at     the    location
                                           mailed to the interested party
                                                       shown        above

and     addressed                                above
                              as
                                  or as shown on the attached listing
                                    shown


        A copy af this notice was given ta the filing party at the caunter
        A    copy      o      this      notice         was    placed           in the      bin     located         at     thi    office

and identified as the lacation                                     for     he    abave         law     firm   s    collec       ion   of
file stamped documents

Date                                12j30jS9
            of    Mailzng
I declare             under
                                   penaZty        of
                                                           perjury         hat the foregoing is true and
correct            Executed            an   12j3oj19          a      san      Bernardino               cA


                                                                               BY        DAISY     BAILON




civ     n    sc    2013041
              Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 164 of 168 Page ID #:167
Notice       NTSC         has been printed for    the   following Attorneys   Firms
or    Parties       for    Case Number    CIVDS1939376 on 12   30   19



     PACIFIC    TRIAL       ATTORNEYS
     4100    NEWPORT PLACE        DRIVE
     SUITE    800

     NEWPORT    BEACH        CA   92660
               Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 165 of 168 Page ID #:168
                                                                                                                                                                                                                      CM 01 Q
                                                                                                                                                                                        FOR C U     USE O       Y
ATTORNEY OR PARTY                WITHOUT ATTORNEY                      Name   State 8arnumber   and address



    Scatt J Perrell Bar No 2Q249 i
    PACIFIC TRIAL ATTORNEYS A Professional Corporation                                                                                                                    SUPERIQR COURT F CA iFORNiR
                                                                                                                                                                                                D p
    410Q Newport Place Drive Suite 800 Newpart Beacb CA 92660
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           TELEPHONE NO                  4          O            JCI                            FAX N
                                    t
    ATTqFtNEY FOR        NameJ      PI81Tltlff                                                                                                                                          pEG          U 2019
SUPSRIOR COURT 4F CALIFORNIA coyu rr oF SAN BERNARDINO
          STREETAL1pRESS                L    7      Iest T41jY                Street
       MAILING AODRESS


      o        A o z p    ooE       San Bernardino 92415 0210                                                                                                             Y
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              sr a r cH n AME       San Bernardino District Civil Division
    CASE RIAME

                                                         Licea v Genesco Inc                            et al
                                                                                                                                                                                   BE
       CIV L CASE C4VER SEtEET                                                                       Complex Case Designation

0             Unlimited                      0           Limited
                                                                                                0       Counter                    0 Joinder                                       D
              Amount                                     Amaunt
                                                                                                                                                                     UDGE
           demanded                                      demanded is                         Filed   with     first   appearance               by   defendant
                                                                                                                                     rt                              DEPT
           exceeds               25 000                   25 Q00 or less                             Cal    Rules         of   Co         rule      3 402

                                                                  Items 1 6 belaw musf be oamplefed see insfructions on page 2
1     Check one box below for the case type that best describes this case
      Auto Tort                                                                            Contract                                                         Provesionally Complex Civil Litigation
                                                                                                                                                            CaI Rules of Gaurt rules 3 400 3A48
      0         Auto     22                                                                0         Breach    of contrac           lwarranty 46

      0         Uninsured          motorist         46                                     0         Rule 374Q        collections             09                  Antitrust Trade regulation 03


      Other PIIPDIWD Personal                            tnjurylProperty                   0         Other collec ians              09                            Construction defect          10

      DamagelWrongful Death                             Tort                                         Insurance        coverage           18                 0 Mass tort 40
      0         Rsbestos 44                                                                          pther    contract         37                           0 Securities iitigation 28
                Praduct          Iiability 24                                              Real   Praperty                                                  0 EnvironmentallToxic tort 30
                Medical          malpractice            45                                           Eminent domain Inverse
                                                                                                                                                            0 Insurance coverage claims arising from the
                                                                                                     condemnatian              14                                 above Iisted provisionally complex case
                Other PI1PDiWD 23
                                                                                                     Wrongfui                       33                            types 41
                                                                                                                   eviction
      Non PI PD VND Other                         Tort
                                                                                                     ather                                                  Enforcement af Judgment
                Business torttunfair business                           practice    07
                                                                                                              reai    property 26

                                                                                           Unlawful Detainer                                                      Enforcement of judgment 20
          X     Civil rights            08

                Defamation                                                                           Cammercial 31                                          Miscellaneous Civil Complaint
                                         13j
                Fraud        16                                                                      Residential 32                                               RICO        27

      0          Intellectual property                   19                                0         Drugs     3                                            0 Other camplaint not specified above 42
                 Professional            negligence              25                        Judicia F2eview
                                                                                                                                                            Miscelianeaus Civil Petition
                                                                                                     Asset foH eiture 05
                 Other    non       PI PD WD tort 35
                                                                                                                                                            0 Partnership and corporate governance 21
      Empioyment                                                                                     Petition   re     arbitration award             11
                                                                                                                                                            O Other petitio             naf specified abave 43
      0         Wrongfui termination 36                                                              Writ of mandate 02

                 Other    employment                    15                                           Other judicia review                 39

2      This     case                        is           X        is    not      complex under rule 3 400 of the Califamia Ftules of Court 4f the case is complex mark the

       factors requiring exceptional judicial management
       a              Large         number af                separately         represented parties                       d 0 arge number of witnesses
       b              Extensive                  motion       practice        raising di     cult or novel                e 0 Coardinatipn with related actions pending in one or more courts
                      issues that                wili   be time cansuming to                    resoive                                  in other counties states ar cauntries or in a federai caurt

       a              Substantiai                 amount af             documentary        evidence                       f              Substantial postjudgment judicial supervision


3      ftemedies                             jcheck              1 thaf apply            X                            b        X                                                injunctive
                                                                                                                                                    etary declaratary
                          sought                             a                       a                                               nonmor                                or                  relief       c         punitive
                                                                                                 manetary
4      Number af causes of action specify                                         Qne       1
5      This     case             0 is                             is    not     a class action suit

6      If there are any known related cases file and serve a notice of related case                                                                   You may use form CM 015
Date December 30 2019
                Scatt J Ferretl
                                                 TYPE OR PRINT NAME                                                                                         SIGNATURE OF PARTY OR ATTORNEY FOR PARTY

                                                                                                                      NQTICE

       Plaintiff must file this cover shset with the first paper filed in the action or proceeding except small claims cases or cases filed
       under ths Probate Code Family Code or Welfare and Institutions Code               Cal Rules of Court rule 3 220 Failure to file may result
       in sanc ions
       File this cover sheet in eddition to any cover sheet required by ocal court rule
       If this case is cnmplex under rule 3 4p0 et seq of the California Rules of Caurt you must serve a copy of this cover sheet on all
       ather parkies ta the action ar proceeding
       Un ess this is a coitectians case under rule 3 740 or a complex case this cover sheet will be used for statistical purposes only
                                                                                                                                                                                                                          a   e1of2

FQG  Aao tea ro nna aaton u                                                                                                                                               cai   Ruies ot coun Neg z so s zzo s aoa s aos s      ao
                                                                                            CIVIL CASE COVER SHEET
  Judicial ouncil ofCalifomia                                                                                                                                                      CaI Standards ot Judicial AdministraGon std 3 10
     CM tl10    Rev   July   1   2007                                                                                                                                                                           www courtinfo ca gov

                                                                                                                                                            LexisN   is    Automated Californlu Judiclal Cour cilForms
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           Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 166 of 168 Page ID #:169
                                                                                                                                                                                                 cnn o a
                                                            INSTRUCTIONS ON HQW TO COMP                                   ETE THE COVER SNEET
To Plaintiffsand Others Filing First Papers        If yau are filing a first paper far example a cqmplaint in a civil case you must
complete and file along with your first paper the Civil Case Cover Sheet contained on page 1 This information will be used to compile
statistics about the types and numbers of cases filed                          Yau must complefe itsms 1 through 6 an the sheet                                     In item 1           you must check
one box for the case type that best describes the case                            If the case fits both a general and a more specific type af case listed in item 1
check the more specific one If the case has multiple causes of action check the bax that best indicates the primary cause of action
To assist you in campleting the shee examples of fhe cases that belong under each case type in item 1 are provided below A cover
sheet must be filed anly with your initial paper Failure to file a cover sheet with the first paper fi ed in a civil case may subject a party
its caunsei or both to sanctions under rtales 2 3Q and 3 22Q of the California Rules of Courk

To Parties in Rule 3 740 Coliections Gases A callections case under rule 3J40 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than 25 000 exclusive of interest and attorney s fees arising from a transaction in
whicf property sen ices ar money was acguired an credit A collectipns case daes not include an action seeking the fallowing 1 tort
damages    2 punitive damages       3   recovery of real property 4 recovery of personal property ar 5 a prejudgment writ af
attachment              The identification of a case as a rule 3J4Q collections case on this farm means that it will be exempt from the genera
time for service requirements and case management rules unless a defendant files a responsive pleading                                                                A rule 3 740 callections
case will be subject to the requirements for service and obtaining a judgment in rule 3 740
Ta Parties in Camplex Gases        In comptex cases only parties must also use the Civi1 Case Cover Sheet to designate whether the
case is complex f a plaintiff beiieves the case is complex under rule 3 400 af the California Rules of Caurt this must be indicated by
completing the appropriate boxes in items 1 and 2 If a plaintiff designates a case as complex the cover sheet must be served with the
camplaint on all parties ta the actior A defendant may file and serve no later than the time of its first appearance a jainder in the
plaintiffs designation a counter designation that the case is not complex or                                               if the plaintiff has made no designation a designation that
the   case     is   camplex
                                                                               CASE TYPES AND EXAMPLE3
Auto Tort                                                           Contract                                                                     Provisionaliy Compiez Civil Litigation Cai
       Auto    22       Personal     injury Property                    Breach    of   Contract Warranty                  06                     Rules of Caurt Rules 3 400 5 403

           QamagelWrongful C eath                                            Breach      of   F2entaitt        ease                                    AntitrusttTrade Regulation          43

       Uninsured Motorist 46                   if fhe                             Contract           not unlawfut          deta   ner                  Construction Defect          1d

           case      involves      an     uninsured                                      or wrongful eviction                                          Claims Involving Mass Tort 40
           motorist       ctaim sub ect            to                        ContracilWarranty                 Breach Seiler                           Securitiss Litigation        2
                                                                                  Plaintiff         not   traud      or                                Environmental Toxic Tork           30
           arbitration check              this item                                                  negligencej
           instead       of   Auto                                           Negligent Breach of Contract                                              Insurance Coverage Claims

Other PiiPD WQ            Persona                                                 WaRanty                                                                    arising from provisionally camptex
                                             Injury
                                                                             Other Breach            of   ContracUWarranty                                  case fype listed above          41
Property DamagetWrongfui Death
Tort                                                                    Collections       e
                                                                                         moneyg                    owed    open                   Enfarcement of Judgment

       Asbestos 04                                                           book accounts Q9                                                          Enforcement of Judgment 20

           Asbestos                                                          Collectian Gase Seller Plaintiff                                               AbsErac of Judgment Out of
                    Property Damage
                                                                             Qther                           Note Collections                                    County
           Asbestos Personal Injury                                                    Pramissory
                    Wrongful Deakh                                              Case                                                                        Confession af Judgment non
                                                                        Insurance Caverage                 not     provislonatiy
       Product                                                                                                                                                   damestic relafians
                    LiabiiiEy     nof asbestos or
                                                                             complex           18
           toxic                                24                                                                                                          Sister State Judgment
                        nvironmental
       Medical Malpractice                                                   Auto Subrogation                                                               Administrative Agency Award
                                        45
           Medicai Malpractice                                               Oiher Coverage                                                                     not unpaid faxes

                     Physicians            Surgeons                     Other Coniract 37                                                                   Petition Certification of Entry of
           Other Professional Health Care                                    Contractual Fraud                                                                 Judgment on Unpaid Taxes

                     Maipractice                                             Other Contract Dispu                                                           Other Enforcement of Judgment
                                                                                                                    e
                                                                                                                                                                Case
       Other PUPD WD 23                                             Real   Property
           Premises                                                     Eminent Domain Inverse                                                    Miscellaneaus Civil Complaint
                              Liability    e   g     slip
                                                                             Condemnation                                                              RICO    27
                    and   faf                                                                             14
           tntentional                                                  Wrongful Evictian 33                                                           Other Complaint not specified
                               Bodity lnjury         PDNUD
                                                                                                                                                            above    42
                 e g   assault vandalism                                Other Real                                  quiet title     26
                                                                                         Property          e   g
           Intentional Infliction of                                         Writ        Possessian                 Real                                    Declaratory Relief Only
                                                                                    af                         of          Praperty
                     Emotionai Distress                                      Mortgage Foreclosure                                                           Injunctiue Ftelief Only non
                                                                                                                                                                 harassment
           Negligent Infliction            of                                Quiet Title
                     Emotional Distress                                                                                                                     Mechanics Lien
                                                                             Other Rea             Property         not   emrnent
           Other PIIPDlWD                                                                                                                                   Othe Cammercial Complaint
                                                                             domar n tandtordJtenant                      or
                                                                                                                                                                 Case non tort non complex
Non PI PD WD             Other Tort                                          foreclosure
                                                                                                                                                            Other Civil Complaint
       Business Tort Unfair Business                                Unlawful Detainer
                                                                                                                                                                 non fotf non comptex
          Practice       07                                             Gommercial            31
                                                                                                                                                  Misce ianeous Civil Petitian
       Givil Rights      e
                              g   discrimination                        Residential 32
                                                                                                                                                       Partnership and Corporate
           false    arrest        not civil                             Drugs     38j if the        case       involves itlegal                             Goverr ance 21
           harassmenf              d8                                        drugs       check      fhis i      m       afherwise                      qther Petition not specifred
       Defamation         e   g   siander          libei                     report as        Gommercial or F2esidential
                                                                                                                                                            above    43
               13                                                   Judicial Fteview
                                                                                                                                                            Civil Harassment
       Fraud    16                                                      Asset Forfeiture             5
                                                                                                                                                            Workpiace Vioience
       Intellectuai     Property 19j                                    Petitian Re Arbitration Award                      11
                                                                                                                                                            Elder Dependent Adult
       Professianal Negligence                  25                      Writ afMandete 02                                                                        Abuse
           Legal Malpractice                                                 Writ AdministraUve Mandamus
          d her Professianal Malpractice                                                                                                                    Election Gontest
                                                                             Writ Mandamus                on    Limited Court
                    not medical or         legal                                                                                                            Petition for Name Change
                                                                                  Case Matter
       Other Non PI PD WD Tort 35                                                                                                                           Petition for Relief From Late
                                                                             Writ Other Limited Court Case
Emplayment
                                                                                  Review                                                                    Other Civii Petition
       Wrongful Termination                36
                                                                        Other Judicial Review 39
       Other Employment              15
                                                                            Review of Heaith Officer Order
                                                                             Natice of AppeaE abor
                                                                               Commissioner Appeals
CM 010 jRev    July 1   zoo
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                                                                       CIVII      CASE COVER SHEET
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         Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 167 of 168 Pagea ID #:170
                                                                                                                                                                     SUM 100

                                                  S U M MO N S                                                                           FOR COURT USE ONLY
                                                                                                                                     SOLO PARA USO DE LA CORTEJ
                                            CITACION JUDICIAL
NOTICE TO DEFENDANT
                                                                                                                          SUPERIOR COURT OF CA I ORNIF
AV SO AL DEMANDADO
GENESCO INC a Tennessee                             corporation       and   DOES 1       10 inclusive                               SA     ERNRRD9N0 DN           RIC



                                                                                                                                          DEC             2019
YOU ARE BEING SUED BY PLAINTIFF
 LO ESTA DEMANDANDO EL DEMANDANTE
LUIS LICEA                   an     individual
                                                                                                                         k Y
                                                                                                                                                                lv
                                                                                                                                p




                                                                                                                                             DAIS               N DEPUTY



 NOTICE You have been sued The court may decide against you without your being heard unless you respond within 30 days Read the information
 below

    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff A letter or phone call will not protect you Your written response must be in proper legal form if you want the court to hear your
 case There may be a court form that you can use for your response You can find these court forms and more information at the California Courts
 Online Self Help Center www courtinfo ca gov selfhelp your county law library or the courthouse nearest you If you cannot pay the filing fee ask
 the court clerk for a fee waiver form If you do not file your response on time you may lose the case by default and your wages money and property
 may be taken without further warning from the court
    There are other legal requirements You may want to call an attorney right away If you do not know an attorney you may want to call an attorney
 referral service If you cannot afford an attorney you may be eligible for free legal services from a nonprofit legal services program You can locate
 these nonprofit groups at the California Legal Services Web site www lawhelpcalifornia org the California Courts Online Self Help Center
  www courtinfo ca gov selfhelp Qr by contacting your local court or county bar association NOTE The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of            10 000 or more in a civil case The court s lien must be paid before the court will dismiss the case
 pAV S0 Lo han demandado Si no re ponde dentro de 30 dias la corte puede decidir en su contra sin escuchar su version Lea la informacion a
 continuacion

    Tiene 30 D AS DE CALENDARIO despues de que le entreguen esta citacidn y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante Una carta o una llamada telefonica no lo protegen Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte Es posible que haya un formulario que usted pueda usar para su respuesta
 Puede encontrar estos formularios de la corte y mas informacion en el Centro de Ayuda de las Cortes de California www sucorte ca gov en la
 biblioteca de leyes de su condado o en la corle que le quede mas cerca Si no puede pagar la cuota de presentacion pida al secretario de la corte
 que le de un formulario de exencion de pago de cuotas Si no presenta su respuesta a tiempo puede perder el caso por incumplimiento y la corte le
 podra quitar su sueldo dinero y bienes sin mas advertencia
   Hay otros requisitos ega es Es recomendable que Ilame a un abogado inmediatamente Si no conoce a un abogado puede llamar a un servicio de
 remisi6n a abogados Si no puede pagar a un abogado es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services
  www lawhelpcalifornia orgJ en el Centro de Ayuda de as Cortes de California www sucorte ca gov o poniendose en contacto con la corte o el
 colegro de abogados locales AVISO Por ley a corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquierrecuperaci6n de 10 000 d mas de valorrecibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso

The name and address of the court is                                                                             case Nunns          R
                                                                                                                           de
 El nombre direccion de la corte es
 UPERIO COURT OF CALIFORNIA                                     COUNTY OF SAN BERNARDINO                                                    1 93 g
San Bernardino District Civil Division
247 West Third Street San Bernardino CA 92415 0210
The name address and telephone number of plaintiff s attorney or plaintiff without an attorney is
EI nombre la direccion y el numero de te efono de abogado del demandante o del demandante que no tiene abogado es
 cott J errell Bar No 202091
PACIFIC TRIAL ATTORNEYS APC                                                                                                         Phone No         949      706 6464
4100 Newport Place Drive Suite 800 Newport Beach CA 92660
 Fcha
                             DEC        n    fg                                        Secrebario                2                       Daisy B i                    Ad   nfo
For proof of seiv ce of th s summons use Proof of Service of Summons form POS 010
Para prueba de entrega de esta citation use el formulario Proof of Service of Summons POS 010
 SEAL
                                             NOTICE TO THE PERSON SERVED You are served
                                                 0 as an individual defendant
                                             2            as the person sued under the fictitious name of specify


                                             3            on behalf of specify
                                                  under           CCP 416 10      corporation                                  CCP 416 60         minor
                                                                  CCP 416 20 defunct corporation                               CCP 416 70 conservatee
                                                           0      CCP 416 40      association or
                                                                                                   partnership                 CCP 416 90 authorized person

                                                  0 other specify
                                             4 0 by personal delivery on date
                                                                                                                                                                       Pa e1of1
Form Adopted for Mandatory Use
  Judicial Council ofCalifomia                                                SUMMONS                                                        Code of Civil Procedure 44 412 20 465
  SUM 100   Rev   July   1   2009                                                                                                                            www couRinfo ca gov
                                                                                                            LexisNexis     Autoinuted Cali ornia Judicial Council Fonns
                          Case 2:20-cv-08227 Document 2 Filed 09/08/20 Page 168 of 168 Page ID #:171



                           1                                         PROOF OF SERVICE
                           2
                                      I am employed in Los Angeles County, California. I am over the age of eighteen years
                           3   and not a party to the within-entitled action. My business address is 11601 Wilshire Boulevard,
                               Suite 1400, Los Angeles, CA 90025-0509. On September 8, 2020, I served a copy of the within
                           4   document(s):

                           5                                           NOTICE OF REMOVAL
                           6                         by placing the document(s) listed above in a sealed envelope with postage
                                                    thereon fully prepaid, in the United States mail at Los Angeles, California
                           7                         addressed as set forth below.
                           8                         by placing the document(s) listed above in a sealed envelope and affixing
                                                    a pre-paid air bill, and causing the envelope to be delivered to a
                           9                         FEDERAL EXPRESS agent for delivery.
                          10                         by personally delivering the document(s) listed above to the person(s) at
                                                    the address(es) set forth below.
                          11
                                                     by causing to be personally delivered the document(s) listed above to the
B AKER & H OSTETLER LLP




                          12           
   A TTORNEYS AT L A W




                                                     person(s) at the address(es) set forth below.
      L OS A NGELES




                          13                         by transmitting via electronic mail the document(s) listed above to the
                                                    e-mail address(es) set forth below on this date before 5:00 p.m. and the
                          14                         transmission was reported as complete and without error.
                          15    Scott J. Ferrell, Esq.                             Attorneys for Plaintiff
                                Victoria C. Knowles, Esq.                          LUIS LICEA
                          16    PACIFIC TRIAL ATTORNEYS, APC
                                4100 Newport Place Drive, Suite 800
                          17    Newport Beach, CA 92660
                                Tel.: (949) 706-6464
                          18    Fax: (949) 706-6469
                                Email: sferrell@pacifictrialattorneys.com
                          19            vknowles@pacifictrialattorneys.com
                          20          I am readily familiar with the firm's practice of collection and processing correspondence
                               for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                          21
                               day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                          22   motion of the party served, service is presumed invalid if postal cancellation date or postage
                               meter date is more than one day after date of deposit for mailing in affidavit.
                          23
                                        I declare under penalty of perjury under the laws of the State of California that the above
                          24   is true and correct.
                          25          Executed on September 8, 20200, at Los Angeles, California.
                          26

                          27                                                      /s/Denise Walker
                                                                                     Denise Walker
                          28



                                                                                                                     PROOF OF SERVICE
